Case:Highly
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     1                IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
     2                            EASTERN DIVISION
     3    IN RE NATIONAL PRESCRIPTION       |    MDL No. 2804
                                            |
     4    OPIATE LITIGATION                 |    Case No. 17-MD-2804
                                            |
     5    This Document Relates to:         |    Hon. Dan A. Polster
                                            |
     6    APPLIES TO ALL CASES              |
                                            |
     7                                      |
     8                       Monday, January 7, 2019
     9                                 - - -
    10             HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    11                        CONFIDENTIALITY REVIEW
    12                                 - - -
    13
    14               Videotaped deposition of CATHERINE JACKSON,
               held at Foley & Lardner LLP, One Biscayne Tower, 2
    15         Biscayne Boulevard, Suite 1900, Miami, Florida,
               commencing at 9:27 a.m., on the above date,
    16         before Susan D. Wasilewski, Registered
               Professional Reporter, Certified Realtime
    17         Reporter, Certified Realtime Captioner.
    18
    19
    20
    21
    22
                                       - - -
    23
                            GOLKOW LITIGATION SERVICES
    24                877.370.3377 ph | 917.591.5672 fax
                                  deps@golkow.com
    25

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    1 APPEARANCES:                                                  1   APPEARANCES VIA TELEPHONE AND STREAM:
    2  KELLER ROHRBACK, LLP                                         2
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   15                                                              13
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   17   Boston, Massachusetts 02199-3660                           15    1301 Atlantic Avenue, Suite 400
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   18   william.davison@ropesgrapy.com                             16    (609) 348-4515
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   19   and the witness                                            17    Representing Validus
   20
        ROPES & GRAY, LLP                                          18
   21   BY: FEIFEI (ANDREA) REN, ESQUIRE                           19   ALSO PRESENT:
        1211 Avenue of the Americas                                20    JEFF FLEMING, Videographer
   22   New York, New York 10036-8704                              21
        (212) 596-9000                                             22
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        Representing Mallinckrodt LLC, SpecGX LLC                  24
   24   and the witness
   25                                                              25

                                                          Page 3                                                         Page 5
    1 APPEARANCES:                                                  1                 ---
    2  JONES DAY                                                    2                INDEX
        BY: CHRISTOPHER LOMAX, ESQUIRE                              3                 ---
    3   600 Brickell Avenue, Suite 3300                             4 Testimony of: CATHERINE JACKSON                    PAGE
        Miami, Florida 33131                                        5    DIRECT EXAMINATION BY MS. GAFFNEY.............. 9
    4   (305) 714-9700                                              6    CROSS-EXAMINATION BY MR. LENISKI............... 182
        clomax@jonesday.com                                         7
    5   Representing Walmart Inc., f/k/a Wal-Mart Stores, Inc.                     EXHIBITS
    6
        McCARTER & ENGLISH                                          8
    7   BY: AMY M. VANNI, ESQUIRE                                               (Attached to transcript)
        1600 Market Street, Suite 3900                              9
    8   Philadelphia, Pennsylvania 19103                               CATHY JACKSON DEPOSITION EXHIBITS                     PAGE
        (215) 979-3848                                             10
    9   avanni@mccarter.com                                           Mallinckrodt Plaintiff's Notice of Oral      11
        Representing Endo Health Solutions Inc., Endo              11 - Jackson Videotaped Deposition of Cathy
   10   Pharmaceuticals Inc., Par Pharmaceutical, Inc.,               Exhibit 1 Jackson and requests for Production
        Par Pharmaceutical Companies, Inc.,                        12          of Documents
   11   (f/k/a Par Pharmaceutical Holdings, Inc.)                  13 Mallinckrodt E-mail - Subject:             18
   12                                                                 - Jackson MNK-t1_0000880791 through 880793
        DECHERT LLP                                                14 Exhibit 2
   13   BY: MARA CUSKER GONZALEZ, ESQUIRE                          15 Mallinckrodt E-mail - Subject: NIH Pathways to    50
        1095 Avenue of the Americas
   14   New York, New York 10036-6797                                 - Jackson Prevention
        (212) 698-3500                                             16 Exhibit 3 MNK-T1_0000655211
   15   maracusker.gonzalez@dechert.com                            17 Mallinckrodt E-mail - Subject: Summary of       57
        Representing Purdue Pharma, L.P., Purdue Pharma, Inc.,        - Jackson Centers of Excellence in Pain
   16   and The Purdue Frederick Company, Inc.                     18 Exhibit 4 Education Initiative and Maureen's
   17                                                                          comments
   18 APPEARANCES VIA TELEPHONE AND STREAM:                        19          MNK-T1_0002373535 through 2373537
   19  JACKSON KELLY, PLLC                                         20 Mallinckrodt E-mail - Subject: For Review:      88
        BY: GRETCHEN CALLAS, ESQUIRE                                  - Jackson Pending ADF Roxicodone FDA
   20   500 Lee Street East, Suite 1600                            21 Exhibit 5 Submission
        Charleston, West Virginia 25301-3202                                   MNK-T1_0000938024 and 938025
   21   (304) 340-1000                                             22
        gcallas@jacksonkelly.com                                      Mallinckrodt Transcript Excerpt - Deposition of 91
   22   Representing AmerisourceBergen Corporation and
        AmerisourceBergen Drug Corporation                         23 - Jackson Steven A. Becker
   23                                                                 Exhibit 6 Page 260
   24                                                              24
   25                                                              25

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    1              EXHIBITS                                                1                  ---
    2           (Attached to transcript)
    3 CATHERINE JACKSON DEPOSITION EXHIBITS                        PAGE    2        THE VIDEOGRAPHER: We are now on the record.
    4 Mallinckrodt E-mail - Subject: For Review:      94
      - Jackson     Pending ADF Roxicodone FDA                             3    My name is Jeff Fleming. I am a videographer for
    5 Exhibit 7 Submission                                                 4    Golkow Litigation Services. Today's date
                MNK-T1_0000938034
    6                                                                      5    is January 7, 2019. The time is 9:27 a.m.
      Mallinckrodt E-mail - Subject: (MNK)           96
    7 - Jackson Anti-Diverson Programs Poster                              6        This video deposition is being held in
      Exhibit 8    MNK-T1_0001139790
    8                                                                      7    Tampa, Florida, in the matter of National
      Mallinckrodt E-mail - Subject: Poster        98
    9 - Jackson MNK-T1_0002371099 and                                      8    Prescription Opiate Litigation, MDL Number 2804,
      Exhibit 9    MNK-T1_0001139793
   10
                                                                           9    in the United States District Court for the
      Mallinckrodt Administrative Memorandum of         120               10    Northern District of Ohio, Eastern Division.
   11 - Jackson Agreement
      Exhibit 10                                                          11        The deponent is Cathy Jackson.
   12
      Mallinckrodt Résumé of Catherine Jackson, RN, 122                   12        Will counsel please introduce themselves for
   13 - Jackson BSN, MPH
      Exhibit 11                                                          13    the record.
   14                                                                     14        MS. GAFFNEY: Alison Gaffney for the
      Mallinckrodt E-mail - Subject: SPPAC          127
   15 - Jackson ENDO00095641 through 95643                                15    plaintiffs.
      Exhibit 12
   16                                                                     16        MR. SAMSON: Mark Samson for the plaintiffs.
      Exhibit 13 E-mail - Subject: States        135
   17           PPLPC021000043786 through                                 17        MR. LENISKI: Joe Leniski for the Tennessee
                21000043789
   18                                                                     18    plaintiffs.
      Mallinckrodt E-mail - Subject: Ohio         139
   19 - Jackson PPLPC031000153876 and 31000153877
                                                                          19        MR. DAVISON: William Davison on behalf of
      Exhibit 14                                                          20    Mallinckrodt LLC, SpecGx LLC, and the witness.
   20
      Exhibit 15 E-mail - Subject: Potential pain 142                     21        MS. REN: Andrea FeiFei Ren for the same,
   21           management advocates
                PPLPC027000016922 and 27000016923                         22    Mallinckrodt and SpecGx.
   22
      Mallinckrodt E-mail - Subject: Ohio         145                     23        MR. LOMAX: Christopher Lomax from Jones Day
   23 - Jackson PPLPC018000000145 through                                 24    on behalf of Walmart.
      Exhibit 16 18000000147
   24                                                                     25        MS. VANNI: Amy Vanni from McCarter &
   25
                                                                 Page 7                                                    Page 9
    1              EXHIBITS                                                1     English on behalf of Endo.
    2           (Attached to transcript)
    3 CATHERINE JACKSON DEPOSITION EXHIBITS                        PAGE    2         MS. GONZALEZ: Mara Cusker Gonzalez from
    4 Mallinckrodt E-mail - Subject: Ohio Advocacy 155                     3     Dechert on behalf of the Purdue defendants.
      - Jackson     Strategic State Plan Meeting Notes
    5 Exhibit 17 PPLPC018000000680 and 18000000681                         4         THE COURT REPORTER: Folks on the phone,
    6 Mallinckrodt E-mail - Subject: Today's Daily 160
      - Jackson     Mail                                                   5     I've already got your appearances.
    7 Exhibit 18 PPLPC021000049319 through                                 6         THE VIDEOGRAPHER: Thank you. The court
                21000049322
    8                                                                      7     reporter is Susan Wasilewski and will now swear
      Mallinckrodt E-mail - Subject: Revised           170
    9 - Jackson presentation                                               8     in the witness.
      Exhibit 19 MNK-T1_0002371934 and 2371935
   10
                                                                           9         THE COURT REPORTER: Ma'am, will you raise
      Mallinckrodt E-mail - Subject: TN proposal         220              10     your right hand?
   11 - Jackson ENDO-OPIOID_MDL-01964414 and
      Exhibit 20 1964415                                                  11         Do you solemnly swear or affirm the
   12
      Mallinckrodt E-mail - Subject: MSL Sales          233               12     testimony you're about to give will be the truth,
   13 - Jackson Training Initiative                                       13     the whole truth, and nothing but the truth?
      Exhibit 21 ENDO-OPIOID_MDL-00580306 and
   14           580307                                                    14         THE WITNESS: I do.
   15 Mallinckrodt E-mail - Subject: OPANA ER              239
      - Jackson     Platform and Customer Strategy and                    15         THE COURT REPORTER: Thank you.
   16 Exhibit 22 Implementation Team                                      16         CATHERINE JACKSON, called as a witness by the
                ENDO-OPIOID_MDL-01094008
   17                                                                     17   Plaintiffs, having been duly sworn, testified as
   18
       STEVEN BECKER DEPOSITION EXHIBITS                         PAGE     18   follows:
   19                                                                     19               DIRECT EXAMINATION
      Mallinckrodt E-mail - Subject: Oxycotin Article 85
   20 - Becker     from St. Louis Post Dispatch                           20   BY MS. GAFFNEY:
      Exhibit 11 MNK-T1_0004888161 and 4888162
   21                                                                     21     Q. Good morning, Ms. Jackson. Could you please
   22                                                                     22   state and spell your full name for the record?
       VICTOR BORELLI DEPOSITION EXHIBITS                        PAGE
   23                                                                     23     A. Sure. It's Catherine Jackson,
      Mallinckrodt E-mail - Subject: Rx Drug Abuse         113
   24 - Borelli Epidemic                                                  24   C-a-t-h-e-r-i-n-e J-a-c-k-s-o-n, but I'm often
      Exhibit 25 MNK-T1_0000290150 and 290151                             25   called Cathy.
   25

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    1      Q. Thank you. And you understand your under            1         And in schedule A there is a definition of
    2   oath --                                                   2   terms and then the requests are at the bottom,
    3      A. I do.                                               3   starting at the bottom of page four and then going
    4      Q. -- to tell the truth here today. Are you            4   on to page five. So we have a copy of your résumé,
    5   taking any medication or is there any other reason        5   number two at the top of page five -- do you see it?
    6   that would interfere with your ability to answer          6     A. (Nodding head.)
    7   questions fully and truthfully today?                     7     Q. Okay. "All documents including electronic
    8      A. No.                                                 8   data and e-mail in your possession related in any
    9      Q. Have you ever been deposed before?                  9   way to any defendants, manufacturer, marketing,
   10      A. No.                                                10   sale, distribution, suspicious order monitoring, and
   11      Q. So there are a few basic ground rules that         11   lobbying efforts in connection with its opioid
   12   are important for the sake of the court reporter and     12   business."
   13   to have a clear record. First, is that we don't          13         Did you search your documents for anything
   14   speak at the same time, so wait for me to finish         14   responsive to this request?
   15   asking a question before you answer, and I'll do the     15     A. All of my documents were sent, when I moved
   16   same, wait for you to finish answering before I ask      16   back to Florida, in 2015, all my documents were put
   17   another question.                                        17   into storage, into archives.
   18          And then second, when you answer a question,      18     Q. Okay.
   19   you must answer it verbally with a yes or no rather      19     A. Through, I want to say Iron Mountain, and I
   20   than nodding or shaking your head. If I ask you a        20   may be incorrect on that, but I think that's the
   21   question you don't understand, please let me know.       21   company.
   22   I'll try to rephrase the question.                       22     Q. Okay. So your documents that are in
   23          Are you represented by counsel today?             23   storage, have they been searched?
   24      A. I am.                                              24         MR. DAVISON: When she says, "in storage", I
   25      Q. And who is your counsel?                           25     think she means for the company. So I can

                                                     Page 11                                                        Page 13
    1     A. It would be Will.                                    1     represent that Mallinckrodt has undertaken a good
    2     Q. Okay. Great.                                         2     faith effort to produce documents responsive to
    3     A. And Andrea.                                          3     the request for production.
    4     Q. And did you hire them or did they contact            4     Q. So that's for Mallinckrodt. How about any
    5   you through your employer?                                5   documents related to Purdue or Endo?
    6     A. Yes.                                                 6     A. Those documents have long been gone. I
    7     Q. Okay. And are you being compensated at all           7   haven't been with those companies for many years.
    8   for your time here today?                                 8     Q. Okay. Do you use a phone for work, text
    9     A. No. I'm a current employee of Mallinckrodt.          9   messaging on your phone, ever?
   10         MS. GAFFNEY: This is Exhibit 1.                    10     A. I do.
   11         (Mallinckrodt - Jackson Exhibit 1 was marked       11     Q. Okay. And have those text messages been
   12   for identification.)                                     12   searched?
   13   BY MS. GAFFNEY:                                          13     A. I don't know. My phone is -- I'm signed up
   14     Q. Exhibit 1 is a copy of the deposition               14   with a program -- actually, it's a bring your own
   15   notice. Have you seen this document before?              15   device but it's signed up so they can access it at
   16     A. I have.                                             16   any time, so I don't know if they have or if they
   17     Q. Okay. When did you first see it?                    17   haven't.
   18     A. Friday.                                             18     Q. Okay.
   19     Q. Okay. And if you look at the bottom of the          19         MS. GAFFNEY: Counsel, can you answer --
   20   first page, it says: "Additionally, please take          20     address whether you've searched text messages, I
   21   notice pursuant to applicable federal rules of civil     21     know this has come up before.
   22   procedure, plaintiffs have requested, the individual     22         MR. DAVISON: We'll look into that and get
   23   identified above, produce the documents identified       23     back to you on it.
   24   in Schedule A attached to this notice that is in         24         MS. GAFFNEY: Okay.
   25   their possession, custody or control."                   25     Q. Ms. Jackson, what did you do to prepare for

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    1   your deposition today?                                    1     Q. What's the difference -- or how would you
    2     A. I had -- talked to Bill and Andrea. I had            2   describe the difference between global medical
    3   two days of practice but that's all.                      3   affairs and government affairs and advocacy?
    4     Q. Two days of preparation with the two                 4     A. Sure. Two separate divisions within
    5   attorneys here?                                           5   Mallinckrodt and global medical affairs is medical
    6     A. Yes.                                                 6   affairs, which is -- includes medical information,
    7     Q. Did you speak with any of the other                  7   medical science liaisons, the research, and then
    8   attorneys in this room?                                   8   government affairs and advocacy is more of a
    9     A. I did. I spoke with the -- I'm so sorry on           9   corporate role and that is government affairs and
   10   names. I'm blanking.                                     10   advocacy.
   11        MS. GONZALEZ: Mara.                                 11     Q. Okay.
   12     A. But they are with Purdue and also with Endo.        12     A. So State government affairs, federal
   13     Q. Okay.                                               13   government affairs, policy, so that would be in that
   14     A. On Friday, but briefly, maybe less than 15          14   wheelhouse.
   15   minutes each.                                            15     Q. Okay. And then within medical affairs, you
   16     Q. Okay. And did you review any documents?             16   were within medical advocacy but you listed a few
   17     A. I did.                                              17   other divisions. How was that structured, how did
   18     Q. Okay. Did any of those documents refresh            18   you interact with, for example, with the research
   19   your recollection?                                       19   arm of things, medical science?
   20     A. Some.                                               20         MR. DAVISON: Objection to form.
   21     Q. Okay. And have all the documents that --            21     A. So we would meet -- in my day-to-day work I
   22        MS. GAFFNEY: Counsel, have all the                  22   sat in the same floor with them in St. Louis and we
   23     documents that she reviewed been produced?             23   would have meetings together.
   24        MR. DAVISON: Yes.                                   24     Q. Okay.
   25        MS. GAFFNEY: Okay.                                  25     A. Cross functional meetings.
                                                       Page 15                                                       Page 17
    1   BY MS. GAFFNEY:                                           1     Q. Okay. And when you were manager in medical
    2     Q. Ms. Jackson, did you speak with any of your          2   advocacy to whom did you report?
    3   coworkers or former coworkers about the topics that       3     A. So when I first started at Mallinckrodt I
    4   we're going to discuss today?                             4   reported to Lisa Saki for about two weeks and then
    5     A. No, just to let my boss know I was going to          5   she left the company and then I reported to the
    6   a deposition.                                             6   chief medical officer, which would have been Tom
    7     Q. Okay. When did you start working at                  7   Smith, and then after Tom Smith got laid off, it was
    8   Mallinckrodt?                                             8   Anthony Lassiter, and then I went to government
    9     A. I started at Mallinckrodt in April -- end of         9   affairs.
   10   April at 2014.                                           10     Q. Okay.
   11     Q. Okay. And have you held the same position           11     A. Under the medical directors.
   12   there the entire time, or different positions?           12     Q. And then within government affairs, to whom
   13     A. Different position.                                 13   did you report?
   14     Q. Okay. Can you walk me through those                 14     A. So I had reported to Derek Naten who is a
   15   positions?                                               15   senior director of government affairs and advocacy
   16     A. Sure. I started as the manager of advocacy          16   since I started there, and continues to be my
   17   for the global medical affairs function within           17   manager.
   18   Mallinckrodt and then moved over to the government       18     Q. In both of these positions, do you have
   19   affairs and advocacy team by January of 2015, and        19   regular performance reviews?
   20   then got promoted to director to -- director of          20     A. I do.
   21   advocacy relations, to be honest, I can't remember,      21     Q. Okay. Are there written evaluations for
   22   I can't remember, it feels like I've been doing it       22   those reviews?
   23   forever but I want to say within a year. My current      23     A. They are.
   24   position is director of advocacy of relations at         24     Q. Okay. Those were not produced as part of
   25   Mallinckrodt.                                            25   the personnel file?

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    1         MR. DAVISON: And we produced the personnel            1     Q. Got it. Okay. And then if you go down to
    2     file consistent with the agreement that was               2   the bottom of the same page, Vanessa Harris is
    3     reached. So if they are not in the personnel --           3   asking Kevin Webb for the same slide deck that,
    4     we did not withhold anything from the personnel           4   quote, Catherine Jackson did for Dina and I at our
    5     file that would have been responsive to the               5   first initial meeting.
    6     request.                                                  6          So you've reviewed the slide deck, is it
    7         MS. GAFFNEY: Okay. Exhibit 2.                         7   your understanding or recollection, that you've used
    8         (Mallinckrodt - Jackson Exhibit 2 was marked          8   this slide deck to give a presentation before?
    9   for identification.)                                        9     A. Not the entire deck.
   10   BY MS. GAFFNEY:                                            10     Q. Okay.
   11     Q. Okay. You've been handed what's been marked           11     A. So the deck that I would have been
   12   as Exhibit 2, which is an e-mail attaching a               12   responsible for would have been the Care Alliance
   13   presentation that you sent to Kevin Webb. And with         13   piece.
   14   those two departments we were just talking about,          14     Q. Got it.
   15   medical affairs and government affairs, did Kevin          15     A. Which starts -- it's kind of toward the end
   16   Webb work for one of those or does Kevin Webb work         16   of it.
   17   for one of those too?                                      17     Q. Okay.
   18     A. Government affairs.                                   18     A. Unfortunately -- yeah, here it is. It would
   19     Q. Government affairs. Okay. And the subject             19   have been -- and when I -- Cathy Jackson right here
   20   of this e-mail was, today's call with CAD? What            20   is on slide number -- it's after slide 9. There is
   21   does CAD stand for?                                        21   no beginning slide, so I would say it's -- yeah,
   22     A. Can I please read it before we --                     22   slide 10.
   23     Q. Oh, go ahead.                                         23     Q. Okay.
   24     A. So I know where I'm -- I'm ready.                     24     A. And it was a managed care team presentation,
   25     Q. Okay. Great. So just a question about the             25   so it was to the managed care team.
                                                         Page 19                                                      Page 21
    1   subject. Today's call with CADs? What does CAD              1     Q. Okay. And the slide deck that proceeds it,
    2   stand for?                                                  2   is that something you're familiar with, the advocacy
    3     A. I was just trying to remember. I honestly              3   overview?
    4   can't remember but it's a market access, the name           4     A. It is something Kevin Webb put together.
    5   has changed. It's the market access and if I think          5     Q. Okay.
    6   long enough, I'll probably remember it but not at           6     A. So I am briefly familiar with it.
    7   this moment, so --                                          7     Q. Okay. I have a question about the second
    8     Q. No problem. Okay. And then question about              8   slide in that slide deck with the heading,
    9   your e-mail at the top of this page here. You               9   Mallinckrodt Advocacy Mission.
   10   mention meeting with Karen Harper in the diversion         10     A. Yes.
   11   group.                                                     11     Q. So here it says: "The mission is to
   12     A. Yes.                                                  12   position Mallinckrodt as a responsible company
   13     Q. Is that something that you do regularly in            13   developing and implementing innovative solutions to
   14   your -- so in 2014 this would have been in your            14   address patient pain and supporting efforts to end
   15   medical affairs position; is that correct?                 15   misuse and abuse."
   16     A. Yes.                                                  16         What is your understanding of what it means
   17     Q. Okay. In the medical affairs position, is             17   here by "responsible company?"
   18   that something you would do regularly, meet with the       18         MR. DAVISON: Objection to form.
   19   diversion group?                                           19     A. That if we are manufacturing drugs that are
   20         MR. DAVISON: Objection to form.                      20   being used out in the community, that we are
   21     A. The suspicious order monitoring team had a            21   responsible for being a stakeholder in that
   22   monthly meeting that they set up and when I was able       22   community.
   23   to attend, I was part -- I would attend, if I was in       23     Q. Being a stakeholder in that community, what
   24   town and able to, and that is the group that I was         24   does that mean?
   25   referring to.                                              25     A. So we are, as things -- so their -- with

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    1   opioids there was appropriate use and disposal and         1   they need to be weaned, different drugs require
    2   weaning and there is many issues related with              2   different ways of stopping. Some you can just stop
    3   opioids, and so we were responsible to make sure           3   but not -- especially not opioids.
    4   that we were doing our part to educate. Our role           4         And then also safe disposal, because we know
    5   was, in my opinion, down the chain and small, but          5   that there are -- that improper disposal, drugs can
    6   whatever we could do to give back to the community         6   lead to diversion.
    7   was an important piece of what I felt was our              7      Q. Okay. So flipping to the section of the
    8   responsibility.                                            8   slide deck that's the Care Alliance presentation
    9     Q. And why would you describe your role as               9   that you would give, this here, as you pointed out,
   10   "down the chain and small?"                               10   it says managed care team presentation. So do I
   11     A. Because we -- many people don't utilize --           11   understand that correctly that it's an internal
   12   manufacturers sources of their information, so even       12   Mallinckrodt presentation to people who are working
   13   though we can put out information, many -- many           13   on managed care accounts?
   14   groups won't even use it because it's got the name        14      A. Yes.
   15   of a company.                                             15      Q. Okay.
   16         When you look at the fact that we were --           16      A. Exactly.
   17   that we are a manufacturer, it takes so many more         17      Q. And what is the CARES Alliance?
   18   steps to get to the patient, so I -- when I say           18      A. So the CARES Alliance was a -- the
   19   small, I mean it's -- unfortunately we don't have         19   Mallinckrodt had started CARES Alliance in 2010 as
   20   the voice that -- that would allow us to make -- do       20   their efforts on risk evaluation and mitigation, and
   21   a lot of work in education and awareness and make a       21   so there was no official risk of the REMS program
   22   huge impact. So what we do is we do -- we know that       22   prior to that, which are when Exalgo, which is one
   23   there is multifaceted stakeholders involved in any        23   of their drugs that was a long-acting pain
   24   issue and we're one of them. So we do what we can         24   medication was made, and so the thought at the time
   25   and I feel we should and then everybody else does it      25   was that we really need to have a risk evaluation

                                                        Page 23                                                         Page 25
    1   but we're not the sole source of information.              1   mitigation strategy that we share.
    2     Q. Okay. And what are some of those things               2         And so that was -- that's CARES Alliance.
    3   that you said "you do what we can and what you feel        3     Q. Okay. How does -- so is that particular to
    4   you should?"                                               4   Exalgo or what's the connection between CARES
    5     A. Uh-huh, sure.                                         5   Alliance and Exalgo?
    6     Q. What are some of those things?                        6         MR. DAVISON: Objection to form.
    7         MR. DAVISON: Objection to form.                      7     A. Exalgo is a drug that was manufactured by
    8     A. Patient education, caregiver education,               8   the Mallinckrodt section of Covidien, because that
    9   healthcare provider education, and patient education       9   was the thing, and so it worked -- it was in the
   10   to make sure that they understand whatever disease        10   disease state of chronic pain and cancer pain, and
   11   state, with the course of the disease state, where        11   so it's really about disease state. The drugs that
   12   treatments work in the disease state, how to discuss      12   we manufacture, lead us into the disease states that
   13   to their physicians about options when they are           13   we work in, if that makes sense, so whatever the FDA
   14   getting into trouble with their treatments, when          14   approves for the disease state is the areas that we
   15   they are no longer working.                               15   will focus on for advocacy. We have to stay -- we
   16         For caregivers, it's to help them with              16   have to really stay in our lanes on disease state
   17   resources to give them support, because that is --        17   because we -- we have -- I often worry that if we go
   18   for many patients, caregivers play a huge role.           18   into a different area, that we may be considered --
   19         For the healthcare provider, it's ensuring          19   even though we don't do anything with marketing,
   20   that the products that we manufacture are used in an      20   marketing off-label. So we stay in the disease
   21   appropriate way with the appropriate patient. They        21   state and at the time in 2010, it was in chronic
   22   are dosed appropriately, and then also at the end,        22   pain and cancer pain.
   23   that when there is -- when everything -- when the         23     Q. Okay. And how does that bring about CARES
   24   dose -- when the patient is no longer using those         24   Alliance?
   25   medications, are they appropriately taken off, like       25         MR. DAVISON: Object to form.

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    1      A. So CARES Alliance was an -- was a -- the              1     Q. Really?
    2   idea -- and I can only give you what I was told when        2        MR. DAVISON: Objection.
    3   I first started the company. So I don't have a lot          3     Q. Truthfully?
    4   of detail to that, but Art Morelli and Lisa Saki            4        MR. DAVISON: Objection.
    5   started CARES Alliance and so it was -- the goal was        5     A. Truthfully? No, because have you ever had
    6   to be a coalition to collaborate and act responsibly        6   pain? Do you -- I don't know if you've had pain.
    7   to ensure safety, exactly what it was.                      7   The kind of pain that's debilitating.
    8      Q. Okay. And what does acting responsibly mean
    9   in the context of the CARES Alliance?                       9   Luckily, we're blessed that nobody has pain, other
   10         MR. DAVISON: Objection to form.                      10   than, I think, one of my brothers has chronic back
   11      A. I think the same thing that we just                  11   pain, but I think both of them can be debilitating,
   12   discussed, making sure that people are educated            12   life ending. People commit suicide due to pain, so
   13   about the side effects of drugs, about the -- about        13   I'm not quite sure. Maybe you can explain to me why
   14   proper use, proper disposal, proper management of          14   you seem to be leading me, I'm not quite sure where
   15   drugs.                                                     15   that's coming from, because I've worked in pain
   16      Q. Okay. Flip and look at the next two slides           16   management for 13 years and that's -- you don't get
   17   together. So these two slides describe two                 17   to work in pain without looking at prescription drug
   18   epidemics. The epidemic of pain and the epidemic of        18   abuse, so I've seen both issues in the course of my
   19   prescription drug abuse.                                   19   treatment, I would not want -- I would not wish
   20         What's the definition of epidemic?                   20   either one of them on my worst enemy.
   21         MR. DAVISON: Objection to form.                      21      Q. If you keep going through the slide, there's
   22      A. So epidemic is something that involves the           22   a graph showing national rates of opioid overdose
   23   public health of a large group. At this point, it's        23   deaths, treatment, admissions and sales from 1999 to
   24   the United States because this is a -- this was a          24   2010. The graph shows all three steadily climbing
   25   problem that was going across in different regions,        25   throughout that decade; is that correct?

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    1   a little more than others.                                  1     A. Yes.
    2      Q. And which epidemic are you speaking about?            2     Q. And if the graph were to continue to the
    3      A. Both, actually. Yeah, they are both public            3   present year, we would see the line for opioid
    4   health issues that we -- unfortunately one affects          4   overdose death rates continuing to climb; is that
    5   the other.                                                  5   correct?
    6      Q. And which of these epidemics concerns you             6        MR. DAVISON: Objection to form.
    7   more?                                                       7     A. You can't make that statement. I don't know
    8          MR. DAVISON: Objection to form.                      8   what the data is. I don't know if the data supports
    9      A. Oh, my goodness, as a nurse, the epidemic of          9   your statement.
   10   pain is devastating. People who have -- I was a            10     Q. You personally are not familiar with the
   11   pain management nurse for many years at Johns              11   overdose death rate annually?
   12   Hopkins and saw people debilitated, unable to hold         12        MR. DAVISON: Objection.
   13   their kids, unable to hold their jobs, just crushed        13     A. Not any longer. I haven't done pain
   14   by chronic pain.                                           14   medicine, I haven't done advocacy and pain since
   15          The epidemic of prescription drug abuse is          15   2015, so it's been three years since I've actually
   16   equally upsetting. We have people who are dying and        16   worked in the area of pain medicine. I'm in the
   17   who are turning to opioids for uses other than pain.       17   other therapeutic areas of our business.
   18   It's -- both of them are equally disturbing,               18     Q. Your current position at Mallinckrodt is in
   19   haunting, and of concern to the medical community.         19   government affairs and advocacy?
   20      Q. And personally, if you had a loved one swept         20     A. It is.
   21   up in one of these epidemics, would you rather that        21     Q. And you would agree that there is a national
   22   loved one be experiencing chronic pain or                  22   opioid epidemic currently?
   23   prescription drug abuse?                                   23        MR. DAVISON: Objection.
   24          MR. DAVISON: Objection to form.                     24     A. I would agree that there is definitely a
   25      A. I can't answer that.                                 25   problem with opioid.

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    1      Q. You work for a company that manufactures                1   the trends are that there is increased opioid abuse.
    2   opioids?                                                      2   I mean -- I'm sorry. That there is continued opioid
    3      A. Uh-huh.                                                 3   abuse. I'm not sure how much it's increased or
    4      Q. In the area of government affairs and                   4   changed from these numbers but I can also tell you
    5   advocacy, but you're not aware of the opioid                  5   that there is a huge trend in patients with pain
    6   overdose death rate?                                          6   that are not getting treatment, none, people that
    7      A. I am not.                                               7   are going to the pharmacist with cancer, with other
    8         MR. DAVISON: Objection to form.                         8   sorts of pain who are unable to get their pain
    9      A. No longer, I am not.                                    9   treatment because of this hypervigilance on overdose
   10      Q. When is the last year for which you were               10   death.
   11   aware of it?                                                 11         I think both of them are equally important.
   12         MR. DAVISON: Objection to form.                        12   I think we absolutely need to do something about
   13      A. It would probably be about 2014, 2015, but I           13   both of them, but I do know that there is increased
   14   don't remember what it was. I might -- I am now in           14   problems on both parts. So -- but I believe now
   15   10 other therapeutic areas other than pain, so my            15   it's not as -- from what I'm reading and this is,
   16   areas of focus now are off of this and that's my             16   once again -- you know, I really, probably, should
   17   colleague Kevin Webb's area. So we take this very            17   not answer that because, it's really just my
   18   response -- very -- we haven't stepped away from it.         18   thoughts, but heroin is now also a growing
   19   We have just changed with who would be focused on            19   addiction, growing and so this is a very bad
   20   it, and it's solely Kevin's area now for advocacy.           20   situation for this country and for people who are in
   21      Q. Do you ever read news articles about the               21   pain and for people who are addicted.
   22   opioid epidemic?                                             22      Q. So you just described as equally important,
   23         MR. DAVISON: Objection to form.                        23   the undertreatment of pain and opioid overdose
   24      A. I do but I can't quote rates.                          24   deaths. Is that correct?
   25      Q. So you think it may be that the death rate             25         MR. DAVISON: Objection to form.

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    1   has plateaued since 2010?                                     1     A. So these are two separate issues, but they
    2         MR. DAVISON: Objection to form.                         2   are both very concerning. They are not -- one is
    3      A. I can't answer that. I don't know what the              3   not meant to be put in front of the other. One is
    4   numbers are. If you want to share with me another             4   not meant to be pushed out and less important. Both
    5   graph, I'd be happy to speak to what is actually              5   of these affect our families, our coworkers, our
    6   happening, but I don't think that's -- I don't want           6   friends, so it's -- it's a -- I don't have the
    7   to speak, it could plateau, it could fall a little            7   answers.
    8   bit, increase a little bit, it could be -- I don't            8     Q. Okay. I'm just asking about your testimony.
    9   know.                                                         9   You said, "I think both of them are equally
   10      Q. I just want to make sure that testimony is             10   important."
   11   clear that in your position in Mallinckrodt, you             11     A. I do think they are both equally important.
   12   don't know what's happened to overdose death rates           12        MR. DAVISON: Objection.
   13   since 2010, you think they may have fallen, they may         13     Q. Okay.
   14   have plateaued, you don't know?                              14     A. But they are separate. One does not -- you
   15         MR. DAVISON: Objection.                                15   don't look at one and say, we need to focus on this
   16      A. For the record, I do not know the actual               16   and ignore that one. Unfortunate -- and we have
   17   statistics. I do know it's still a national problem          17   healthcare people looking at both of these issues.
   18   but I do not know the statistics, you're absolutely          18     Q. And given that you are equating the two,
   19   right. I don't know them. I apologize, I don't               19   personally, would you rather have a loved one waking
   20   stay on top of every statistics having to do with            20   up in pain every day or going to sleep and never
   21   it.                                                          21   waking up?
   22      Q. Do you stay on top of trends?                          22        MR. DAVISON: Objection to form, asked and
   23      A. I -- if it's in my area of working. I mean             23     answered.
   24   I stay -- I'm still -- still connected to many               24     A. I think I've already answered that one for
   25   people in the pain management, and I would say that          25   you. I don't want anyone to die, but I also don't

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     1 want someone committing suicide because they can't              1         MR. DAVISON: Objection to form.
     2 get out of pain, and that has happened.                         2      A. So for drugs like opioids, which can
     3    Q. Are opioids the only solution for chronic                 3   cause -- can -- can be misused, you want to make
     4 pain?                                                           4   sure that people -- you have to -- there's all sorts
     5        MR. DAVISON: Objection.                                  5   of science based guidelines. You want to look at
     6      A. Oh, absolutely not. Absolutely not. They                6   people who have had a history of addiction, history
     7   are one of multi -- they are one of a multifactorial          7   of misuse, tobacco use is a -- is one of those risk
     8   equation in terms of treating pain. They are just a           8   factors, how -- family support, how you -- and I
     9   small piece of it, actually, a very small piece of            9   apologize. I don't remember all of them but those
    10   it.                                                          10   are some of the ones that you would do, but opioids
    11      Q. Okay. Going a couple slides ahead, the                 11   are not for everyone. Right? That's the nuance of
    12   heading CARES Alliance here it says "the CARES               12   pain management. But they are used -- for some
    13   Alliance aims to improve pain management outcomes            13   people they can make the difference between going to
    14   through education and awareness campaigns that are           14   work, not going to work, taking care of their kids,
    15   innovative and science based? "                              15   not participating. And so we've gotten better
    16      A. Yes.                                                   16   and -- in developing tools to help identify those
    17      Q. What does that mean, science based?                    17   patients that may fall into risks with addiction.
    18      A. So it's based in research. So we did a                 18   It's not a perfect situation but I think we're -- I
    19   couple of programs that, with the -- one was with            19   think that the medical community is doing better and
    20   the American Academy of Family Practice where they           20   better.
    21   actually took the -- took some of the forms that             21      Q. Okay. And you just described the risk
    22   were on CARES Alliance, some of the risk management          22   information, in terms of balancing risks and
    23   forms, and then they used them in clinics to                 23   benefits. What sort of information would you need
    24   identify which patient would be at risk for                  24   to -- on the benefits side, when you are evaluating
    25   addiction, so that they could be appropriately               25   a medication?

                                                            Page 35                                                           Page 37
     1   managed with other therapies than opioids, or they            1         MR. DAVISON: Objection to form.
     2   could be watched closer, or whatever it would be              2     A. How does it -- does it -- does it actually
     3   that the physician would feel like was important.             3   help you do something, you know. When people would
     4          So that is evidence -- what we call -- it's            4   come into our pain clinic and we would up their dose
     5   actually that's a poor terminology. It really is              5   of any drug, my question was what did you do to --
     6   evidence based --                                             6   this -- since we've last met with you, and if they
     7      Q. Evidence based?                                         7   would say, well, nothing, my pain is still 10 out of
     8      A. --is the word that we used. And that means              8   10, I would say to them, well, then maybe these
     9   it's research done in a protocol, done strict -- you          9   drugs are not working for you. You know, it's all
    10   know, with strict guidelines and it's not just               10   about when you are looking at benefit you want
    11   somebody's opinion.                                          11   reduction in pain, but you also want -- you want
    12      Q. Okay. And who is the audience for the CARES            12   someone to bring function back, right? You want
    13   Alliance education and awareness campaigns?                  13   people to be able to be participants in their lives.
    14      A. Patients, the public, caregivers, healthcare           14   They may not be able to return to work due to
    15   providers, all stakeholders involved in pain.                15   injuries beyond -- because of the extent of their
    16      Q. The next bullet point on the slide says:               16   injuries, but can they watch their kids, can they
    17   "Our goal is to help healthcare professionals and            17   get up, take care of the house. Can you -- you
    18   people with pain work together to better assess the          18   don't want people sitting on the couch all day no
    19   risks and benefits of pain medications so more               19   matter what you are giving them because then you are
    20   people living in pain can find the relief they               20   really not helping.
    21   need."                                                       21     Q. What about before a person starts to take
    22          You mentioned having a background as an RN            22   medication, you're talking about improvements in
    23   in practice. What -- given your experience as an             23   function after taking a medication, but would you
    24   RN, what would you say you need to assess the risks          24   also want to weigh the risks and benefits before
    25   and benefits of medications?                                 25   someone starts taking the medication at all?

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     1         MR. DAVISON: Objection to form.                        1   for chronic pain?
     2     A. Well, that's what we do. So that's what I'm             2         MR. DAVISON: Objection to form.
     3   saying, these tools are used prior ever -- in the            3     A. I -- gosh, I can't remember which studies
     4   nineties when I practiced, we didn't have these              4   they were, but there were studies that were done
     5   tools, so, but now they have tools where you                 5   showing that some opioids -- that opioids can work
     6   would -- if you were to come in and say you were             6   on some disease states and it would increase return
     7   having pain and a physician, or a nurse                      7   to work or -- but once again, not 100 percent, not a
     8   practitioner, did a full exam on you, looked at all          8   panacea. I know some areas of medicine -- disease
     9   the criteria for what you're -- all -- looked at             9   such as fibromyalgia, showed that opioids actually
    10   what possible causes could be related to your pain,         10   didn't work very well.
    11   but decided that a drug such as an opioid was the           11         So in our clinic, we try to steer those
    12   appropriate use, they would do a risk management --         12   patients to other drugs, but many times we would get
    13   risk evaluation beforehand. So there is tools now           13   patients who had started on opioids prior to ever
    14   to use that.                                                14   coming into our clinic and so we would have to try
    15         So we would look, you know, are you somebody          15   to wean them off and start them on other drugs that
    16   who smokes, because that actually has an increased          16   we knew would actually work. Actually, it's
    17   risk, are you somebody who has had an addiction             17   exercise and tricyclic antidepressants for
    18   problem before? They may not preclude you from              18   fibromyalgia, but it's not a science because some
    19   using an opioid, but what we're going to do is              19   people can use opioids and it can work. It's not
    20   manage you much closer and I'm also going to let you        20   everyone that doesn't do well, but we definitely try
    21   know the risks with these drugs, it's about                 21   to -- I think medicine tries to be as much evidence
    22   educating the patients about the risks.                     22   based as possible.
    23     Q. What about assessing the benefits of a drug            23     Q. And the studies showing benefits of opioid
    24   before someone has taken it?                                24   treatment for chronic pain, do you have any idea
    25         MR. DAVISON: Objection to form.                       25   generally how long those studies lasted?

                                                           Page 39                                                           Page 41
     1     A. I'm not sure what you're asking.                        1        MR. DAVISON: Objection to form.
     2     Q. Is there a way to do it?                                2     A. Actually, I think that was -- it's one of
     3         MR. DAVISON: Objection.                                3   the complaints, when they did a -- in terms of how
     4     A. Just by research, when a drug gets approved             4   long the studies are. There is no huge long
     5   by the FDA, you read the research that they are              5   epidemiological data. I want to say they may have
     6   using to approve it. Drugs are, you know, are not            6   been months, they may have been a few years, I think
     7   the panacea. Pain drugs are not the panacea. They            7   now there is some work being done on longer studies.
     8   only -- sometimes I only take care of -- in the              8   So I think once again, science is not perfect and as
     9   research studies you will see they only take care of         9   we learn more, we do better, and I think that's
    10   30 percent of pain but sometimes that can make the          10   what's happening in the medical community.
    11   difference between someone working or not.                  11     Q. Just on the next page of this slide deck,
    12         And that's just for drugs, but there are              12   the heading is Objectives. And the second bullet:
    13   also other treatments, right, that we look at the           13   "To proactively address the need to ensure the
    14   risk management, physical therapy, we look to see if        14   benefits of a drug outweigh their risks?"
    15   there is nonopioid medications that we could use,           15     A. Absolutely.
    16   psychological evaluations. So pain should be                16     Q. Can you give me an example of how the CARES
    17   treated in a multifaceted way and if it's only being        17   Alliance carried out this objective?
    18   treated with opioids, then that is not something we         18        MR. DAVISON: Object to the form.
    19   would ever -- I as a nurse who has that background          19     A. That would be -- sorry. That would be
    20   or somebody involved with CARES Alliance would ever         20   ensuring that people had risk -- risk evaluation
    21   be okay with.                                               21   tools, that would be ensuring that they
    22         And I'm talking chronic pain. I apologize.            22   understood -- and it's not just the clinician that
    23     Q. Got it. Chronic pain. In terms of opioid               23   needs to identify risks. It's the patient that
    24   treatment for chronic pain, are you aware of                24   needs to understand the risks that they are going
    25   research showing the benefits of opioid treatment           25   through, right? Hey, these drugs if you start to

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     1   take them for reasons that are not pain related, you          1 the nineties. I worked with Dr. Raja who is one of
     2   need to let us know. So this is a conversation you            2 the premier guys in fibromyalgia. I don't know what
     3   have with patients. We're definitely more nuances             3 the research shows now, but at the time -- they
     4   with it than we used to be. In the nineties, you              4 didn't show no benefit but they showed minimal
     5   know, we would give this drug, we would give our              5 benefit to other drugs -- as compared to other
     6   prescriptions out to patients and that was my job to          6 drugs.
     7   educate them and I would say, you know, look, you             7     Q. In the nineties?
     8   need to be careful that -- let me know when you have          8     A. In the nineties, late nineties. I left
     9   any trouble, if you're starting to take these for             9   Johns Hopkins in 2000, the end of 2000, so that --
    10   any other reason other than pain medicine. And so            10   so that was when I was deeply involved in patient
    11   these are the kinds of things that you have, and             11   care and then I moved into the industry.
    12   that's -- you know, we need to address these risks,          12     Q. Got it. Okay.
    13   not just to the healthcare providers, but also to            13         MR. DAVISON: Counsel, do you mind if we
    14   our patients and our caregivers and HIPAA came and           14     take a quick break.
    15   it became a lot tougher to do that because those are         15         MS. GAFFNEY: Sure, that's fine.
    16   the people that are going to see the changes.                16         THE VIDEOGRAPHER: Off the record, 10:13
    17   Right? You're going to be on these drugs, you may            17     a m.
    18   not see those personality changes that are happening         18       (Recess from 10:13 a m. until 10:25 a.m.)
    19   with you. You're in pain, you're trying to                   19         THE VIDEOGRAPHER: On the record, 10:25 a m.
    20   figure -- you know, once again, it's rare that it            20   BY MS. GAFFNEY:
    21   would take 100 percent of your chronic pain away.            21     Q. Okay. Before the break we were talking
    22         So that's what -- that's what we would do.             22   about studies you were aware of regarding opioid use
    23   We would work on making sure that all stakeholders           23   for fibromyalgia in the late '90s, and understanding
    24   understand risks that were involved versus the               24   that you haven't kept up since then, since you left
    25   benefits, because risks are important, because as            25   clinical practice, if the evidence since then were

                                                            Page 43                                                        Page 45
     1   you had stated earlier, prescription drugs abuse is           1   to show that opioids were not effective for
     2   not something we'd ever want to happen or advocate            2   fibromyalgia, would that be something that an opioid
     3   or misuse of the drugs. It's something -- my whole            3   manufacturer would have a responsibility to share
     4   job was trying to fight that at Hopkins. Not fight            4   with the medical community and the patients?
     5   that -- fight that is probably a good word.                   5         MR. DAVISON: Objection to form.
     6      Q. And on the benefits side, CARES Alliance                6     A. I can't answer that.
     7   with its education and awareness campaigns, did               7     Q. Earlier you spoke about a responsible
     8   CARES Alliance ever do anything to educate providers          8   company educating the medical community patients,
     9   about the disease states for which opioids show               9   caregivers, healthcare providers. Where does that
    10   little to no benefit?                                        10   responsibility stop?
    11          MR. DAVISON: Objection to form.                       11         MR. DAVISON: Objection to form.
    12      A. We didn't educate on disease states. We                12     A. So -- so the question is -- could you repeat
    13   just talked about pain in general. Yeah. The thing           13   the question again and then I --
    14   about pain is that it's ubiquitous, there is not a           14     Q. Sure. If the evidence were to show that
    15   disease state that -- probably very limited disease          15   opioids were not effective for disease state, such
    16   states that -- that don't have a component of pain,          16   as fibromyalgia, would a manufacturer have a
    17   but that wasn't the goal of the -- we didn't -- we           17   responsibility to share that information with the
    18   didn't -- we worked in disease states but we didn't          18   public?
    19   educate people about the different cancers or                19         MR. DAVISON: Objection to form.
    20   different things that might cause pain.                      20     A. That's a pretty broad question. I would say
    21      Q. You mentioned fibromyalgia a moment ago as a           21   I don't know what the data is but we would share --
    22   disease state for which opioids are not shown to be          22   a manufacturer shares information on FDA -- what the
    23   effective.                                                   23   FDA has indicated -- the FDA approved indications,
    24      A. Well, I'm -- my studies -- I just wanted to            24   and so we would never promote in an area that we
    25   be very clear, that the research I'm doing was in            25   weren't -- at least our company would not promote in

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     1   an area that was not approved by the FDA, and each         1   never got into exact disease states.
     2   physician has different treatment algorithms that          2      Q. Okay. How about Mallinckrodt, not CARES
     3   they use. And I can't answer that question, because        3   Alliance, but Mallinckrodt and other manufacturers.
     4   I need -- it's a little too broad.                         4   Would they -- or do they engage in patient education
     5     Q. Okay. Earlier, when we were talking about             5   and healthcare provider education?
     6   the advocacy mission of Mallinckrodt, positioning          6          MR. DAVISON: Objection to form.
     7   Mallinckrodt to be a responsible company, one of the       7      A. Yes.
     8   things that you spoke about was patient education          8      Q. Including about where treatment works in
     9   and healthcare provider education, where treatment         9   certain disease states or doesn't work in other
    10   works, in what disease states. Then you gave the          10   disease states?
    11   example of opioids not working for fibromyalgia           11          MR. DAVISON: Objection to form.
    12   based on the studies as of the late '90s.                 12      A. They support patient education. They
    13         So wouldn't that fit into what you were             13   support but it's usually done under independent
    14   saying earlier, where treatment works for a disease       14   medical education, so we don't have any say into
    15   state or doesn't work in a disease state?                 15   what is being taught. There is many facets of a
    16         MR. DAVISON: Objection to form.                     16   company, so I'm not sure which one you're --
    17     A. But I'm not quite sure what you mean by what         17      Q. Let me just go back to the words you had
    18   would we do. I'm not sure what a company would be         18   earlier.
    19   responsible for doing. That is a decision made by a       19      A. Sure.
    20   patient and by a clinician and patient relationship.      20      Q. Okay. So earlier you were saying -- it's a
    21   So that physician would -- I would think would not        21   little hard to read from the transcript but it's
    22   utilize whatever -- I would think the physician           22   multifaceted and there are many shareholders, the
    23   would decide what to use based on their knowledge of      23   manufacturer is one of them, and one of the things
    24   the patient and their experience.                         24   that a manufacturer, you said, can do and what you
    25         So the manufacturer really had no role there        25   feel should do, is: "Patient education, caregiver

                                                        Page 47                                                         Page 49
     1   at all in that patient-physician relationship.             1   education, healthcare provider education and patient
     2     Q. Okay. So going back to what you said                  2   education to make sure that they understand whatever
     3   earlier about a responsible pharmaceutical company         3   disease state with the course of the disease state,
     4   engaging in patient education and healthcare               4   where treatments work in the disease state, how to
     5   provider education, including where treatment works        5   discuss with their physicians when they are getting
     6   for which disease states, is that still your               6   trouble with their treatments, no longer working."
     7   testimony?                                                 7         That's what I was asking about. This
     8         MR. DAVISON: Objection to form.                      8   educational piece about the disease state and where
     9     A. So we -- we -- I'm not sure -- I'm not                9   treatments work and don't work with the disease
    10   really sure what you're asking me. So if you are          10   state. That was my understanding of what you said
    11   asking me -- so maybe you can say it in a way that        11   earlier. Are you changing that now?
    12   I'm able to answer because I'm not quite sure what        12         MR. DAVISON: Objection to form; asked and
    13   you're wanting me to answer.                              13     answered.
    14     Q. I'm just trying to understand what you were          14     A. No, I'm not changing that. I'm -- we do --
    15   explaining about the manufacturer's responsibility        15   we do educate, but we do it -- we do it through
    16   in terms of patient education and healthcare              16   providing unrestricted educational grants, because
    17   provider education.                                       17   as I also said earlier, you know, we rely on our
    18     A. So we would -- once again --                         18   physicians and the community and our research
    19         MR. DAVISON: Objection.                             19   community to help guide clinical practice. So we do
    20     A. As I said, we would not talk disease state.          20   do all that but we don't do it ourselves, and that
    21   We would talk about appropriate prescribing, use,         21   would -- that's pretty much industry standard. So
    22   but that's not -- that would be our medical affairs       22   we support all those.
    23   team would handle that. CARES Alliance was really         23     Q. So you don't use the research in your
    24   about looking at risks, appropriate disposal, making      24   educational campaigns as a manufacturer?
    25   sure people understood the knowledge base, but we         25         MR. DAVISON: Objection to form.

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     1     A. We did in CARES Alliance, for where it                  1   treating chronic pain."
     2   related to CARES Alliance, that's all I can speak            2         You wrote: "The best way to summarize the
     3   to, because that's what I was involved with when I           3   results of the meeting is to share, quote, from the
     4   was at Mallinckrodt, so what we studied we used or           4   draft executive summary. What was particularly
     5   shared.                                                      5   striking to the panel was the realization that there
     6         MS. GAFFNEY: Exhibit 3.                                6   is insufficient evidence for every clinical decision
     7         (Mallinckrodt - Jackson Exhibit 3 was marked           7   that a provider needs to make regarding use of
     8   for identification.)                                         8   opioids for chronic pain, leaving the provider to
     9     A. Okay.                                                   9   rely on his or her own clinical experience?"
    10     Q. Okay. So Exhibit 3 is an e-mail from                   10         Did I read that correctly, that there is
    11   October 2014, so a few months after you had started         11   insufficient evidence for every clinical decision
    12   at Mallinckrodt, and it's an e-mail from you                12   that a provider needs to make regarding use of
    13   describing attending a workshop in Washington, D.C.         13   opioids for chronic pain?
    14   with Maureen Corson. Do you remember attending that         14         MR. DAVISON: Objection to form.
    15   workshop?                                                   15     A. You read the statement.
    16     A. Yes.                                                   16     Q. Okay. How does this information about the
    17     Q. Okay.                                                  17   lack of sufficient evidence for opioid use for
    18     A. Vaguely.                                               18   chronic pain affect Mallinckrodt's messaging about
    19     Q. Vaguely. Sure. And who is Maureen Corson?              19   its products that treat chronic pain?
    20     A. I actually don't remember her.                         20         MR. DAVISON: Objection to form.
    21     Q. Okay. So you sent this e-mail to a number              21     A. I was not responsible for the messages that
    22   of people at Mallinckrodt?                                  22   Mallinckrodt made on -- to -- all the messages, just
    23     A. Uh-huh.                                                23   the ones that were related to the CARES Alliance.
    24     Q. Can you take a moment and run down the list            24   So I think -- yeah. So can you re -- can you
    25   and state the name and then which department or             25   rephrase that question, please, just so I --
                                                           Page 51                                                         Page 53
     1   division at Mallinckrodt each person worked in?              1     Q. Sure. And just to clarify, in your time at
     2      A. Sure.                                                  2   Mallinckrodt, you were only responsible for the
     3          MR. DAVISON: Objection to form.                       3   CARES Alliance?
     4      A. John Decker was medical; John Peppin was               4     A. Yes.
     5   medical; Melissa Falcone was marketing; Derek Naten          5     Q. In both positions?
     6   was government affairs; Kevin Webb, government               6     A. No. No. Since -- so I was -- so part of --
     7   affairs; Tina Purcell, medical; Tim Missey,                  7   part of -- I was also responsible for the
     8   marketing; Ginger Collier -- I'm sorry, I can't              8   relationships with advocacy groups in the
     9   recall Ginger, and Rhonda was communications and --          9   Mallinckrodt, and so care -- I moved away from
    10      Q. How about the CC line?                                10   opioids in 2015, so just went to our other
    11      A. Jan Anderson was medical, Maureen Corson              11   therapeutic areas.
    12   I -- I don't recall her. I apologize.                       12     Q. Okay. You're reporting -- in this e-mail
    13      Q. That's fine.                                          13   you're reporting the summary from this panel you
    14      A. Being a PharmD, maybe medical, Anthony                14   attended. Do you disagree with that panel, the
    15   Lassiter, medical, and Gena Holthaus was advocacy           15   statement that you reported in your e-mail?
    16   and medical affairs, so medical.                            16         MR. DAVISON: Objection to form.
    17      Q. So several departments in Mallinckrodt                17     A. Do I disagree with it? This wasn't -- I
    18   represented. Why were you sending all of them this          18   didn't -- I wasn't making any -- I was just -- I
    19   description of the workshop you attended?                   19   wasn't making any conclusions. I just wanted to
    20          MR. DAVISON: Objection to form.                      20   share the summary because we often responded to
    21      A. That's part of my job. I provided feedback            21   draft summaries, and that was the reason I wanted to
    22   on the events that I attended.                              22   do that, to make sure that if we wanted to respond
    23      Q. Your e-mail says: "The goal of the meeting            23   as a company on this, we could. There was an
    24   was to present the evidence on the -- and then first        24   option. But I would not have made that decision. I
    25   of all it is, long-term effectiveness of opioids for        25   think that the statement was just a statement. I

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     1   didn't make any conclusions off of this.                     1   memorable?
     2     Q. Based on your experience and your own                   2         MR. DAVISON: Objection to form.
     3   knowledge, do you believe that there is sufficient           3     A. No.
     4   evidence to support the use of opioids for chronic           4     Q. Something that you or others at Mallinckrodt
     5   pain?                                                        5   may have already been aware of?
     6        MR. DAVISON: Objection.                                 6         MR. DAVISON: Objection to form.
     7     A. I can't answer that. I don't -- the data is             7     A. I -- all I can tell you is I used that quote
     8   so different today, I don't -- it's much more robust         8   to share the summary of the meeting. That's not
     9   and I don't know where that would fall.                      9   something that would have been -- I would have never
    10     Q. You said the data is so different today                10   seen that quote before the draft executive summary.
    11   compared to October 2014 or --                              11     Q. Sure, but not necessarily the quote, but the
    12     A. Well, I'm not in this space. So you're                 12   content of it. "What was particularly striking to
    13   asking me to answer a question I'm not in the               13   the panel, was the realization that there was
    14   opioid -- I'm not in the pain space anymore. You're         14   insufficient evidence for every clinical decision
    15   asking me to -- what you're -- you're asking me if I        15   that a provider needs to make regarding the use of
    16   agree with this statement. That's not what the              16   opioids for chronic pain."
    17   purpose of this was. The purpose of this was just           17         Nothing about that stood out as striking to
    18   to summarize what was discussed at that meeting.            18   you or memorable?
    19   That was taken actually directly from the executive         19         MR. DAVISON: Objection to form.
    20   summary. That is not my statement.                          20     A. No. It's actually a situation where
    21     Q. At the time, in October 2014, did you                  21   medicine as a whole. There is not -- we don't
    22   believe that there was sufficient evidence to               22   always have evidence-based medicine, unfortunately,
    23   support the use of opioids for chronic pain?                23   there is not enough research in any area of medicine
    24     A. I wouldn't have --                                     24   today. We're building it. So that's what I read
    25        MR. DAVISON: Objection.                                25   that to be, that we need to continue building the

                                                           Page 55                                                       Page 57
     1      A. -- known all the evidence that was -- I --             1 evidence.
     2   you know, I'm one person working in a company. This          2    Q. But in the meantime, Mallinckrodt and other
     3   meeting was to look at a longitude of data, and so I         3 manufacturers, promoted drugs for the treatment of
     4   don't have an opinion. I was literally just taking           4 chronic pain, without evidence. Is that what you're
     5   something to share with this team so that they               5 saying?
     6   understood what the crux of that meeting was about           6         MR. DAVISON: Objection to form.
     7   and that there was an opportunity for open convo.            7     A. No. Not at all.
     8      Q. Okay. So as you said, you don't have all               8     Q. Okay. You said, "sometimes we don't have
     9   that data, but you attended a meeting where the goal         9   evidence-based medicine."
    10   of the meeting was to present that data on the              10     A. Sometimes -- said --
    11   long-term effectiveness of opioids for treating             11         MR. DAVISON: Objection.
    12   chronic pain. Do you have any reason to doubt the           12     A. There is insufficient evidence-based
    13   conclusion that you shared in your e-mail?                  13   medicine for all forms of medicine that is practiced
    14        MR. DAVISON: Objection to form.                        14   anywhere and everywhere because there are not enough
    15      A. I don't have any reason to believe or doubt.          15   studies, enough study subjects, enough money to
    16   It was really about sharing the quote from the draft        16   support the research that has to be done. It
    17   summary so people understood what the crux of the           17   continues to grow, we continue to build on that body
    18   meeting was about, which is -- I'm going by that            18   of knowledge.
    19   because while I vaguely recall being there, I don't         19         MR. DAVISON: Just to interrupt.
    20   recall all the data that was presented or all the           20           (Discussion off the record.)
    21   meeting notes. I don't -- it's been so long. It's           21         MS. GAFFNEY: Here's Exhibit 4.
    22   been over four years ago and so I apologize. I              22         (Mallinckrodt - Jackson Exhibit 4 was marked
    23   don't remember everything.                                  23   for identification.)
    24      Q. Okay. So this conclusion from this panel              24   BY MS. GAFFNEY:
    25   doesn't stand out as particularly striking or               25     Q. I'll give you a moment to read it. Okay?

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     1     A. Yeah.                                                    1   review of the actual report, but this itself, this
     2     Q. So Exhibit 4 is an e-mail from Maureen                   2   e-mail itself, is just a list of what was discussed.
     3   Corson to Sonya Martin and Jan Anderson and copying           3   This would not have done anything, this would not
     4   you and it's around the same time as the prior                4   have directed anyone, to my knowledge, but I did
     5   e-mail we were just looking at two days before, that          5   not -- I don't know what they did with this
     6   e-mail, and if you go to the beginning of the e-mail          6   information.
     7   thread, Sonya Martin is asking Maureen Corson to              7     Q. You're on the e-mail. What did you do with
     8   send her her summary of the NIH meeting to her and            8   the information?
     9   Jan Anderson. The e-mail signature for Sonya shows            9        MR. DAVISON: Objection to form.
    10   that she works for the medical affairs company. Are          10     A. I noted it. I guess -- I don't know. It's
    11   you familiar with the medical affairs company?               11   been so long ago, I don't know. I mean, this would
    12     A. I am.                                                   12   not have been an action item. This was more about
    13     Q. Can you describe for me the role of that                13   an FYI of what was presented at a meeting, and then,
    14   company?                                                     14   you know, this is an FYI.
    15     A. They were a consultant firm that worked with            15     Q. So this e-mail is from October 1st, 2014,
    16   our global medical affairs, and helped out on                16   and the request at the beginning is a summary of the
    17   meeting planning and a lot of the strategy work, in          17   NIH meeting the past few days. The prior exhibit we
    18   terms of research.                                           18   looked at from, October 3rd, 2014, is an e-mail from
    19     Q. Okay. And is it your understanding that                 19   you where you said, "Maureen Corson, PharmD. and I
    20   this e-mail summarizes the same NIH workshop that            20   attended the NIH Pathways to Prevention workshop on
    21   the prior exhibit was about?                                 21   the Role of Opioids in the Treatment of Chronic Pain
    22         MR. DAVISON: Objection to form.                        22   this week in Washington, D.C."
    23     A. I'm actually not sure of it. It could be.               23        And then, this e-mail we're looking at now,
    24   I'm -- I'm not seeing the direct link but it could           24   Exhibit 4, is Maureen Corson's summary of that
    25   certainly be. It could certainly be.                         25   meeting that you attended with her.

                                                         Page 59                                                           Page 61
     1     Q. Okay. Okay. So Maureen's summary includes                1     A. Uh-huh.
     2   14 points.                                                    2         MR. DAVISON: Objection to form.
     3     A. Uh-huh.                                                  3     Q. So you sent a -- your own summary on to many
     4     Q. We won't go through each of them but if you              4   other people at Mallinckrodt, we went through the
     5   can just go down to number seven. It says: "There             5   list of various departments.
     6   are three major areas in which the use of opioids in          6     A. No, mine was not a summary. This was just a
     7   chronic pain can be eliminated and reduce the                 7   goal of the meeting and then a brief statement that
     8   burden. The two most relevant are the management of           8   wrapped up what I felt was the summary.
     9   lower back pain and headaches. Used long term, in             9     Q. Okay.
    10   these two populations, has shown poor outcomes               10     A. And then it really was to let people know
    11   because they trick the brain into feeling better             11   about the public comment.
    12   than it really is."                                          12     Q. I understand.
    13         Following this panel and this information,             13     A. So that was the goal of that e-mail. That
    14   did Mallinckrodt communicate this information, in            14   was not to summarize the meeting. And this would
    15   its science-based education campaigns, that opioids          15   be -- this one that we're talking about that you
    16   can be eliminated from the treatment of lower back           16   asked me about, are points of a meeting that were
    17   pain and headaches based on poor outcomes?                   17   shared with -- with just Sonya and then Jan Anderson
    18         MR. DAVISON: Objection to form.                        18   who was in our medical department.
    19     A. I don't know, but this was not -- this is               19     Q. Okay. And what does NIH stand for?
    20   the findings that someone wrote up of a meeting that         20     A. National Institute of Health.
    21   they attended. That's all this is. This would not            21     Q. So it's not just a meeting, but it's a
    22   have directed anybody to do anything. This was more          22   workshop held by the National Institute of Health to
    23   about informing -- informing people about what               23   present the evidence on the long-term use of opioids
    24   the -- what was presented at a meeting. This would           24   for chronic pain?
    25   have then resulted in additional meetings, perhaps a         25         MR. DAVISON: Objection to form.

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     1     A. It's a meeting at the NIH. NIH pulled it               1   not sure, because your question is, did we take this
     2   together, yeah.                                             2   information and publicize it? No, we did not
     3     Q. Okay. And would this sort of national                  3   because this was draft form. I don't know what they
     4   presentation of the evidence be important to                4   did with the final. I can't answer your question.
     5   Mallinckrodt?                                               5   It -- yeah.
     6         MR. DAVISON: Objection to form.                       6      Q. Earlier you spoke, for several minutes,
     7     A. It would be -- it would warrant us to                  7   about a responsible company educating patients and
     8   attend, so I would say it would be important. We            8   healthcare providers, including about disease
     9   try to -- make good use of our time.                        9   states --
    10     Q. Sure. And then after attending, what would            10      A. Right.
    11   you do with this sort of information?                      11      Q. -- and treatments that work or don't work
    12         MR. DAVISON: Objection to form.                      12   for these disease states. Here is a summary of
    13     A. Bring back the -- educate the people in               13   evidence that was presented, nationally, and that
    14   our -- within our -- our colleagues to let them know       14   has been relayed within Mallinckrodt that says
    15   what we learned, and then that was the first               15   opioids can be eliminated for lower back pain
    16   presentation of this, and once again, I vaguely            16   treatment and headaches and reduce the burden.
    17   recall it. I don't even recall the present -- or           17      A. We don't --
    18   who even presented at this meeting, so -- this             18         MR. DAVISON: Objection to form.
    19   wasn't even complete because they were still waiting       19      A. What is your question and then I --
    20   for the draft -- it was in draft form, so we would         20      Q. Right. I hadn't finished yet.
    21   have never done anything with a draft in point. So         21      A. I'm sorry. I apologize.
    22   these would have been discussed internally and every       22      Q. No, no, that's fine.
    23   group would have done -- I can't answer for that           23         Would Mallinckrodt take this information and
    24   because I was only in CARES Alliance, and once             24   share that with healthcare providers and patients?
    25   again, we were very much in tune to making sure we         25         MR. DAVISON: Objection to form.
                                                      Page 63                                                       Page 65
     1   were educating about the things that were                   1     A. I don't know if we did, I don't know -- I
     2   responsible with CARES and only CARES.                      2   don't believe we would -- we wouldn't withhold --
     3     Q. So once it's beyond the draft stage and it             3   I'm having a hard time answering this because this
     4   is complete, and Mallinckrodt has had internal              4   is a report done by the NIH that was open to
     5   discussions about this information, would                   5   everybody. It was available to everyone. We do not
     6   Mallinckrodt then disseminate it externally?                6   get involved in the patient-physician decisions. We
     7         MR. DAVISON: Objection to form.                       7   do not do that. Whatever a patient and -- whatever
     8     A. It's not ours to do that. We would not --              8   a physician decides is the appropriate treatment for
     9   this is an N -- to your point, it was NIH. We --            9   that patient is -- that relationship is highly
    10   that's not our purview to take something of someone        10   respected and I can't answer how -- I can't
    11   else's and distribute it. That would require               11   answer -- we wouldn't take every -- I can't answer
    12   approval from everybody involved.                          12   what information we would piece out of this because
    13     Q. What about the evidence that opioids are not          13   this is a report and that would have been presented
    14   effective treatment for lower back pain and                14   to the public. So it was available to anyone that
    15   headaches?                                                 15   wanted to read it, that could read it or had an
    16         MR. DAVISON: Objection to form.                      16   interest in reading it.
    17     Q. Is that something that you would educate              17         MR. DAVISON: Sorry. My realtime is still
    18   healthcare providers and patients about?                   18     not working. Could we just go off the record,
    19         MR. DAVISON: Objection to form.                      19     real quick, and try to get it fixed?
    20     A. That's -- I can't answer that. That's not             20         THE VIDEOGRAPHER: Off the record, 10:57 a m.
    21   in my purview at all. That was not -- we did not do        21        (Recess from 10:57 a m. until 11:00 a.m.)
    22   disease state education as part of advocacy.               22         THE VIDEOGRAPHER: On the record, 11:00 a m.
    23     Q. Who at Mallinckrodt could answer that?                23   BY MS. GAFFNEY:
    24         MR. DAVISON: Objection to form.                      24     Q. Okay. Would the medical affairs department
    25     A. I'm not -- I'm not sure. I'm not sure. I'm            25   at Mallinckrodt -- or does the medical affairs

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     1   department at Mallinckrodt, provide information to       1   pain. It wasn't about injury to your low back or
     2   marketing and to sales regarding the medical             2   your headache. It was for pain, so it's not direct
     3   information about Mallinckrodt products?                 3   to disease state, if that makes sense.
     4         MR. DAVISON: Objection to form.                    4     Q. So tell me more about that, about pain as a
     5     A. I'm not in either of those groups, but they         5   single entity. I don't think that you're saying
     6   are the source of medical information for the            6   that pain is a single entity. There is different
     7   company, but I can't answer because I'm not in sales     7   kinds of pain, right?
     8   or marketing.                                            8         MR. DAVISON: Objection to form.
     9     Q. But would medical affairs provide medical           9     A. Pain is not an entity. It is a result of
    10   information to those other departments within           10   injury or a result of an outcome of neurological
    11   Mallinckrodt?                                           11   problems. There is a multitude of reasons for pain,
    12         MR. DAVISON: Objection to form.                   12   so I'm not quite sure.
    13     A. Yes, I just don't know the extent of what          13     Q. So just to back up, to my understanding, the
    14   they would do.                                          14   source of the pain, such as whether it's chronic low
    15     Q. Okay. Would they provide information about         15   back pain or another type of musculoskeletal pain,
    16   what disease states Mallinckrodt products work or       16   would be relevant to the treatment that would be
    17   don't work for?                                         17   prescribed for that pain, but then you said, "Well,
    18         MR. DAVISON: Objection to form.                   18   this is about pain management, it's not about the
    19     A. I don't know that. I don't know that. They         19   injury or the disease state."
    20   would talk about -- I don't know because once again     20         MR. DAVISON: Objection.
    21   I'm not in those divisions but it would be whatever     21     A. It's when a physician -- when an HCP
    22   the -- it was on label, that's what they would use      22   person -- I apologize. I'm missing nurse
    23   as their guide for education, what's on label from      23   practitioners, a lot, NPs.
    24   the FDA.                                                24         When a healthcare provider prescribed a drug
    25     Q. So what sort of provider education and             25   to a patient, they -- there is -- they do it based
                                                       Page 67                                                   Page 69
     1   patient education would your department engage in?       1   on -- for pain, they do it based on the cause of the
     2     A. The advocacy?                                       2   pain and what has been shown to be effective, what
     3         MR. DAVISON: Objection.                            3   is approved for that pain, and then they may
     4     Q. Specifically, what sort of information would        4   prescribe it and then wait to see what the effects
     5   you convey to healthcare providers and patients?         5   are.
     6   You've said nothing about disease states; is that        6         If that doesn't work, they may go down
     7   correct?                                                 7   another alley and treat it. They may treat it at
     8         MR. DAVISON: Objection.                            8   different pieces of where the -- at different
     9     A. We talk about pain management but not what          9   receptor sides within the body. So is that help --
    10   is the cause of the pain because every -- yeah,         10   so it's not as simple -- it's really about that --
    11   because we don't get into that detail.                  11   what that physician decides is appropriate. I --
    12     Q. So earlier when we talked about evaluating         12   yeah.
    13   risks and benefits of a drug, you said, in terms of     13     Q. But Mallinckrodt does communicate directly
    14   the benefit of a drug, you would want to know           14   with physicians?
    15   whether it would actually do something to bring         15         MR. DAVISON: Objection to form.
    16   function back.                                          16     Q. Correct?
    17     A. Right. Function is -- yes.                         17     A. Yes. Our sales team calls on physicians,
    18     Q. So would you want to know, whether the drug        18   but I don't have anything to do with sales. It's a
    19   you're going -- you're considering prescribing, is      19   huge separation.
    20   effective for a state, such as low back pain or         20     Q. Right. Different department. But the sales
    21   headache, before you prescribe it?                      21   team gets information about the medical science of
    22         MR. DAVISON: Objection to form.                   22   Mallinckrodt's products from the medical affairs
    23     A. Well, it depends on what you're -- it's            23   department, is that correct or is that not correct?
    24   being prescribed for. In the instance of where I        24         MR. DAVISON: Objection to form.
    25   was working in the area of pain medicine, it was        25     A. They may get training from them or they

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     1   may -- I don't -- like to the extent, I'm not quite        1   responsible for the sales education.
     2   sure what you're asking. How much -- yeah. They            2      Q. Would you think that that would be
     3   are not getting one on one education from our              3   information that the sales team should have when
     4   medical team.                                              4   speaking with providers?
     5     Q. Is there another source within Mallinckrodt           5         MR. DAVISON: Objection to form.
     6   for medical information about Mallinckrodt products        6      A. I would want -- I think -- think about how I
     7   other than the medical affairs department?                 7   would word this -- I would want them -- I would
     8     A. No.                                                   8   think that clinicians -- I would think that there is
     9        MR. DAVISON: Objection.                               9   no set of data coming from any one meeting that
    10     Q. So to the extent Mallinckrodt employees are          10   would -- that I think should inform -- I think you
    11   being trained on, say, how to speak to providers          11   have to look at a bigger picture, you have to wait
    12   about Exalgo, that information is coming from             12   until the final results, you have to wait until the
    13   medical affairs, is that correct?                         13   FDA makes a decision and then that's a game changer
    14     A. No.                                                  14   because then you would -- you would then have that
    15        MR. DAVISON: Objection to form.                      15   discussion.
    16     A. Medical affairs would provide the clinical           16         I'm not sure how you could take a statement
    17   data that, you know, what is pain, how is -- you          17   from a meeting and make that gospel and ask -- this
    18   know, what's the different receptor sites, things         18   was a first time at this meeting, if I recall, this
    19   scientific, but the marketing team would teach --         19   was a first time meeting, so that would be my
    20   the marketing team and the sales team would               20   statement. It's -- none of this is -- I don't even
    21   separately on a whole different avenue decide --          21   see the evidence based behind it, so you would have
    22   make those kinds of decisions on how they are             22   to actually go to the -- nothing we can do is not --
    23   representing -- how they are presenting the data and      23   it can -- we heard at a meeting that this happened,
    24   what -- and it's all within guidelines of FDA. Does       24   so --
    25   that make sense?                                          25      Q. The report is attached to this e-mail. I

                                                         Page 71                                                         Page 73
     1      Q. That makes sense, but it's coming from the           1   didn't print it for today because it's 200 pages
     2   medical affairs department whether --                      2   long.
     3      A. The scientific data is.                              3     A. Right.
     4      Q. -- marketing and then to sales --                    4     Q. You said you can't take it and make it
     5      A. The scientific data is coming --                     5   gospel, but would you ever present information to
     6      Q. That's what I'm asking about because that's          6   the medical community to say it looks like the
     7   what I understand this meeting was presenting, was         7   evidence does not support the use for this drug
     8   the scientific data on the long-term use for opioids       8   in -- for lower back pain or headaches without
     9   for chronic pain, including that there are poor            9   having to say there is gospel?
    10   outcomes for low back pain and headaches. So --           10         MR. DAVISON: Objection to form.
    11      A. If a result of this meeting was -- I'm              11     A. I can't say that because I would not be
    12   sorry. I didn't even wait for you to ask the              12   doing the education for -- I don't know what
    13   question. Go ahead.                                       13   criteria they used to make sure that -- to move that
    14      Q. I would want -- as a patient, I would want          14   from this document to the sales group. I have no
    15   my healthcare provider to know whether a medication       15   clue of what that criteria would have been to go
    16   was shown to be effective for the problem that I'm        16   from one piece to the other.
    17   presenting to the provider or not. So here where          17     Q. And in your clinical practice, would you
    18   it's saying that opioids and chronic pain can be          18   only want to hear about scientific evidence once it
    19   eliminated for management of lower back pain and          19   was, quote, gospel?
    20   headaches, would that be information that                 20         MR. DAVISON: Objection.
    21   Mallinckrodt would transmit to marketing and to its       21     A. Well, no. But the truth is, in clinical
    22   sales team so that it could reach providers in            22   practice, you sometimes it's not as clean-cut, so
    23   another way?                                              23   some people do actually benefit from these drugs
    24          MR. DAVISON: Objection to form.                    24   that have had back pain, and so that would be --
    25      A. I can't answer that because I wasn't                25   that's why you look at this, you look at the data --

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     1   that's why you do the best you can with the data,            1   showing that opioids are effective long-term for
     2   but that doesn't necessarily mean that that is --            2   chronic pain with the exception of cancer-related
     3   that -- that you would not try other things for a            3   pain."
     4   patient who was not responding to what was out there         4         Is that your understanding of the state of
     5   and was -- that's in clinical practice.                      5   the evidence in 2014?
     6     Q. And Mallinckrodt employees are                          6         MR. DAVISON: Objection to form.
     7   interacting -- the sales team is interacting with            7      A. Well, I think the definition of long-term is
     8   doctors, with physicians, and nurses and PAs, and            8   what was -- is questionable. So I think there is a
     9   there is nothing to prevent a Mallinckrodt                   9   few year data. I don't think there is long-term --
    10   salesperson from saying, there doesn't appear to be         10   I think at the time there wasn't long, long-term,
    11   any evidence supporting the use of this drug for low        11   but I know the VA has some of the best data and the
    12   back pain, you, healthcare provider, can make your          12   sentence before that shows that because they have --
    13   decision based on your own practice but just so you         13   they've been under -- they have a electronic
    14   know, there is no evidence supporting the use of            14   monitoring program. So I would say that I don't
    15   this drug for that disease state, is there anything         15   remember the data. It's 2014. I don't remember
    16   to prevent a Mallinckrodt employee from sharing that        16   what the data said.
    17   with a physician?                                           17      Q. Okay. And at this point, this isn't
    18         MR. DAVISON: Objection to form.                       18   evidence review taking place in 2014, so looking
    19     A. Yeah. I can't answer that because I don't              19   back to all the evidence assembled up to that point,
    20   do the training but I can tell you that our reps are        20   so to the extent that this conclusion is accurate,
    21   very much regulated as to what they can and can't           21   that there is -- isn't anything showing that opioids
    22   say and they cannot read a document and go out and          22   are effective long-term for chronic pain with the
    23   say to the physician that this is not good for this         23   exception of cancer-related pain that would cover,
    24   or this is good for this. It is highly regulated            24   not only 2014, but everything prior to that,
    25   and decided and -- so I can't answer that because I         25   correct?
                                                          Page 75                                                         Page 77
     1   don't do it, but I do know that -- that there is             1         MR. DAVISON: Objection to form.
     2   no -- we can't make a claim either way. I can't              2      A. I would -- yeah, I don't know what the
     3   even -- I don't even speak on that, so my answer             3   years -- I don't know the years that the data -- the
     4   would be I can't -- but -- yeah.                             4   year of the studies that the data was looked at.
     5      Q. But manufacturers do present evidence when             5   It's usually many years prior, but I don't know. I
     6   it's favorable to them to the medical community, so          6   can't answer that.
     7   there isn't anything to prevent manufacturers from           7      Q. So assuming that that is correct, that there
     8   also sharing with the medical community, evidence            8   is nothing to show the effectiveness of opioids for
     9   that would be less favorable to the sales of their           9   long-term treatment of chronic pain, why do you
    10   products?                                                   10   think that opioids, over the past 20 years, have
    11          MR. DAVISON: Objection to form.                      11   been used long-term for the treatment of chronic
    12      A. I -- yeah, I don't know what -- I don't know          12   pain?
    13   what criteria -- that's not my area, so I don't know        13         MR. DAVISON: Objection to form.
    14   presenting to physicians in an office setting, I            14      A. I believe that clinicians prescribe to their
    15   don't know what is allowed and what isn't allowed,          15   patients based on their experience, based on how the
    16   other than to know that it's highly regulated.              16   patient is doing, and so, I think, that they are
    17      Q. Okay. If you go down to number 11 on this             17   using their best clinical judgment. So I would say
    18   document, it says: "During the panel discussions it         18   it's based on clinical judgment that they continue
    19   was quite evident that there isn't a single fix             19   to use them.
    20   needed for the issue of opioid prescribing and then         20      Q. Why do you think that it became so common
    21   a multidisciplinary approach to management of pain,         21   over the past 20 years, not that they continued to
    22   is probably the best method of treating patients            22   use them today?
    23   with chronic pain."                                         23         MR. DAVISON: Objection to form.
    24          The last sentence in that paragraph says:            24      A. Repeat the question.
    25   "The major concern is that there isn't anything             25      Q. Over the past 20 years -- would you agree

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     1   that over the past 20 years, the use of opioids for        1   efficacy and safety?
     2   chronic pain became much more common than it was,          2         MR. DAVISON: Objection to form.
     3   say, 30 years ago?                                         3      A. At the time that I'm having pain, probably
     4         MR. DAVISON: Objection to form.                      4   not, but I'm going -- yeah. The questions you're
     5      A. I would that say there was a lot more                5   asking are really hypothetical, so I'm kind of
     6   available than chronic pain to treat for opioids. I        6   having a hard time with them because it's not a real
     7   would say that -- I think, that actual number is           7   life situation.
     8   probably decreasing now due to the heightened              8      Q. I think it's very much a real-life
     9   awareness. So I would say that there was -- that           9   situation.
    10   opioids are used to treat chronic pain and --             10         MR. DAVISON: Objection. Let her answer
    11      Q. How did that come about in the absence of           11      your questions.
    12   evidence?                                                 12      A. Because when you come into a pain clinic and
    13         MR. DAVISON: Objection to form.                     13   you are presented -- when you have to treat somebody
    14      A. I don't think it was an absence of evidence,        14   that's coming to you -- you can talk about risks but
    15   it was absence of long-term -- longitudinal               15   I'm going to tell you their main goal is to get out
    16   evidence. There is lots of studies on opioids and         16   of pain. We're not -- we're hoping that it's not
    17   treatment. I can't recall all of them but I               17   going to be a long-term -- no -- rarely does --
    18   remember being part of -- I was at Hopkins, so I was      18   we're hoping that it's not going to be a chronic
    19   part of research.                                         19   condition, right, forever and ever. We're hoping we
    20      Q. Does that matter whether a study is short or        20   can get you out of pain as we're figuring out what
    21   long when you are talking about a long-term               21   the causes are and treat the causes.
    22   treatment?                                                22         So it's much different than a diabetes or a
    23         MR. DAVISON: Objection to form.                     23   chronic, right? People don't like to consider that
    24      A. Matter to whom?                                     24   their chronic pain is chronic. It's something they
    25      Q. A patient who is going to be taking the             25   are hoping it will go away one day and we're hoping

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     1   medication.                                                1   we can figure out with science, better ways to treat
     2         MR. DAVISON: Objection.                              2   it and maybe even to eradicate its cause.
     3     Q. A clinician who is prescribing it.                    3      Q. If you look at number 14 on this e-mail, it
     4         MR. DAVISON: Objection.                              4   says: "The panel concluded there isn't any
     5     A. I would think that a patient wants to get             5   consistency in prescribing chronic opioids and that
     6   out of pain and, I think, that they would like to          6   there isn't any data supporting their use long-term
     7   minimize risks. If I were a patient, I can only            7   in most disease states."
     8   speak if I'm a patient, and I'm in pain, I want to         8         Is that information that a pharmaceutical
     9   get my pain relieved, I want to be able to return to       9   company has the responsibility to relay to
    10   my function. So that's all I can answer. I -- I           10   healthcare providers and patients?
    11   don't read all the data. I don't think most               11         MR. DAVISON: Objection to form.
    12   patients do. I think they just want to make sure          12      A. My problem with this kind of information is
    13   that risks are minimized and outcomes are there.          13   that there is a separate panel that may be going on
    14     Q. And what if the long-term outcomes are not           14   that talks about people who can't get pain relief
    15   there?                                                    15   and may -- and all -- and they need every option
    16         MR. DAVISON: Objection to form.                     16   available to them. This is one panel, albeit an NIH
    17     A. I can't answer that.                                 17   panel. I would never take one thing and make it --
    18     Q. Take a chance and take the drug?                     18   take one statement out of any report that I'm
    19         MR. DAVISON: Objection to form.                     19   getting off of a meeting, I would need to do much
    20     A. That -- that question doesn't even make any          20   more research, look at the data that they looked at.
    21   sense. I'm not sure. I'm being monitored by a             21   So I -- I hope that answers your question. This is
    22   clinician while I take any medication.                    22   one panel's discussion, not every clinician was on
    23     Q. You're being prescribed a drug for chronic           23   that panel. That is a subset of the clinical
    24   pain, not a short-term event. Would you want to           24   community that's on that panel.
    25   know whether there is data showing long-term              25         If these outcomes change what the FDA

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     1   decides how pain -- what can and cannot be used,        1   abuse could involve the following items; tamper
     2   that's something much more directly influenced --       2   proof products, aversion agent, antagonist delivery
     3   that influences manufacturers. This is the              3   system and formulation. When looking at the data
     4   recommendations of one panel. So all I can say is,      4   from the OxyContin reformulation, noticed a
     5   I do not feel that we would have a responsibility to    5   significant decline in abuse after it was modified.
     6   educate on this outcome based on one panel based on     6   However, noticed a corresponding increase of
     7   this one e-mail.                                        7   abuse of IR oxycodone."
     8     Q. What would trigger that responsibility to          8         And for the record, what is IR oxycodone?
     9   educate?                                                9     A. Immediate release, so short-acting opiate.
    10         MR. DAVISON: Objection to form.                  10     Q. And do you remember what the time frame was
    11     A. A change in the FDA guidelines, a change in       11   for when OxyContin was reformulated to be
    12   FDA approvals, a -- I, you know, I can't answer that   12   abuse-deterrent?
    13   because I don't know what would -- you know, what      13     A. I don't exactly remember it. I do know it
    14   regulatory oversight would be needed to require        14   was after I worked there. Yeah, I don't remember
    15   changes.                                               15   the year.
    16     Q. Do you only make the changes when they are        16     Q. Mallinckrodt manufacturers immediate-release
    17   required by regulation?                                17   oxycodone, correct?
    18         MR. DAVISON: Objection to form.                  18     A. I believe so, yeah.
    19     A. I can't answer that. I'm not in those             19     Q. Were you aware of any discussions among
    20   departments. I'm -- I'm -- make those changes in       20   Mallinckrodt employees about what's described here,
    21   what, I should ask?                                    21   the increase in sales of IR oxycodone corresponding
    22     Q. Mallinckrodt's messaging.                         22   to the decrease in OxyContin abuse after
    23     A. Yeah. I don't determine Mallinckrodt              23   reformulation?
    24   messaging, I don't educate on Mallinckrodt             24     A. No.
    25   messaging. I can't answer these questions, where       25         MR. DAVISON: Objection to form.

                                                    Page 83                                                          Page 85
     1   they make that decision and what evidence of data       1         MS. GAFFNEY: So this was Exhibit 11 in the
     2   they need. I'm not the right person for that.           2     Becker deposition, so it's already --
     3     Q. In your opinion, is the responsibility of a        3         THE COURT REPORTER: Okay.
     4   pharmaceutical company to educate healthcare            4         (Becker Exhibit 11 was marked for
     5   providers and patients triggered only by FDA            5   identification.)
     6   regulations?                                            6   BY MS. GAFFNEY:
     7        MR. DAVISON: Objection to form.                    7     Q. So this is an exhibit that was marked
     8     A. Unfortunately, I can't answer that one             8   Exhibit 11 in the deposition of Steven Becker, who
     9   either. I would say that we are -- we are               9   was the national account manager at Mallinckrodt. I
    10   responsible for ensuring that we follow all FDA        10   believe that his tenure at Mallinckrodt would have
    11   guidance and regulatory oversight and that is          11   only overlapped with your tenure by a few months.
    12   absolutely critical in what -- in determining what     12   Did you meet Steven Becker at Mallinckrodt?
    13   we can and cannot say about products, about            13     A. That name is not familiar.
    14   statements, about claims. So I -- I would say that     14     Q. And then the author of this e-mail is Bonny
    15   they -- I -- I'm just not the right person to be       15   New. Do you know who Bonny New is?
    16   answering these questions. I don't make those          16     A. I don't.
    17   decisions for the company.                             17     Q. How about any of the recipients of this
    18     Q. One more point on this e-mail and then we         18   e-mail?
    19   can let it rest.                                       19     A. Well, Ginger Collier was on the other e-mail
    20     A. That's all right.                                 20   but I don't remember who she was.
    21     Q. Number 8, if you could go back to the first       21     Q. Okay.
    22   page.                                                  22     A. No.
    23     A. I didn't even write this e-mail, so I'm           23     Q. So the e-mail, you can see she writes: I
    24   really just kind of -- go ahead.                       24   think -- interesting read. I think it supports our
    25     Q. Number 8 reads: "The strategy to reduce           25   suspicions in the regard to the increased usage of

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     1   the oxy 30 milligram.                                     1   oxycodone is the most abused opioid on the market?
     2         And then on the back is the short article,          2         MR. DAVISON: Objection to form.
     3   and the second to last paragraph begins with:             3     A. Yes, because I used to think it was
     4   Demand appears especially high for pure oxycodone         4   hydrocodone, so --
     5   that come in 30 milligram pills.                          5     Q. Would it surprise you to hear that IR
     6         This e-mail is from 2011. It's before you           6   oxycodone is the most abused product in
     7   started at Mallinckrodt, but since you have been          7   Mallinckrodt's portfolio?
     8   working at Mallinckrodt, has anyone at Mallinckrodt       8         MR. DAVISON: Objection to form.
     9   ever talked to you about diversion and abuse related      9     A. I don't have any -- I'm not surprised or not
    10   to Mallinckrodt's generic oxycodone products,            10   surprised. I don't have any -- I don't have that
    11   particularly the oxy 30s?                                11   knowledge base, so --
    12         MR. DAVISON: Objection to form.                    12         MS. GAFFNEY: Here is Exhibit 5.
    13      A. Not -- not directly in terms -- I would            13         (Mallinckrodt - Jackson Exhibit 5 was marked
    14   attend the suspicious order monitoring, but never        14   for identification.)
    15   talked about -- no, I will just say no. Absolutely       15   BY MS. GAFFNEY:
    16   no. Yeah, this is way before my time there and so        16     Q. I'll just give you a moment to look it over.
    17   I -- yeah.                                               17         Okay. So this is an e-mail -- Exhibit 5 is
    18      Q. Okay. And not about that article                   18   an e-mail from Kevin Webb, and you mentioned Kevin
    19   specifically but about diversion and abuse of            19   Webb earlier when we were going through the people
    20   generic oxycodone, is that something that people         20   you worked with at Mallinckrodt. So he's part of
    21   have discussed with you at Mallinckrodt?                 21   government affairs and advocacy; is that correct?
    22      A. No.                                                22     A. He is now -- he is actually part of the
    23         MR. DAVISON: Objection.                            23   generics government affairs team now. I think
    24      Q. Not at the meetings with the suspicious            24   they've -- they're --
    25   order monitoring group?                                  25     Q. Spin-off?

                                                      Page 87                                                           Page 89
     1         MR. DAVISON: Objection.                             1     A. Dotted line but separate.
     2     A. No.                                                  2     Q. Okay. And you were copied on this e-mail as
     3     Q. Okay. And you now work in government                 3   well; is that correct?
     4   affairs and advocacy and no one at Mallinckrodt has       4     A. I was.
     5   ever spoken to you about the diversion of                 5     Q. It's about the submission of an NDA for ADF
     6   Mallinckrodt's generic oxycodone?                         6   Roxicodone, and his e-mail states that oxycodone
     7         MR. DAVISON: Objection to form.                     7   immediate release (IR) is the most abused opioid on
     8     A. No one has spoken to me about the diversion          8   the market and the most abused product in MNK's
     9   of any one particular drug. We speak about the            9   portfolio; is that correct, that's what the e-mail
    10   programs that are in place solely. I don't speak         10   says?
    11   about any one. I would not be the person that            11     A. That's what it says, yep.
    12   anyone would talk to about it.                           12     Q. Do you have any reason to doubt that
    13     Q. Sure. You speak about the programs that are         13   statement?
    14   in place without speaking about the products that        14         MR. DAVISON: Objection to form.
    15   are being diverted; is that correct?                     15     A. No.
    16         MR. DAVISON: Objection to form.                    16     Q. And just to clarify for the record, since
    17     A. Yeah, I don't have that -- I was never given        17   this is about Roxicodone, Roxicodone is immediate
    18   that much detail because that was not my area of         18   release oxycodone; is that correct?
    19   expertise.                                               19     A. Yes.
    20     Q. Okay. Did it ever come up in discussion of          20     Q. On the second page of this e-mail, one of
    21   development of abuse-deterrent products?                 21   the bullet points -- let's see. Under -- the
    22         MR. DAVISON: Objection to form.                    22   heading was on the first page, "Launch of
    23     A. I only knew that they were developing abuse         23   Re-formulated Roxi."
    24   deter -- I didn't know any of the details.               24         There is a bullet point: Requests FDA to
    25     Q. So would it surprise you to hear that IR            25   pull the NDA of the original non-ADF Roxi IR opioid

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     1   due to safety reasons.                                   1   for identification.)
     2        What safety reasons are those?                      2   BY MS. GAFFNEY:
     3        MR. DAVISON: Objection to form.                     3      Q. So this is just an excerpt from the
     4     A. I didn't -- I can't answer what he -- what          4   deposition testimony of Steven Becker, I mentioned
     5   he was inferring. That's a Kevin question.               5   earlier national account manager at Mallinckrodt.
     6     Q. Fair enough. A Kevin question.                      6   The first page is a cover page, the second page is
     7        Do you have any understanding of what he            7   the excerpt, and at the bottom of the second page
     8   might have been referring to there?                      8   you can see that he testifies that oxycodone 30 is
     9        MR. DAVISON: Objection to form.                     9   "our top-selling product."
    10     A. It would just be -- it would just -- no.           10      A. Uh-huh.
    11     Q. Okay. So you work -- this is October 2016.         11         MR. DAVISON: Objection to this exhibit for
    12   Both you and Kevin Webb are working together in         12      the excerpt.
    13   government affairs and advocacy, but you don't have     13      Q. Do you have any reason to disagree with his
    14   any idea what he's referring to there with pulling      14   testimony?
    15   the NDA of one of Mallinckrodt's products for safety    15         MR. DAVISON: Objection.
    16   reasons?                                                16      A. No, I don't have any reason. I don't have
    17        MR. DAVISON: Objection to form; asked and          17   any of this knowledge, so I would -- I don't know if
    18     answered.                                             18   it's correct or not.
    19     A. I don't want to suppose what he was thinking       19      Q. Would that present a problem for
    20   about when he wrote this.                               20   Mallinckrodt, that its top-selling product is also
    21     Q. But what's your understanding based on your        21   its most abused product?
    22   position in government affairs and advocacy for         22         MR. DAVISON: Objection to form.
    23   Mallinckrodt?                                           23      A. Define problem. I'm not -- restate your
    24        MR. DAVISON: Objection to form.                    24   question, I'm sorry, because --
    25     A. I would not be involved in this at all. I'm        25      Q. What is Mallinckrodt's responsibility if its
                                                     Page 91                                                            Page 93
     1   surprised he actually copied me on this. I would --      1   top-selling product is also its most abused product?
     2   at this time I was fully working in our other            2         MR. DAVISON: Objection to form.
     3   therapeutic areas, none of which were pain               3     A. So I would -- I would say that the
     4   management, so I don't want to infer what he was         4   responsibility is to be engaged as a stakeholder and
     5   thinking.                                                5   to find out -- and I think we had been, you know.
     6     Q. So this e-mail is from October 2016, over           6   That's where that suspicious monitoring program came
     7   two years ago the bullet point of pulling the NDA        7   in, that's where the pills they were giving
     8   for non-ADF Roxi for safety reasons. Has                 8   pharmacies, and I don't recall all the things that
     9   Mallinckrodt done so?                                    9   we were doing, but I know we were doing many things
    10         MR. DAVISON: Objection to form.                   10   to address this.
    11     A. I actually don't know if they -- what              11         And so I do think as a stakeholder, we have
    12   actions they've taken.                                  12   a responsibility, as all the other stakeholders in
    13     Q. Would it surprise you to hear that immediate       13   this situation do, and I think that we did -- we --
    14   release oxycodone was not only the most abused          14   as long as I've been with Mallinckrodt, I feel like
    15   product in Mallinckrodt's portfolio, but also           15   we have taken that very responsibly. I since day
    16   Mallinckrodt's top-selling product?                     16   one was told about the suspicious ordering task
    17         MR. DAVISON: Objection to form.                   17   group, task force group that -- I apologize. I may
    18     A. The word surprise is -- is -- I did not know       18   be calling them the wrong name. It's been many
    19   that, so I didn't have any of that knowledge, so --     19   years, but, you know, that was one thing I knew they
    20   so am I surprised? I guess that would be the word       20   were working with the DEA on closely.
    21   you would use but --                                    21         So I, you know, I don't think that that's
    22     Q. I'm sure there is a better word.                   22   something that was ignored. I have limited details,
    23     A. That's all right. Yeah, it's --                    23   limited information on that, but I know I was always
    24         MS. GAFFNEY: This is Exhibit 6.                   24   very impressed when I came to Mallinckrodt about all
    25         (Mallinckrodt - Jackson Exhibit 6 was marked      25   the things they were doing as a company.

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     1     Q. And those efforts that you have seen since            1   know because that study -- the studies hadn't been
     2   you started in 2014, do you know when they started         2   done.
     3   at Mallinckrodt?                                           3     Q. And why did you suggest using that phrase
     4         MR. DAVISON: Objection to form.                      4   for Xartemis?
     5     A. I don't -- I don't know. I'm sorry. Yeah,             5        MR. DAVISON: Objection.
     6   no, they were going on when I started in April of          6     A. Because I think it's exactly what you've
     7   2014, because that I knew.                                 7   done, you've designed it to be abuse resistant but
     8     Q. Okay.                                                 8   you can't make any claims about it.
     9     A. But I don't know when they started.                   9     Q. Your e-mail says that that suggestion was
    10         MS. GAFFNEY: This is Exhibit 7.                     10   not approved. Who at Mallinckrodt didn't approve
    11         (Mallinckrodt - Jackson Exhibit 7 was marked        11   it?
    12   for identification.)                                      12     A. I can't remember. I would have brought it
    13         THE WITNESS: Thank you.                             13   up to a team of people, so I don't remember if it
    14   BY MS. GAFFNEY:                                           14   was -- I don't know.
    15     Q. So Exhibit 7 is a subsequent e-mail to the           15     Q. Okay. Do you know which department that
    16   e-mail we were looking at previously, the e-mail          16   team would have been in?
    17   about abuse deterrent Roxicodone.                         17        MR. DAVISON: Objection, and just if there
    18         MR. DAVISON: Just hold off until we get a           18     was any legal advice that was involved in it in
    19     copy of that, please.                                   19     any way, I'm going to instruct you not to answer
    20         MS. GAFFNEY: Oh, I'm sorry.                         20     that, but if it's not that, that's fine, or a yes
    21         MR. DAVISON: Thank you. Okay. Whenever              21     or no.
    22     you're ready. Thank you.                                22     A. I can't remember.
    23   BY MS. GAFFNEY:                                           23     Q. Okay.
    24     Q. Ms. Jackson, could you read your reply               24        MS. GAFFNEY: Exhibit 8.
    25   that's at the beginning of this e-mail into the           25        (Mallinckrodt - Jackson Exhibit 8 was marked
                                                       Page 95                                                           Page 97
     1   record?                                                    1   for identification.)
     2     A. Sure. "Hi, this is great news but we will             2   BY MS. GAFFNEY:
     3   need to get clear direction from Regulatory on             3     Q. Exhibit 8 is just a short e-mail. Earlier
     4   exactly what we can say. We were not allowed to            4   you had mentioned monthly meetings with the
     5   say abuse deterrence with Xartemis. That                   5   compliance side or the suspicious order monitoring
     6   designation comes after population based                   6   side, and I wanted to ask about this -- this e-mail
     7   postmarketing studies are published and with FDA           7   says -- it's from Karen Harper: "In advance of our
     8   direction. I was at Endo when they reformulated            8   next CARES Alliance/Medical Advocacy/Legal
     9   Opana and they did allow us to say 'designed to be         9   Department luncheon..."
    10   abuse resistant' but when I suggested that with           10         Is this luncheon that Karen Harper is
    11   Xartemis it was not approved."                            11   referring to in your e-mail the same thing that you
    12     Q. Thank you. Can you please explain what               12   had mentioned earlier, or it's different?
    13   "designed to be abuse resistant" means in the             13         MR. DAVISON: Objection.
    14   context of Opana?                                         14     A. It's different.
    15         MR. DAVISON: Objection to form.                     15     Q. Okay. Could you explain what this luncheon
    16     A. Sure. So Opana had some ADF technology,              16   is? Or it sounds like it's an event that took place
    17   abuse deterrent technology, but because it was            17   somewhat regularly. Is that correct?
    18   not -- because we could never make that claim, it         18         MR. DAVISON: Objection.
    19   has to be studied on population-based years of            19     A. I actually don't remember it.
    20   study, we were -- we wanted to talk about the             20     Q. Okay.
    21   reformulation and we wanted to do it in a                 21     A. Sorry.
    22   responsible manner, so we -- we were -- the idea          22     Q. Okay. That's no problem. So the -- what
    23   that it was designed to be abuse resistant is as          23   you were explaining earlier about monthly meetings,
    24   factual, I think, as you can be. It is designed to        24   tell me more about those. Who would attend those
    25   be abuse resistant. Whether it is or not we don't         25   monthly meetings? You said sometime you were able

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     1   to and sometimes you weren't.                                1     because it was a large poster for an event.
     2     A. Yeah.                                                   2        MR. DAVISON: So I'm just going to object to
     3     Q. But who would be the broader group                      3     the exhibit to the extent it's not the exact same
     4   attending?                                                   4     poster, but I don't think we need to look through
     5         MR. DAVISON: Objection.                                5     and check on that right now.
     6     A. Karen Harper, Don Loman. I can't even                   6        MS. GAFFNEY: Sounds good.
     7   remember the exact title of it but it was -- they            7        THE VIDEOGRAPHER: One second.
     8   would talk about the different programs that were in         8        THE WITNESS: Thank you.
     9   place to do it, and I would share what I was working         9   BY MS. GAFFNEY:
    10   on with CARES and the redesign of the website, which        10     Q. Okay. So this e-mail is from June 2014 --
    11   was what my goal was. So I was really just there as         11   well, it's two e-mails in this first page and your
    12   an observer and just to talk about what the advocacy        12   e-mail is the bottom one asking for "the poster that
    13   end was doing, so I wasn't -- I'd do that, yeah.            13   CARES Alliance supported on our diversion program."
    14         Yeah, I don't believe this is the same                14        What does it mean that CARES Alliance
    15   meeting.                                                    15   supported this poster?
    16     Q. Got it. And you said the different programs            16        MR. DAVISON: Objection to form.
    17   that were in place to do it. Just to clarify for            17     A. So I -- it was prior to my time there, but I
    18   the record, you're talking about anti-diversion             18   was told that this poster was paid for by CARES
    19   programs?                                                   19   Alliance, putting it together, writing it. We
    20     A. Yes. I'm sorry. Yes.                                   20   usually would get a vendor to help write these
    21         (Mallinckrodt - Jackson Exhibit 9 was marked          21   posters.
    22   for identification.)                                        22     Q. Okay. Okay. So that was CARES Alliance
    23   BY MS. GAFFNEY:                                             23   financially supporting the production of this
    24     Q. Okay. So this is Exhibit 9. It's two                   24   poster?
    25   sheets. I can explain. Sorry, I didn't get them             25     A. Exactly.

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     1   stapled, but the exhibit is an e-mail with an                1     Q. Okay. And again, this is still hard to read
     2   attachment and the attachment is a poster, and when          2   but I think we can see some of the headings on this
     3   it printed originally, you can see on the back of            3   poster. One of them is "Chargeback review." Are
     4   that page it printed very small, so I printed a              4   you familiar with Mallinckrodt's chargeback review
     5   different version of it, one that we might have some         5   procedures?
     6   chance of reading.                                           6         MR. DAVISON: Objection to form.
     7         THE WITNESS: Yeah.                                     7     A. Just -- just slightly. I knew it's one of
     8         MS. GAFFNEY: It's still very small. So                 8   the things that they did for suspicious -- for the
     9      the --                                                    9   anti-diversion. I don't really understand how that
    10         MR. DAVISON: Sorry. Just to be clear on               10   all works. It's kind of complicated.
    11      this, so it does look like they have different           11     Q. Do you know what a chargeback is just as a
    12      Bates numbers.                                           12   general matter?
    13         MS. GAFFNEY: They do.                                 13     A. I really don't, so I'm sorry. It's very
    14         MR. DAVISON: So it's not clear to me that             14   complicated and it's -- yeah.
    15      they are -- I mean, I obviously have not looked          15     Q. That's fine. To your knowledge is the use
    16      that it's the same poster. Are you representing          16   of chargebacks common across the pharmaceutical
    17      that it's the same exact poster?                         17   industry?
    18         MS. GAFFNEY: You know, to be honest, this             18         MR. DAVISON: Objection to form.
    19      one printed so small, there might have been a            19     A. I don't know. Yeah, I don't know.
    20      word change.                                             20     Q. In one of the larger print sections it says:
    21         MR. DAVISON: Okay.                                    21   "Chargeback blocking prevents product distribution
    22         MS. GAFFNEY: My understanding is that it's            22   to pharmacies at risk of diversion."
    23      the exact same poster. There were several                23         What is your understanding of what a
    24      e-mails sending it as an attachment for printing         24   pharmacy at risk of diversion is?
    25      purposes and it had to go to an outside printer          25         MR. DAVISON: Objection to form.

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     1     A. I would have no -- I would not know what                  1   had been going on since 2010 and I got there in
     2   they were thinking about in --                                 2   2014, so I don't know if they did that.
     3     Q. Okay.                                                     3     Q. And I asked a question about this earlier
     4     A. -- in their definitions on this. Yeah,                    4   but I'm still a little bit confused about the
     5   that's --                                                      5   overlap between medical affairs and CARES Alliance.
     6     Q. Okay. This is text over here says the                     6   My understanding is that medical affairs is broader
     7   anti-diversion working group -- sorry. "The                    7   than CARES Alliance.
     8   Anti-Diversion Industry Working Group facilitates              8     A. Oh, yes.
     9   collaboration with drug manufacturers                          9     Q. Okay. In some of the answers you're
    10   and distributors to prevent opioid diversion and              10   speaking only to CARES Alliance but I'm asking about
    11   abuse."                                                       11   medical affairs more broadly, so I just wanted to
    12         Are you familiar with the Anti-Diversion                12   clarify that.
    13   Industry Working Group?                                       13         What else was part of medical affairs
    14     A. Only that we started it, Mallinckrodt                    14   besides CARES Alliance when you were there?
    15   actually started it, and one of the things that we            15         MR. DAVISON: Objection to form.
    16   had done -- this is the extent of my knowledge on             16     A. CARES Alliance is a program of medical
    17   this -- was a video on pharmacists seeing aberrant            17   affairs. Medical affairs is -- was medical
    18   behavior of people coming into the pharmacy. I                18   information, product safety, research, research
    19   can't remember -- it was Red Flags, I think it was            19   publications, medical directors are part of medical
    20   called.                                                       20   affairs, HEOR, Health Outcomes -- Health Economic
    21     Q. Okay.                                                    21   and Outcomes are part of H -- part are
    22     A. We were really proud -- the group that ran               22   of government --
    23   this was really proud of all of these programs.               23         Now, I think -- I think that -- I think I've
    24     Q. Okay. And then the medical advocacy group                24   hit most of the areas.
    25   at Mallinckrodt worked on -- I don't know if you              25     Q. Okay. And medical affairs is the top of the

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     1   would call them anti-diversion measures, but                   1   umbrella under which there is -- is medical science
     2   prescription drug takeback days, safe disposal                 2   separate from medical affairs, or is it part of
     3   pouches; is that correct?                                      3   medical affairs?
     4     A. Yes. Okay. So the safe disposal pouches                   4        MR. DAVISON: Objection to form.
     5   came from our government affairs and advocacy group.           5     A. Yeah, I was just thinking about that as
     6   So advocacy was actually done by two groups within             6   we -- so there's -- so medical also includes our
     7   Mallinckrodt: Medical advocacy, which is what I was            7   regulatory side, but there -- but that is -- a piece
     8   responsible for; and government affairs advocacy,              8   of that was a little bit separate from where we were
     9   which was Kevin Webb was responsible for that                  9   in govern -- in global -- when I was with them at
    10   advocacy.                                                     10   Mallinckrodt in global medical affairs, it was
    11         So the Medsaway pouches came from his --                11   regulatory, it was pipeline, research, things like
    12   that place, and we did the takeback programs, as              12   that. So that was a -- that was kept separate but
    13   well as the sponsored disposal boxes in communities,          13   they would have all been under your scientific
    14   where people could bring back their drugs and                 14   platform.
    15   dispose of them.                                              15     Q. So going back to this poster and all the
    16     Q. Both the Medsaway pouches and the drug                   16   programs that are listed there, why is all -- why
    17   takeback days are aimed at conduct that happens               17   are all those programs necessary?
    18   after the drugs are sold. Does medical affairs ever           18        MR. DAVISON: Objection to form.
    19   work on any measures to actually reduce the number            19     A. My answer would be that I don't know why
    20   of opioids prescribed?                                        20   they felt all those, but I would say that, you know,
    21         MR. DAVISON: Objection to form.                         21   diversion is a multifaceted problem. It happens
    22     A. So I can't answer that because I was only                22   along the chain from a manufacturer to the actual
    23   there really at the very last part of it, before I            23   person -- group that we sell to, so I think you have
    24   moved over to government affairs, and so I don't              24   to address it in different -- in different places
    25   know what all CARES Alliance did. I didn't -- they            25   along the chain.

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     1     Q. Okay. So according to your résumé, which we             1   kind of a unique factor in Florida's circumstance
     2   will talk about, you've lived in a number of places          2   related to prescription drug abuse.
     3   but you were based in Florida between 2005 and 2011?         3         What does that mean, dispensing physicians,
     4     A. Uh-huh.                                                 4   can you explain that?
     5     Q. Okay. Were you aware of a prescription                  5     A. Physicians who are able to dispense the
     6   opioid abuse problem in Florida during that time?            6   actual prescription from their offices, so they
     7         MR. DAVISON: Objection to form.                        7   didn't have to -- the patient didn't have to go to a
     8     A. I wasn't working directly with pain at that             8   pharmacy, they could get it filled right at their
     9   time, but yes, I was.                                        9   office.
    10     Q. How did you become aware of it?                        10     Q. And to your knowledge, that's different than
    11     A. I was --                                               11   the way it was in other states?
    12         MR. DAVISON: Objection.                               12         MR. DAVISON: Objection.
    13     A. I was in the pain management field for many            13     A. Yes.
    14   years and so many of my friends were there, and             14     Q. And why would that have any influence, if it
    15   also, you can't hit a headline. It was -- and I             15   did, on abuse and diversion?
    16   used to -- I belonged to, when I was with Purdue and        16         MR. DAVISON: Objection to form.
    17   when I would belong -- I belonged to a lot of the           17     A. Well, I think it had more to do with the
    18   local task forces, prescription drug abuse task             18   numbers of drugs being prescribed than abuse and
    19   forces, and so I still got their e-mails, you know,         19   diversion, because there was just so many more
    20   with updates; a variety of ways, actually.                  20   points of contact for patients to get the drugs, so
    21     Q. And based on that variety of information,              21   you wouldn't just have to go to a -- you wouldn't
    22   was it your understanding that Florida had a                22   go -- you wouldn't necessarily need to go back to
    23   particularly strong problem with prescription drug          23   your home pharmacy, you could get them filled right
    24   abuse relative to other places in the country?              24   at your doctor's office, so -- so there was a lot
    25         MR. DAVISON: Objection to form.                       25   more drugs dis -- in -- in Florida, so that would --

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     1     A. Yes, but I also understood it to be because             1   that may align with more ability to divert it.
     2   we had dispensing physicians, which was unique to            2      Q. And are you familiar with the term "pill
     3   any state in the United States.                              3   mill"?
     4     Q. So what about that unique situation of                  4      A. I am.
     5   having dispensing physicians contributed to the              5        MR. DAVISON: Objection.
     6   growth of prescription drug abuse in Florida?                6      Q. What is a pill mill as you understand that
     7        MR. DAVISON: Objection.                                 7   term?
     8     A. Wow, that's a pretty broad question I can't             8      A. So a pill mill is a office practicing --
     9   really answer, but I, you know, I think the                  9   practicing as a pain clinic but only to distribute
    10   pharmacy/physician is a check and balance system,           10   pain medicines.
    11   and so -- hopefully, if it's used well, and so when         11      Q. Okay. Another term, have you ever heard the
    12   you lose that, I think there were some problems with        12   term "Oxy Express"?
    13   the checks and balances.                                    13        MR. DAVISON: Objection.
    14        MR. DAVISON: We've been going for about an             14      A. I've heard the YouTube video "OxyContin
    15     hour and a half. Is now a good time to take a             15   Express," I believe it's called, and I -- yeah.
    16     lunch break?                                              16      Q. Okay.
    17        MS. GAFFNEY: Sure, we can do a lunch break             17      A. I -- that's how I know it, related to that.
    18     now.                                                      18      Q. Have you watched that video? It's a short
    19        MR. DAVISON: Let's go off the record.                  19   documentary, correct?
    20        THE VIDEOGRAPHER: Off the record, 11:58 a m.           20        MR. DAVISON: Objection.
    21       (Recess from 11:58 a m. until 12:55 p m.)               21      A. I wouldn't call it documentary, I would call
    22        THE VIDEOGRAPHER: On the record, 12:55 p m.            22   it somebody with a camera, apparently. I saw it
    23   BY MS. GAFFNEY:                                             23   years ago. I haven't seen it -- years ago when it
    24     Q. Okay. Before the break we were talking                 24   came out.
    25   about Florida and dispensing physicians as being            25      Q. What's the -- what makes it not a

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     1   documentary, in your mind?                                   1     Q. Okay. You would scan the headlines. And
     2         MR. DAVISON: Objection.                                2   were there a lot of headlines at that time?
     3      A. It's short and it's not -- it reminds me               3     A. There were --
     4   more of a -- somebody with a single camera walking           4         MR. DAVISON: Objection to form.
     5   around just -- and their thoughts on it. I just --           5     A. I wouldn't -- I'm not sure I would say a
     6   I just don't remember thinking of it as a                    6   lot. There were -- I remember some of them -- them
     7   documentary at the time. I just remember it -- I             7   being there. There were -- so I don't know how
     8   never would have said -- I would have said it was a          8   many. I don't -- I never counted them.
     9   video. That's just my opinion.                               9     Q. Were you aware through those headlines that
    10      Q. Yeah, that's what I was asking about, your            10   you scanned or other sources of information about
    11   opinion. That's fine. It won an award, is my                11   other ways that pills were leaving the state of
    12   understanding. Do you recall that?                          12   Florida and going to other states?
    13         MR. DAVISON: Objection.                               13         MR. DAVISON: Objection to form.
    14      A. No, I do not. I didn't know that.                     14     Q. You'd -- sorry. To clarify, you had
    15      Q. A single person walking around with a camera          15   mentioned one example of the OxyContin Express
    16   couldn't make a documentary?                                16   flights to Fort Lauderdale.
    17         MR. DAVISON: Objection.                               17     A. Right.
    18      A. I didn't say that.                                    18     Q. But were you aware of other ways that pills
    19      Q. I'm just -- okay. I'm trying to understand            19   were being trafficked out of Florida?
    20   what you are saying about why that wouldn't be a            20     A. I think I had --
    21   documentary.                                                21         MR. DAVISON: Objection.
    22         MR. DAVISON: Objection; asked and answered.           22     A. I think I had learned that, like, people
    23      A. I'm not an expert in what a documentary is.           23   were coming from Georgia over to Florida and getting
    24   It's not what I would have considered a documentary.        24   their pills filled, and vice versa, people in
    25   I would -- I would not. I would have just -- I just         25   Florida were going to Georgia to get their

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     1   would not have considered that a documentary at the          1   prescriptions filled, which was the purpose behind
     2   time, when I was watching it.                                2   advocating for prescription drug monitoring
     3     Q. It documented the lives of some people                  3   programs, and other than individual people with
     4   addicted to opioid painkillers and their families,           4   their medications, you know, making their own
     5   correct?                                                     5   decision to do -- to divert their own medications, I
     6         MR. DAVISON: Objection to form.                        6   can't recall any other areas of diversion, methods
     7     A. I recall that there were some people in                 7   of diversion.
     8   there, but I don't remember all the stories that             8         MS. GAFFNEY: This was Exhibit 25 in the
     9   were in there. I mean, it's been years since I've            9     deposition of Victor Borelli.
    10   seen it, so I can't remember all the pieces of it.          10         (Borelli Exhibit 25 was marked for
    11     Q. So what does the "OxyContin Express" refer             11   identification.)
    12   to?                                                         12         THE WITNESS: Oh, I left my glasses in the
    13         MR. DAVISON: Objection to form.                       13     other room.
    14     A. So if -- it's been a while since I saw it              14         MR. DAVISON: Do you need them?
    15   but I remember that people were flying from West            15         THE WITNESS: Yeah. They might be in my
    16   Virginia, I believe, to Fort Lauderdale, back and           16     purse. Feel free to go in there. Sorry.
    17   forth, trying to get their pain medications.                17   BY MS. GAFFNEY:
    18     Q. You mentioned that you read articles about             18     Q. Should we wait a moment so you can --
    19   the prescription drug epidemic in Florida while you         19     A. I can -- I'm reading. No, it's just easier
    20   were living there.                                          20   to read with my glasses. I just have to put it two
    21         MR. DAVISON: Objection.                               21   miles away, but I'll get there.
    22     A. I would scan them, scan headlines, things              22         THE WITNESS: Thank you.
    23   like that, but, yeah, I was not doing pain medicine         23     A. Okay.
    24   at the time that you're -- from 2005 to 2010 I was          24     Q. Okay. This is an exhibit that was
    25   not doing them, so that was not my area of focus.           25   Exhibit 25 in the deposition of Victor Borelli,

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     1   another national account manager at Mallinckrodt.           1         MR. DAVISON: Objection to form.
     2   Do you know Victor Borelli?                                 2     A. I can't really answer that. I mean, it
     3      A. I do not. I don't think he's there any                3   depends if people were interested in this or read
     4   longer, or hasn't been there.                               4   this or -- you know. It's amazing to me what people
     5      Q. Right. So at the bottom of the page you can           5   don't pay attention to, so I don't know.
     6   see it's a forward of a short article by Karen              6     Q. Okay.
     7   Harper to other Mallinckrodt employees, and this            7     A. Yeah.
     8   e-mail is from July 2009 with the headline                  8     Q. But Mallinckrodt was paying attention to it,
     9   "Prescription Drug Abuse Epidemic" and it says              9   correct? Karen Harper forwarded this e-mail in
    10   below: "South Florida has become the largest               10   2009.
    11   supplier of illegal prescription drugs in the              11         MR. DAVISON: Objection to form.
    12   country."                                                  12     A. Well, Mallinckrodt noted this article. I
    13         Is this example similar to headlines that            13   don't know if I -- you know, paying attention or
    14   you saw in that timeframe?                                 14   just noted this article and shared it.
    15         MR. DAVISON: Objection to form.                      15     Q. Since you started working at Mallinckrodt in
    16      A. Yes.                                                 16   2014, have -- has anyone at Mallinckrodt talked to
    17      Q. And would you agree that this statement,             17   you about Mallinckrodt's distribution of generic
    18   "South Florida has become the largest supplier of          18   oxycodone in Florida in this time frame?
    19   illegal prescription drugs in the country," suggests       19         MR. DAVISON: Objection to form.
    20   that Florida in particular is supplying the rest of        20     A. No. No, that did not happen, ung-ugh.
    21   the country, not just that some individuals in             21     Q. So in your work in government affairs and
    22   Florida are filling their prescriptions in Georgia         22   advocacy, Mallinckrodt's distribution of oxy 30 and
    23   and some individuals in Georgia are filling their          23   15 into the state of Florida between 2008 and 2011
    24   prescriptions in Florida?                                  24   hasn't ever come up?
    25         MR. DAVISON: Objection to form.                      25     A. No.
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     1     A. Are you say -- can you restate what you're             1          MR. DAVISON: Objection to form.
     2   asking?                                                     2      Q. You're aware that Mallinckrodt signed a
     3     Q. That was long. This statement, "South                  3   settlement agreement with the DEA?
     4   Florida has become the largest supplier of illegal          4      A. I am.
     5   prescription drugs in the country," would you agree         5      Q. Was that a surprise to you, when that
     6   that this statement is saying that South Florida is         6   happened in 2017?
     7   supplying the rest of the country and not just that         7          MR. DAVISON: Objection to form.
     8   there are some people in Florida filling                    8      A. It was a surprise to me because we had
     9   prescriptions in Georgia and some people in Georgia         9   done -- because my experience was that we had done
    10   filling prescriptions in Florida?                          10   so much to address the diversion issue, and so I was
    11         MR. DAVISON: Objection to form.                      11   coming at it from a different angle. I thought we
    12     A. I would say that that is what this statement          12   had done -- I was really impressed with what our
    13   is saying, but -- I, mean that's -- you're just            13   programs were and the commitment of the company and
    14   reading the sentence, so I would agree with your           14   the people that worked there and to make sure that
    15   description of what the statement is.                      15   we addressed this, so I was -- yeah, but that -- so
    16     Q. Uh-huh. And you read many articles or saw             16   it's -- you know, it's -- but those are such
    17   many headlines while you were living in Florida at         17   high-level decisions, it's not -- that I have
    18   this time of this nature?                                  18   nothing to -- that I don't have any say in.
    19         MR. DAVISON: Objection to form.                      19      Q. Government affairs and advocacy doesn't have
    20     A. Uh-huh. Yes. I'm sorry.                               20   any say or anything to do with diversion-related
    21     Q. You said earlier -- strike that.                      21   settlements with the DEA?
    22         Would you agree that someone living in               22          MR. DAVISON: Objection to form.
    23   Florida between 2005 and 2011 would likely have been       23      A. Not at my level, and that would have been
    24   aware of a prescription drug abuse problem in the          24   Mark Tyndall, our Vice President of Government
    25   state?                                                     25   Affairs, and Derek Naten probably had knowledge of

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     1   it, but I wouldn't have.                                 1   trust the leadership of my company.
     2      Q. But they didn't talk to you about what the         2         MS. GAFFNEY: This is Exhibit 10.
     3   DEA's allegations were about?                            3         (Mallinckrodt - Jackson Exhibit 10 was
     4         MR. DAVISON: Objection.                            4   marked for identification.)
     5      A. That would not -- I don't remember any of          5   BY MS. GAFFNEY:
     6   those conversations.                                     6      Q. This is a copy of the settlement agreement
     7      Q. So since you started at Mallinckrodt in            7   with the DEA. It's a publicly available document.
     8   2014, you explained you've been impressed by the         8   Have you seen it before?
     9   commitment to address the diversion issue, but no        9      A. I have not read it but I've seen it. I know
    10   one within the company has ever talked to you about     10   it exists.
    11   Mallinckrodt's conduct for which it was the subject     11      Q. Okay. It's a long document. I just have a
    12   of a DEA investigation related to diversion?            12   question about text on the first page.
    13         MR. DAVISON: Objection to form.                   13      A. Sure.
    14      A. No. No. I -- yeah, to my knowledge, I             14      Q. So I don't think you need to read the rest
    15   don't -- yeah, we didn't have those kinds of            15   of it, but take your time.
    16   conversations. Yeah, so I would not have been at        16      A. Okay.
    17   that level and --                                       17      Q. So just in the Background section, the
    18      Q. But how do you address a problem without          18   numbered headings, Number 2 says: From January 1st,
    19   really knowing what the problem was?                    19   2008, through September 30th, 2011, there was an
    20         MR. DAVISON: Objection to form.                   20   epidemic increase in diversion of the controlled
    21      A. You're going to have to restate that. I'm         21   substance oxycodone, largely out of the state of
    22   not sure what you're inferring or --                    22   Florida.
    23      Q. Your job at CARES Alliance -- with CARES          23         Number 3: The United States alleges that
    24   Alliance and with global -- government affairs and      24   Mallinckrodt, a manufacturer and distributor of
    25   advocacy is to put out the messaging about how          25   oxycodone, knew about the diversion and sold

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     1   Mallinckrodt is being a good corporate citizen,          1   excessive amounts of the most highly abused forms of
     2   doing its job?                                           2   oxycodone, 30 milligram and 50 milligrams tablets,
     3     A. Yes.                                                3   placing them into a stream of commerce that would
     4     Q. But you don't ever have internal                    4   result in diversion.
     5   conversations about a time when Mallinckrodt was         5        So these are just the background
     6   alleged to not have done its job?                        6   allegations, but this is a time period when you were
     7         MR. DAVISON: Objection to form.                    7   living in Florida, you were aware of the existence
     8     A. Well, I didn't ask those questions, no, and         8   of the epidemic in Florida, correct?
     9   I would not have been part of those conversations.       9        MR. DAVISON: Objection to form.
    10   That happened way before I came.                        10     A. This is -- this is -- yes, I was living in
    11         By the time I got there, they had already         11   Florida and I was aware of the abuse and diversion
    12   had all of the diversion programs in place that they    12   of medications.
    13   were working on. I don't know exactly the dates         13     Q. Are you aware of the quantity of oxycodone
    14   that they started, but I trusted that they were         14   that Mallinckrodt shipped into Florida during that
    15   based on -- that they started when they needed to       15   time?
    16   start, when the company felt that they needed to        16        MR. DAVISON: Objection to form.
    17   start them, and I just -- when I heard about the        17     A. I am not.
    18   settlement, I was disappointed. I felt like we had      18     Q. Do you think that it would be important to
    19   done so much, and so I -- I still don't -- you know,    19   understand the extent of what happened in that time
    20   I know we are -- we follow strict guidelines from       20   frame to address the problem going forward?
    21   the DEA and I know that we are heavily regulated,       21        MR. DAVISON: Objection to form.
    22   and so I was disappointed because I really felt like    22     A. Well, I am under the impression that the
    23   we had done a lot as a company, but I also              23   suspicious ordering monitor and this chargeback that
    24   understand that there are factors beyond my             24   I'm not completely clear on, and the industry
    25   understanding that go into these decisions and I        25   working group were all done as a result of the abuse

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     1   and diversion problem, so I'm -- I'm under the            1   professionals side of that, so I worked within the
     2   assumption that those were the -- that was a result       2   medical affairs.
     3   of this problem that was going on.                        3     Q. Okay. Could you explain a little bit more
     4      Q. Okay.                                               4   about what that involved, the healthcare
     5         MS. GAFFNEY: Here is Exhibit 11.                    5   professional side, the scientific discussions with
     6         (Mallinckrodt - Jackson Exhibit 11 was              6   key opinion leaders?
     7   marked for identification.)                               7         MR. DAVISON: Objection to form.
     8   BY MS. GAFFNEY:                                           8     A. Sure. Just meeting with -- meeting with the
     9      Q. This is a document you are familiar with.           9   different thought leaders in the southeast in pain
    10   It's your résumé.                                        10   medicine, discussing Endo and our areas of research,
    11      A. That, I know. Okay.                                11   finding out what their areas of research and if
    12      Q. I just have some -- oh, I'm sorry --               12   there was any areas of synergy.
    13   questions about -- so talking about that same time       13         We also -- because we were also working on
    14   period in Florida, you were with CMJ Consulting. Is      14   investigator-initiated research, so finding out what
    15   that your company?                                       15   they were working on to see if there was any areas
    16      A. That's me, uh-huh.                                 16   of strategic alignment.
    17      Q. Okay. The third bullet in bold, Pain               17         Then also we had -- this is when we were
    18   Program Accreditation Director, American Academy of      18   reformulated, so we educated about the
    19   Pain Management, coordinated review and                  19   reformulation. We also worked -- we supported our
    20   revitalization of National Pain Clinic Accreditation     20   field team, our field sales team, by working with
    21   Program, can you explain that to me?                     21   the speakers to ensure that they had all the
    22      A. So the American Academy of Pain Management,        22   information they needed so that they were providing
    23   which is now called the American Academy of              23   accurate information.
    24   Integrated Pain Medicine, was a multidisciplinary        24         So it was really just being the face of Endo
    25   organization, and they had a accreditation for pain      25   to the key opinion leaders and also clinicians

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     1   treatment facilities that they -- that they were          1   along -- there's practitioners, nurses, physicians,
     2   trying to reinvigorate, and so I was as a -- I was a      2   anybody -- any healthcare provider to the pain
     3   consultant with them on this job, so I was helping        3   community, from Endo to the pain community.
     4   them redo their whole project.                            4     Q. Okay. So what's involved in ensuring that
     5      Q. Okay. Did that have anything to do with the         5   the speakers and the field sales team had all the
     6   issue of pain clinics sometimes being involved in         6   information they needed so that they were providing
     7   diversion as you mentioned earlier?                       7   accurate information?
     8      A. No, actually, it was more about integrated          8     A. We didn't do anything with the field sales
     9   pain medicine. So it was more to your answer that         9   team, but the -- we supported their -- the speakers,
    10   pain -- that it wasn't just about --                     10   because they -- the speakers -- they would choose
    11      Q. Opioids?                                           11   where the speakers spoke, if that makes -- they had
    12      A. -- opioids or any kind of medications; was         12   the -- they would arrange the -- with marketing,
    13   it a -- was it a clinic that included psychological      13   with -- so just making sure that they had any
    14   and physical therapy. So it was about -- was it          14   questions about the slides that were developed, that
    15   actually an integrated pain management.                  15   they had any questions about any of the scientific
    16      Q. Got it. Okay. And after that you worked            16   data that was on there, if they needed more
    17   for Endo for a few years?                                17   additional resources.
    18      A. I did.                                             18         You know, so it's -- this is about the time
    19      Q. Can you explain the work that you did at           19   that speaker programs became much more regulated,
    20   Endo?                                                    20   and it used to be they could ask questions, people
    21         MR. DAVISON: Objection to form.                    21   could ask all sorts of questions. It started
    22      A. I was a medical science liaison there, so I        22   getting more stricter, and we just wanted to make
    23   was responsible for engaging in the scientific           23   sure that the speakers were comfortable with these
    24   discussions with key opinion leaders and their --        24   new regulations.
    25   and healthcare -- I was on the healthcare                25     Q. So the slides that the speakers would use

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     1   would come from the medical affairs department in         1   was -- it was actually founded by three
     2   Endo?                                                     2   organizations and eventually went in under the
     3     A. They would come from Endo.                           3   American Academy of Integrated Pain Medicine, the
     4     Q. Okay.                                                4   one that we just spoke about, but it was originally
     5     A. Yeah. I want to say it was -- I can't say            5   a coalition of three organizations, and it was their
     6   they were just -- they were -- they were all from --      6   policy advocacy arm.
     7   they were informed by the scientific medical side,        7      Q. So as part of your work at Endo, did you
     8   but they were a marketing -- they were part of            8   work with those three organizations as well as the
     9   marketing and sales.                                      9   SPPAC?
    10     Q. But would contain some scientific                   10      A. So I would -- yeah, I would attend the
    11   information?                                             11   meetings for -- so that's the American Academy of
    12        MS. VANNI: Object to the form.                      12   Pain Management, that's the America Society of Pain
    13     A. Lots of scientific information. I mean,             13   Management Nursing, and the American Pain
    14   yeah, it was based on science. It was based on the       14   Foundation, and I would attend meetings, meet with
    15   data and the PI.                                         15   the leadership of those organizations, and then for
    16     Q. And where did that science and data come            16   SPPAC I would -- I was on their mailing list and
    17   from?                                                    17   just follow up with what they are doing.
    18        MR. DAVISON: Objection to form.                     18      Q. Okay. The attached document to your e-mail
    19        MS. VANNI: Objection.                               19   is the Phase 1 Outcomes and Description of the
    20     A. The research that was being done and the            20   Restructured Model?
    21   body of science that was out there. I was not            21      A. Uh-huh.
    22   responsible -- that was not my job to design the         22      Q. Do you know what that refers to, Phase 1?
    23   speaker decks, so...                                     23      A. I actually don't know what that refers to.
    24     Q. Okay. But through the speaker decks, Endo           24   It's been a while.
    25   would communicate the body of science that was out       25      Q. Okay. Yeah. At the bottom, it says "during

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     1   there to the speakers, who would then go speak to         1   Phase 1," and there's a few bullet points, and one
     2   healthcare professionals?                                 2   of them is "coordinated actions in several states,
     3         MR. DAVISON: Objection.                             3   including in Ohio, alerts and written and direct
     4         MS. VANNI: Objection.                               4   testimony that resulted in improvements in medical
     5     A. Well, they would do it, but it all had to be         5   board rules for pain clinics. Local advocates are
     6   based on what -- on our prescribing information at        6   now represented on a key committee."
     7   the FDA, so it was all -- it was very highly -- once      7        Do you remember what any of that would have
     8   again, it's gotten very highly regulated, so there        8   been about, the medical board rules for pain
     9   was a point in time speakers used to be able to add       9   clinics?
    10   their own slides to a deck, and that practice            10        MR. DAVISON: Objection to form.
    11   stopped, and so now it had to only be a                  11        MS. VANNI: Object to form.
    12   company-approved slide deck that went through the        12     A. No. These are just generalizations for
    13   appropriate regulatory review that a clinician now       13   every state, so I don't know the exact rules they
    14   can present on behalf of the company, to educate.        14   were talking about.
    15         MS. GAFFNEY: This is 12.                           15     Q. And the next bullet point about Tennessee:
    16         (Mallinckrodt - Jackson Exhibit 12 was             16   "Written and direct testimony and multiple other
    17   marked for identification.)                              17   communications related to medical board rules for
    18         THE WITNESS: Okay.                                 18   pain clinics." In italics, "This resulted in
    19   BY MS. GAFFNEY:                                          19   substantial revisions to the rules creating a less
    20     Q. So this is an e-mail from 2012, the subject         20   stringent regulatory environment for pain management
    21   SPPAC, the State Pain Policy Action Coalition, and I     21   clinics."
    22   see in the e-mail that you've written the coalition      22        Why would that be a goal of the SPPAC?
    23   was founded by -- there's a set of other acronyms,       23        MR. DAVISON: Objection to form.
    24   but can you just explain what SPPAC is?                  24        MS. VANNI: Objection.
    25     A. Sure. It is the policy group that was -- it         25     A. Well, I can't speak to the legislation on

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     1   that. Some of the legislation that was getting            1     A. What I said was that was just one example of
     2   written was extremely restrictive for patients. One       2   where sometimes the legislation written is much --
     3   of them, when they were trying to rewrite the             3   is very stringent in the way they wrote it, and so
     4   guidelines for Florida, literally talked about doing      4   what they talk about is making it so that it's a
     5   urine testing in the office, and it would have            5   balance so that nothing becomes an undue burden on
     6   required the office to have to totally redesign           6   any party.
     7   their bathrooms, instead of sending them to an            7     Q. Do you think having a less stringent
     8   approved testing site or doing it.                        8   regulatory environment for pain management clinics
     9         So that's -- I don't -- I can't answer what         9   is a good idea?
    10   that was, but when you're looking at legislation,        10         MR. DAVISON: Objection to form.
    11   they didn't do away with it. They just wanted to         11         MS. VANNI: Objection.
    12   make sure that it would not place undue burden on        12     A. I think that you need to strike a balance.
    13   patients and caregivers.                                 13   I keep telling you that, because I think you
    14     Q. Do you see a requirement of an in-office            14   can't -- I think you can have legislations so
    15   urinalysis as an undue burden?                           15   restrictive that you end up defeating what you're
    16     A. No, it's just you have to be careful about          16   trying to accomplish, which is appropriate pain
    17   what you're asking -- what you're putting in writing     17   management. At the end of the day, we're still
    18   to require, because then it becomes a process that       18   trying to accomplish pain management.
    19   can be pretty burdensome to patients, and also           19     Q. And what do you think of as appropriate pain
    20   clinics. So it's just a -- it's a matter of              20   management?
    21   striking a balance to make sure that you're              21         MR. DAVISON: Objection to form.
    22   addressing the concerns but also allowing patients       22     Q. What does that mean?
    23   to be able to not feel like a criminal every time        23         MR. DAVISON: Objection.
    24   they walk into their doctor's office.                    24     A. It means pain -- pain management that
    25     Q. Is a urinalysis for every patient one of            25   helps -- that manages the risks and the benefits,

                                                       Page 131                                                       Page 133
     1   the, quote, tools of CARES Alliance recommended for       1   along with the benefits.
     2   safe opioid prescribing?                                  2      Q. Would it be treatment that is effective for
     3         MR. DAVISON: Objection to form.                     3   a particular disease state?
     4      A. We would -- urinalysis is one tool used, but        4          MR. DAVISON: Objection.
     5   it just depends on the patient. It's all                  5      A. Well, you'd also have to weigh it with the
     6   individualized. Urinalysis is absolutely a tool,          6   risks. So it's balanced. It's looking at both
     7   but you also have to know how to read it, because         7   sides.
     8   many drugs, the -- or when they -- the testing comes      8      Q. Is it possible to fully look at both sides
     9   out, you just have to be very accurate in how you're      9   if there is no data on the benefits?
    10   reading that, because it can be misleading.              10          MR. DAVISON: Objection to form.
    11      Q. But is that something that CARES Alliance          11      A. Well, I guess I would say to you if -- I'm
    12   recommends that doctors do as part of what is            12   not sure how the FDA would approve drugs if there's
    13   presented as safe opioid prescribing?                    13   no benefit listed, so I would say to you that I
    14         MR. DAVISON: Objection to form.                    14   think the benefits -- that there's data on benefits
    15      A. It's been a while since I read what we did,        15   and there's data on risks, and I think the clinician
    16   but I want to say that's one of the tools we             16   does the best they can to balance that, to make sure
    17   educated about as something that could be used by        17   that they're doing right by patients, but ultimately
    18   physicians' offices.                                     18   it's a clinician's decision as to what they
    19      Q. But you just gave that as an example of a          19   prescribe, how they prescribe, and to whom they
    20   highly restrictive measure proposed in Florida.          20   prescribe.
    21      A. No, I didn't.                                      21      Q. In your work at the medical affairs
    22         MR. DAVISON: Objection.                            22   department at Endo, were you trying to influence
    23      A. You're not -- that's not exactly what I            23   clinicians' decisions?
    24   said.                                                    24          MS. VANNI: Objection.
    25      Q. Okay.                                              25      A. No. We were trying to educate and inform.

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     1   My -- yeah.                                                 1 of PA needs state by state. What is this list that
     2      Q. Going back to your résumé, you worked at              2 is attached? I'll just ask you that.
     3   Purdue Pharma from 2003 to 2005, correct?                   3    A. Gosh, it's been a really long time. It
     4      A. I did.                                                4 looks like it was an -- well, I'm reading. It was a
     5      Q. Can you describe for me what you did there?           5 state advocacy status for the northeast territory.
     6      A. Sure. I was the regional manager of                   6 It looks like it was tiered based on states and some
     7   advocacy and I worked in the government affairs and         7 states -- I don't even remember how we tiered them.
     8   advocacy department working on issues related to            8     Q. Was the northeast territory your territory?
     9   pain medicine across the country.                           9     A. It -- well, we had divided it into different
    10      Q. What were the sort of issues related to pain         10   territories, so I helped out across the country,
    11   medicine across the country that you were working on       11   because it was just Pam and I at the time, just the
    12   at that time?                                              12   two of us, so this would have been the northeast
    13         MR. DAVISON: Objection to form.                      13   area.
    14      A. Well, that is when the -- that really                14     Q. So just generally under most of the states
    15   started to be a lot more information coming out on         15   there's meetings with groups, pain initiatives, and
    16   abuse and diversion, but there was also, in efforts        16   then also meetings with individual clinicians. So
    17   to thwart that, there was also some mismanagement,         17   what would those meetings with individual clinicians
    18   undermanagement of pain happening. So it's almost          18   entail, just generally?
    19   the same problems that are happening today. We             19         MS. GONZALEZ: Objection.
    20   still have patients in pain and we have abuse and          20     A. So I was doing advocacy work at the time.
    21   diversion, so trying to find the best ways to combat       21   So it would have been, you know, talking about, you
    22   both. You know, it's no less important today than          22   know, pain management, access issues, you know, were
    23   it was then in 2003.                                       23   people having a hard time getting treatment, were
    24         MS. GAFFNEY: Can we go off the record for a          24   people -- you know, abuse -- what was going on with
    25      minute? I need to find another copy of this             25   diversion and abuse, and just -- I mean, I think any

                                                         Page 135                                                      Page 137
     1     document.                                                 1   topic I can't answer, because I don't -- I didn't --
     2        THE VIDEOGRAPHER: Off the record, 1:34 p.m.            2   I wasn't -- I wasn't very specific on any of this,
     3         (Recess from 1:34 p m. until 1:37 p m.)               3   but that is the kind of topics we would talk about.
     4        THE VIDEOGRAPHER: On the record, 1:37 p m.             4         We were dealing with a lot of, once again,
     5        (Mallinckrodt - Jackson Exhibit 13 was                 5   trying to make sure there was a balance, the
     6   marked for identification.)                                 6   patients had access to pain treatment, but we were
     7        MS. GONZALEZ: I'm sorry, Counsel, what is              7   also addressing abuse and diversion.
     8    the plan for getting copies of this?                       8      Q. What sort of things in 2003 were you doing
     9        MS. GAFFNEY: We can print extra copies                 9   to address abuse and diversion?
    10    or -- I was thinking we could just proceed with           10      A. Supporting educational programs, looking at
    11    the one copy, but we can take an off-the-record           11   risk management. These cancer -- so the state --
    12    break and get extra copies if you want.                   12   there was a National Alliance for Cancer -- oh,
    13        MS. GONZALEZ: That would be great.                    13   for -- it was these pain initiatives. I can't
    14        MS. GAFFNEY: Okay.                                    14   remember the name, I apologize, but it was a cancer
    15        THE VIDEOGRAPHER: Off the record, 1:38 p.m.           15   pain alliance, I think that's what they're called,
    16         (Recess from 1:38 p m. until 1:41 p m.)              16   that ended up being just a pain alliance.
    17        THE VIDEOGRAPHER: On the record, 1:41 p m.            17         And it was out of the University of
    18   BY MS. GAFFNEY:                                            18   Wisconsin, and they would have state-based groups,
    19    Q. So this is an e-mail from 2003 from you to             19   and they were ways for the states to come together
    20   Pamela Bennett?                                            20   as a collaborative and talk about the issues that
    21    A. She was my boss.                                       21   were -- because each state is different -- and to
    22    Q. Got it. So this is a list of PA needs state            22   talk about what issues they wanted to work on. Was
    23   by state, according to your e-mail. Can you explain        23   it access. Sometimes it was access to pain
    24   what that means?                                           24   treatment or appropriate education. Other times it
    25        No, wait. I'm sorry. I do not have a list             25   might be abuse and diversion. At this point in time

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     1   it was people were just starting to get together and     1      Q. All set?
     2   start working together.                                  2      A. Yeah.
     3      Q. Okay. And what does it mean when it says           3      Q. Okay. So in the middle of the page, your
     4   "have mobilized on two issues or no issue                4   e-mail from October 2003 states that you attended
     5   mobilization"? What is the --                            5   the Ohio Compassionate Care Task Force last Friday.
     6      A. So mobilization would have been educating          6         What was your role with respect to the Ohio
     7   people on if there was legislation being done at the     7   Compassionate Care Task Force?
     8   State House, if Medicaid was hosting a hearing on        8         MS. GONZALEZ: Objection.
     9   pain treatment, on letting -- it was really about        9      A. I would have been a participant.
    10   making people aware.                                    10      Q. What did that involve?
    11      Q. Okay. As part of your advocacy work, did          11      A. Attending meetings, weighing in on issues,
    12   Purdue Pharma ever retain agencies to assist with       12   but I -- I actually don't believe I was part of this
    13   that work? You said it was just you and Pamela          13   task force. I believe this was just a task force,
    14   Bennett at the time?                                    14   because it was a legislatively mandated group. All
    15      A. Uh-huh.                                           15   meetings were open to the public. So I wasn't on
    16         MS. GONZALEZ: Objection.                          16   that task force. So to my -- to the best of my
    17      Q. Did Purdue Pharma retain other agencies to        17   recollection, I believe I was just a person in the
    18   do this work with you?                                  18   audience.
    19      A. Not to my knowledge, while I was there. It        19      Q. Okay. What was your motivation for being a
    20   wouldn't be unusual for them to do it, but I can't      20   person in the audience?
    21   recall -- at the time I can't recall that I worked      21         MS. GONZALEZ: Objection.
    22   with anyone to do it.                                   22      A. Because we were working on pain management
    23      Q. Do you remember an agency named Edward            23   issues and this is a group that is looking at end of
    24   Howard & Co.?                                           24   life care and pain management in the state of Ohio.
    25         MR. DAVISON: Objection.                           25      Q. Did Purdue Pharma provide funding to the

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     1     A. I do not.                                           1   Ohio Compassionate Care Task force?
     2     Q. How did your group select the KOLs that you         2     A. No, no. These are state-mandated task force
     3   would work with at this time?                            3   and there's no funding avenue, funding stream, for
     4         MS. GONZALEZ: Objection.                           4   that.
     5     A. Which group are you talking about?                  5     Q. Your e-mail continues to note that there
     6     Q. What was the name of -- you said medical            6   will be another meeting forum with Greg Jewel from
     7   advocacy, or you said government affairs at Purdue?      7   the Board of Workers' Comp. Did you ever interact
     8     A. Oh --                                               8   with Greg Jewel?
     9     Q. I'm getting the employer's names for the            9     A. I don't recall. I may have attended
    10   advocacy groups mixed up.                               10   meetings with him, but I don't -- I don't recall.
    11         MS. GONZALEZ: Objection.                          11     Q. Okay. What sort of contact with the Ohio
    12     A. So I was with the -- so -- advocacy -- I'm         12   Board of Workers' Comp did you have?
    13   sorry. Advocacy was within government affairs,          13         MS. GONZALEZ: Objection.
    14   state government affairs at Purdue.                     14     A. None. None. I attended two -- I attended
    15         We don't select the KOLs. The KOLs are            15   this Ohio task force, and then there was another
    16   decided by the community. They are people who are       16   group that was actually in your last e-mail, the
    17   researchers, speakers. So that's -- key opinion         17   Ohio Pain and Palliative Care Task Force. So there
    18   leaders are people who are key opinion leaders who      18   was -- there was two groups within Ohio that I would
    19   have published. So that decision is not made by us.     19   attend their meetings, but it was just more of a
    20     Q. Okay.                                              20   passive sitting in the audience, listening to what
    21         MS. GAFFNEY: I have more copies of this           21   they were doing on pain management, how they were
    22     one. So here is --                                    22   addressing issues. There was nothing active.
    23         (Mallinckrodt - Jackson Exhibit 14 was            23     Q. Okay. And did you ever interact with
    24   marked for identification.)                             24   Dr. Barbara Edwards from Medicaid mentioned in your
    25   BY MS. GAFFNEY:                                         25   e-mail?

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     1     A. I don't recall. I just know that there                    1     Q. Okay.
     2   was -- I may have passed -- we may have passed --              2     A. But I'm just, basically, reading from this.
     3   crossed paths at these two difference meetings,                3     Q. Sure. It looks from this e-mail that Purdue
     4   because they met monthly or quarterly.                         4   Pharma retained this agency to help identify those
     5     Q. Okay. Did you do any work while you were at               5   experts.
     6   Purdue Pharma related to state coverage or                     6         MS. GONZALEZ: Objection.
     7   reimbursement for opioids in Ohio?                             7     A. That doesn't -- that's not what I would have
     8     A. No. No.                                                   8   gotten from this at all.
     9     Q. And did you do any work related to third                  9     Q. Okay. Please tell me what you would have
    10   party payer reimbursements?                                   10   gotten from it. I mean, it's an e-mail to you in
    11     A. No, that would not have been my area.                    11   your employment --
    12     Q. Okay. So similar question then. Would                    12     A. Yeah.
    13   you -- did you ever meet with any Ohio insurers               13     Q. -- in 2003, which I realize is a long time
    14   about coverage for formulary status?                          14   ago, but I'm trying to understand it, so I would
    15     A. Oh. That's managed care.                                 15   appreciate hearing your understanding of it.
    16     Q. Managed care.                                            16         MS. GONZALEZ: Objection.
    17        Okay, I think we're done with that one.                  17     A. That they -- that they -- an -- they have an
    18        (Mallinckrodt - Jackson Exhibit 15 was                   18   agency retained in Ohio and they offered -- they
    19   marked for identification.)                                   19   suggested a speaker. So I don't know if that was
    20        THE WITNESS: Okay.                                       20   their main role, their only role, or it was just one
    21   BY MS. GAFFNEY:                                               21   of the many things that they did. That's what I'm
    22     Q. All set? Okay. So this is a 2003 e-mail to               22   saying. I don't -- they could have had a very wide
    23   you, and it mentions the company I asked about,               23   berth on responsibilities, or they could have been
    24   Edward Howard & Company. Does this e-mail refresh             24   very narrow. I don't know.
    25   your recollection about that company?                         25     Q. Okay. Do you know anything about the doctor

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     1     A. Not at all. I'm sorry.                                    1 whose name is listed below that paragraph, Eric
     2     Q. Okay. From the text in this e-mail, it                    2 Chevlin?
     3   looks like Purdue has retained Edward Howard &                 3     A. I do not.
     4   Company to identify and screen potential KOLs. Is              4         (Mallinckrodt - Jackson Exhibit 16 was
     5   that your understanding of this?                               5   marked for identification.)
     6         MS. GONZALEZ: Objection.                                 6         THE WITNESS: Okay.
     7     A. That's not something they would have hired a              7   BY MS. GAFFNEY:
     8   firm to do. To be honest, I really am -- this would            8     Q. Okay. Starting in the middle of the first
     9   all be conjecture, because I don't have -- I don't             9   page, it's an e-mail from you in February 2004 to --
    10   recall this issue, I don't recall this e-mail, but            10   Pamela Bennett, you mentioned, is your -- was your
    11   you would -- it sounds like to me that this group             11   boss at this time, correct?
    12   was identifying people. They weren't creating                 12     A. Uh-huh. Yes.
    13   people. They were identifying who was out there               13     Q. Okay. And Dr. Ruth Plant, who is she?
    14   already.                                                      14     A. I don't remember, but it looks like she was
    15     Q. Sure.                                                    15   the director of medical liaisons, according to the
    16     A. So it's a point of clarity, but I don't                  16   e-mail above.
    17   recall this issue.                                            17     Q. Oh, there we go. Okay. And the people on
    18         Yeah, so I'm sorry, I'm not going to be able            18   the CC line, who are they?
    19   to answer that.                                               19     A. Joan Juper worked in advocacy. She was like
    20     Q. Okay. Yeah, it says: This individual is                  20   an assistant. Beverly King, gosh, I don't remember
    21   recommended to us by Edward Howard & Company, the             21   who Beverly was. And Dr. Deanna Finnell was the MSL
    22   agency retained in Ohio on behalf of Purdue Pharma.           22   that was living in Ohio, or she may not be -- she
    23     A. So he may have been a pain management person             23   was my contact. That was who I worked with. I
    24   in his community, well-respected, but wasn't getting          24   can't remember where she was from.
    25   national attention.                                           25         Beverly King. I believe Beverly King was on

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     1   the -- on the advocacy team too. We're going on 15       1     Q. What sort of things would be in the advocacy
     2   years. I'm lucky I can remember anything at this         2   tool kit that you presented?
     3   point. But I think she was on the advocacy team          3     A. Oh, my goodness. It's been a long time. It
     4   too. I know I'm blanking on her, but...                  4   was a thick, thick -- it was actually beautiful. It
     5     Q. Okay. And I know a lot of these questions           5   was one of the things we were actually proud of. It
     6   are reaching memory-wise, but your e-mail describes      6   was about advocating on behalf of your pain, finding
     7   a trip you and your colleague had in Ohio. Can you       7   out different resources for caregivers, resources
     8   generally -- explain what Purdue was doing generally     8   for patients. It was identifying some disease state
     9   in terms of advocacy in Ohio in that time period?        9   resources, like cancer pain and things like that.
    10         MS. GONZALEZ: Objection.                          10         It was a -- it was actually in a binder, and
    11     A. Same thing we were doing in every state.           11   then it was online, and I'm not sure if it's
    12   Meeting with people, trying to understand the           12   available anymore. This has been -- yeah, it was --
    13   issues, what their concerns were. So...                 13   but it was beautiful.
    14     Q. Okay. At the beginning of your e-mail:             14     Q. Aimed towards patients?
    15   Joan, these advocates have been vetted.                 15     A. Patients and caregivers.
    16         What does that mean?                              16     Q. And what sort of clinical questions would a
    17     A. Vetted means that I met with them and they         17   medical science liaison be able to answer in a
    18   have expressed interest in being an -- in doing         18   meeting like this?
    19   advocacy outreach, education.                           19         MS. GONZALEZ: Objection.
    20     Q. Okay. And what does it mean for someone to         20     A. They can answer -- they have a lot more
    21   become an advocate the way it's used here?              21   latitude to answer questions from a physician
    22         MS. GONZALEZ: Objection.                          22   because of their science background, so anything --
    23     A. Nothing. Just somebody who wants to --             23   I mean, really, it was really about scientific
    24   wants to speak out, it could have been on any issues    24   discussions and could range from -- could be a broad
    25   related to pain management, but that is more than       25   range of topics.

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     1   just wanting to be a clinician. They wanted to           1      Q. Would a medical science liaison be able to
     2   maybe write an article, speak at a conference, which     2   inform a clinician that the evidence indicates that
     3   is noted throughout here that people had different       3   opioids can be eliminated for the treatment of
     4   interests. So advocacy means just speaking on            4   chronic low back pain and headaches?
     5   behalf of someone else.                                  5         MS. GONZALEZ: Objection.
     6     Q. Right. Okay. You said: I'm forwarding the           6         MR. DAVISON: Objection to form.
     7   complete addresses for IMT.                              7      A. I -- they could, but I'm not sure they would
     8         Do you remember what IMT is?                       8   if they didn't have the data, the -- if they didn't
     9     A. I don't, no.                                        9   have all the resources. I mean, you know, I think
    10     Q. So your e-mail says: Yesterday we met with         10   you have to be really careful about making any
    11   clinicians in the Dayton area. While I was able to      11   statements unless you have the science to back them
    12   talk about advocacy and present the advocacy tool       12   up, and so -- because we're very evidence-based in
    13   kit, Deanna was able to answer the clinical             13   discussions and -- so I, you know, I think -- I
    14   questions that arose, as well as provide invaluable     14   don't go into detail about that in this e-mail, so I
    15   resources for their professional practice, as well      15   don't actually know what was discussed, but...
    16   as for their roles as educators.                        16      Q. But if a medical science liaison did have
    17         And Deanna, you explained, was one of the         17   all of the evidence to back up a statement like
    18   medical science liaisons?                               18   that, the medical science liaison could inform
    19     A. Yes.                                               19   clinicians of the evidence?
    20     Q. So in what you've described, a manufacturer,       20         MR. DAVISON: Objection.
    21   Purdue, is disseminating scientific information         21         MS. GONZALEZ: Objection.
    22   within the clinical practice to a healthcare            22      A. Well, I think it would depend on the
    23   provider; is that correct?                              23   conversation that they were having, and what was
    24         MS. GONZALEZ: Objection.                          24   appropriate, and what was being asked, and how the
    25     A. Yes.                                               25   information was delivered. But, you know, once

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     1   again, you have to be careful, because you don't             1     Q. It says that you suggested him as a panel
     2   want to -- you know, just like we would not --               2   member to Christina Thompson, coordinator for a CPI
     3   nobody -- when I was at MSL, I would never have              3   national meeting.
     4   said, Oh, I heard this was good for this or this was         4         Did you or others at Purdue correspond with
     5   good for that in terms of just hearsay, or even if           5   Dr. Cox after this e-mail and after recommending him
     6   it was panel discussion. You always have to wait             6   as a panel member to Christina Thompson?
     7   for this information to be vetted and then discuss           7         MS. GONZALEZ: Objection.
     8   how it would be best presented.                              8     A. I cannot recall -- I don't remember that,
     9         So, you know, could they speak about it? I             9   but I can tell you it wouldn't -- I would have had
    10   don't think it -- I don't think they couldn't, but I        10   nothing -- no input into what he said or what he was
    11   don't know if they would if it was not the topic, if        11   presenting. If I found people who I thought were
    12   it didn't come up in conversation.                          12   dynamic and good speakers and had a good background,
    13      Q. Was there ever a time in your work in                 13   I would share them with my advocates across if they
    14   advocacy for any of these companies when you would          14   were looking for speakers for different conferences,
    15   share panel publications with clinicians?                   15   but that would be the extent of it. I don't recall
    16         MR. DAVISON: Objection to form.                       16   ever talking to Dr. Cox again, or Cathy Tram, or
    17      A. No. We were always very careful, because              17   Dr. Thomas, any of those.
    18   we -- I could certainly --                                  18         MR. DAVISON: So we've been going a little
    19         THE WITNESS: God bless you.                           19     over an hour and both my realtime screens are now
    20      A. I could -- I would send links if they were            20     down, so --
    21   in the public domain, but I would be very careful           21         MS. GAFFNEY: Yeah, mine just went down too.
    22   about what I was sending, because I didn't want             22         MR. DAVISON: If we could just break.
    23   anyone as a -- as a spokesperson -- as somebody who         23         THE WITNESS: Can we take a break? I do
    24   represents Endo or Purdue, and now Mallinckrodt, I          24     need a break.
    25   have to be careful about I don't want anyone to get         25         THE VIDEOGRAPHER: Off the record, 2:12 p.m.

                                                       Page 151                                                            Page 153
     1   the assumption that these are our materials or that          1         (Recess from 2:12 p m. until 2:26 p m.)
     2   they're being misrepresented or I am trying to place         2        THE VIDEOGRAPHER: On the record, 2:26 p m.
     3   them in a different category of importance.                  3   BY MS. GAFFNEY:
     4         So I'm very careful about what I send out,             4     Q. Okay. We're still looking at this e-mail
     5   and I will educate people if something is out, but           5   description, the clinicians you met with in Ohio in
     6   it's usually just a link or, you know, and I don't           6   2004.
     7   make claims or I don't pull pieces out of that,              7     A. Okay.
     8   because that would be inappropriate and                      8     Q. What do you recall about Cathy Tram?
     9   irresponsible.                                               9     A. Nothing.
    10      Q. But you might share links to significant              10     Q. And how about Dr. Thomas?
    11   panel guidelines or something like that?                    11     A. The same.
    12         MS. GONZALEZ: Objection.                              12     Q. So your e-mail description of the meeting
    13      A. Or if there was public testimony, things              13   with Dr. Thomas describes him as an addiction
    14   like public testimony. I don't generally do                 14   specialist and family practitioner, the only
    15   guidelines, because that would be some information          15   addictionologist in the area that speaks nationally
    16   that should really be coming out of our medical,            16   on the topic. He uses a phrase that we really
    17   because they should -- they need to review things           17   liked, quote, diversion of the well-intentioned
    18   first. I mean, I do advocacy, so I always wait to           18   script, end quote, to describe the majority of
    19   talk to our team to make sure it's aligned.                 19   problems regarding abuse and diversion of
    20      Q. So in this e-mail you describe a few                  20   prescription opiates.
    21   different clinicians and pharmacists. The first             21        What did you like about that phrase?
    22   one, Dr. Joshua Cox, is a pharmacist who runs a pain        22        MR. DAVISON: Objection to form.
    23   management program at Good Samaritan. Do you                23     A. I can't remember what I was thinking at the
    24   recall Dr. Joshua Cox?                                      24   time, but I think what it speaks to is that the
    25      A. I do not.                                             25   scrip was meant for a patient in pain, and to treat

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     1   pain it was diverted. So it was diverted from a          1   were present at the meeting and those who were
     2   well-intentioned scrip.                                  2   absent. Was this a group that met regularly, do you
     3     Q. It says that Deanna presented the animation         3   recall?
     4   UTD slide set and addiction assessment.                  4     A. I don't recall. I'm sorry. I don't.
     5         Do you remember any of those materials?            5     Q. You can see it looks like one of the people
     6     A. I don't.                                            6   present at this meeting is from the agency Edward
     7     Q. Do you remember if they were given out              7   Howard & Co.?
     8   broadly at meetings with clinicians in Ohio and          8     A. Yeah, and I don't -- her name doesn't ring a
     9   elsewhere?                                               9   bell. Her name -- yeah, it's been too long, I do
    10         MS. GONZALEZ: Objection.                          10   not remember her.
    11     A. No.                                                11     Q. Okay. Does this refresh your recollection
    12     Q. Okay. Do you remember if as part of your           12   of what Edward Howard & Company was retained by
    13   advocacy in Ohio you did any work around the Ohio       13   Purdue to do?
    14   Intractable Pain Care Act?                              14         MS. GONZALEZ: Objection.
    15         MS. GONZALEZ: Objection.                          15     A. No. No. Yeah, I do know Purdue was -- we
    16     A. No, I do not remember.                             16   were using state -- we had our government affairs
    17     Q. Do you remember if Purdue's advocacy               17   person, so he -- they may have been working with him
    18   included working toward the passage of Intractable      18   closely. I honestly don't remember. It's not
    19   Pain Care Acts at the state level?                      19   somebody I must have worked closely with, because I
    20         MS. GONZALEZ: Objection.                          20   don't remember.
    21     A. I don't recall.                                    21     Q. What was the goal of the Ohio Advocacy
    22     Q. And your team within advocacy was just on          22   Strategic State Plan?
    23   state initiatives, right, not federal, just             23         MR. DAVISON: Objection.
    24   state-wide initiatives?                                 24     A. Well, considering I don't remember it, I'm
    25         MS. GONZALEZ: Objection.                          25   not quite sure what the goal was, but I think the

                                                      Page 155                                                      Page 157
     1      A. We worked on both.                                 1   goal of any group would be to assess the situation
     2      Q. Oh, you worked on both?                            2   going on in the state and -- and discuss tactics to
     3      A. But I was -- I was responsible for state.          3   how -- if there was problems or questions or how to
     4      Q. Did Purdue play a role in the Ohio Pain            4   work collaboratively. But, once again, I don't --
     5   Initiative?                                              5   my recall is totally off on this one.
     6         MS. GONZALEZ: Objection.                           6     Q. Okay. The bottom heading, Alliance
     7      A. Define "role," because, I mean, we                 7   Development and Advocacy Update --
     8   participated in their meetings, but that would be        8     A. Uh-huh.
     9   the extent.                                              9     Q. -- there's multiple mentions of a survey?
    10      Q. Okay. What did that participation in the          10        MS. GONZALEZ: Objection.
    11   meetings involve?                                       11     Q. Do you recall working on a survey with these
    12         MS. GONZALEZ: Objection.                          12   organizations at that time?
    13      A. Showing up. But I was responsible for many,       13        MS. GONZALEZ: Objection.
    14   many states, so it wouldn't have been every meeting.    14     A. I really don't.
    15   It was when I could.                                    15     Q. So, again, on the back, Action Items, Number
    16      Q. This is another document from -- this one is      16   3: Maryland will continue to assist the OHPCO and
    17   from 2005.                                              17   the OPI.
    18         (Mallinckrodt - Jackson Exhibit 17 was            18        And those acronyms, just for the record,
    19   marked for identification.)                             19   appear to be the Ohio Hospice and Palliative Care
    20         THE WITNESS: Okay.                                20   Organization and the Ohio Pain Initiative, correct?
    21   BY MS. GAFFNEY:                                         21     A. Yes.
    22      Q. Okay. So this is an e-mail from March 2005        22     Q. Okay. Will continue to assess them with the
    23   that you sent. At meeting notes. The subject is         23   development of the pain survey and develop a media
    24   Ohio Advocacy Strategic State Plan Meeting Notes.       24   plan for publicizing the results.
    25         And you list the people attending -- who          25        And just going back, flipping back to this

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     1   top of this e-mail, Marilyn was the person from the       1     A. Well, I would say that it's definitely an
     2   agency Edward Howard & Company; is that correct?          2   issue that was discussed and I, you know, I think it
     3         MS. GONZALEZ: Objection.                            3   was something that we were hypervigilant about, so
     4     A. That's what this says.                               4   we were going to catch every story.
     5     Q. Okay.                                                5     Q. But at that point it was known and it was in
     6     A. I don't know her.                                    6   the news that addiction and abuse was a problem in
     7     Q. Okay. Do you have any recollection of                7   Ohio and elsewhere?
     8   Purdue's role in assisting with this survey?              8     A. Yeah, it was a national.
     9         MS. GONZALEZ: Objection.                            9     Q. Is that another named -- do you recall the
    10     A. I do not.                                           10   name Gladstone McDowell?
    11     Q. Bullet Point Number 4: Catherine and Deanna         11     A. No. I'm sorry, I do not.
    12   will attend the OPI meeting and identify advocates       12     Q. I know, it's a long time ago.
    13   in key areas.                                            13     A. It was. I'm lucky if I remember last week,
    14         And then 5: Deanna and Catherine will work         14   so I am -- yeah, sorry.
    15   at identifying advocates in Cleveland.                   15     Q. No problem. Just going back through. Okay.
    16         How would you go about identifying                 16   Okay. That's good for that document.
    17   advocates?                                               17     A. Okay. Thank you.
    18     A. Finding out people who are speaking out on          18         (Mallinckrodt - Jackson Exhibit 18 was
    19   issues, people who were involved with the Ohio Pain      19   marked for identification.)
    20   Initiative or the Palliative Care, people who are        20         MS. GAFFNEY: Here's another copy. One
    21   doing advocacy work, you know, any work additional       21     more.
    22   to what their clinical focus is.                         22         THE WITNESS: Okay.
    23     Q. And what would you be looking for in                23   BY MS. GAFFNEY:
    24   advocates?                                               24     Q. Okay. This is an e-mail and article that
    25     A. People willing to work with Purdue, people          25   you forwarded in 2004. It looks like a local news
                                                      Page 159                                                       Page 161
     1   who are balanced, who are -- have -- understand the       1   story from West Virginia in 2004. Is that --
     2   issues. It depends on what we were looking for. If        2     A. I didn't forward it. It was forwarded to me
     3   we wanted someone to speak at a patient conference,       3   by --
     4   were they good with patients, did they have an            4     Q. Oh, I'm sorry.
     5   interest in that. If they were speaking about             5     A. -- that's okay -- Brian Rosen, one of our
     6   palliative care, do they have -- are they a               6   government affairs person.
     7   knowledge expert in that area. It just depended.          7     Q. Okay. And your comment is: This article is
     8     Q. So at the top there's a media update. Media          8   interesting, especially in light that many people
     9   Focus in 2004. It appears from this that one role         9   are claiming that methadone is a panacea for, quote,
    10   that the agency Edward Howard & Company was to           10   addicted patients.
    11   analyze media stories and provide this update to         11         Why did you put the word "addicted" in
    12   Purdue?                                                  12   quotes there?
    13         MS. GONZALEZ: Objection.                           13         MR. DAVISON: Objection.
    14     Q. Would that be fair to state, based on this          14     A. Oh, God, this is so long ago. I'm trying to
    15   e-mail?                                                  15   find that quote, actually, where he -- why would I
    16         MS. GONZALEZ: Objection.                           16   put it in quotes? I don't know what I was thinking
    17     A. Yeah, they could have been a PR firm. They          17   at the time. It was a long time.
    18   could have been a lobbying. I honestly have no           18         Oh, because in some of his comments in the
    19   idea. It's no -- yeah.                                   19   beginning he talked about that he was going through
    20     Q. Okay. Quite a lot of stories about                  20   withdrawal, and so from opioids, so that's a
    21   diversion and abuse in 2004. 813.                        21   physical -- that's a physical, so I think I was --
    22         MS. GONZALEZ: Objection.                           22   just wanted to make sure that people -- people
    23     Q. Would you agree that it was -- the problem          23   under -- you know, were noting that addicted is
    24   of diversion and abuse was already widespread in         24   addicted.
    25   2004?                                                    25         MS. GONZALEZ: I'm sorry. Could we go off

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     1     the record just to fix the realtime? Is there                 1   inappropriate use.
     2     anything we can do to --                                      2         And so that is what constituted my
     3        THE VIDEOGRAPHER: Off the record, 2:46 p m.                3   paragraph. I may have used not the best languages
     4         (Recess from 2:46 p.m. until 2:47 p.m.)                   4   and the best things, but that was what my concern
     5        THE VIDEOGRAPHER: On the record, 2:47 p.m.)                5   was when I said that this was a bit of a
     6        THE WITNESS: I want to make a correction.                  6   contradiction.
     7     I honestly don't know why I put that in                       7      Q. Okay. Did you ever hear or become aware of
     8     quotations. It's been many years ago, so I'm not              8   the perception that if a drug is prescribed by a
     9     sure why I put the word "addicted" in quotations              9   doctor and approved by the FDA it is not as
    10     on this one.                                                 10   dangerous as one on the street --
    11   BY MS. GAFFNEY:                                                11         MR. DAVISON: Objection.
    12     Q. Okay. And you were explaining that                        12      Q. -- such as heroin?
    13   experiencing withdrawal doesn't necessarily mean               13         MR. DAVISON: Objection.
    14   addiction, if I understood you correctly?                      14      A. Did I -- can you repeat the question?
    15     A. Yes.                                                      15      Q. At any point did you become aware of the
    16     Q. Can you explain the difference between                    16   perception that people might hold that when a drug
    17   dependence and addiction?                                      17   is prescribed by a doctor or approved by the FDA
    18     A. Addiction is a psychological and                          18   it's not as dangerous as a drug that is sold outside
    19   physiological problem with medication, not just                19   of that arena --
    20   opioids, but other medication, and tolerance is --             20         MR. DAVISON: Objection.
    21   well, physical dependence is when you're taking a              21      Q. -- such as heroin?
    22   medication or a drug, like caffeine, for a period of           22         MR. DAVISON: Objection.
    23   time and then you -- your body becomes used to it,             23      A. I do believe that's a misconception that the
    24   and then if you stopped it suddenly, you could go              24   public has. I've always felt that way, yeah.
    25   through signs of what we call withdrawal. That's               25      Q. Thinking that it -- it's safer just because
                                                             Page 163                                                        Page 165
     1 why people get jittery when they stop drinking                    1   it's sold within a legal medical sphere?
     2 coffee after a while.                                             2         MR. DAVISON: Objection.
     3       And then tolerance is a concept that you've                 3      A. I think that many people do not understand
     4 been taking medication for a while at a certain dose              4   how dangerous some drugs are and how important it is
     5 and it's been effective and all the sudden it stops               5   for a physician -- to have healthcare provider
     6 becoming effective. It may be that your body just                 6   oversight when prescribing them.
     7 requires just a little bit higher dose because it's               7      Q. Is it your understanding that if you were to
     8 become tolerant to that particular dose.                          8   equate the strengths, that heroin and pure oxycodone
     9        So those are those three terms.                            9   would be equally addictive?
    10     Q. So just from reading about his withdrawal                 10         MR. DAVISON: Objection.
    11   symptoms, you had some doubts about whether he would           11      A. I don't have that kind of knowledge.
    12   be considered addicted?                                        12      Q. Okay. Based on the clinical knowledge that
    13        MR. DAVISON: Objection.                                   13   you do have, do you have any reason to expect that
    14        MS. GONZALEZ: Objection.                                  14   they would be different --
    15     A. When I read what I wrote, I have problems                 15         MR. DAVISON: Objection.
    16   with this story, because in the second paragraph, "A           16      Q. -- with respect to addiction rates?
    17   naive Traviss Barker swallowed what he thought was a           17      A. Oh, with respect -- yes, I would -- I
    18   harmless prescription pill, just 20 milligrams of a            18   would -- heroin is Schedule I, totally illegal.
    19   popular pain killer. He was told that day about                19   Anyone who is taking it is absolutely abusing it. I
    20   four years ago it would produce a satisfying                   20   would say the rates would -- I would think would be
    21   euphoria and banish his worries," so, to me, he was            21   lower for an opioid because they're usually
    22   not taking it for pain medicine, and that changes              22   prescribed by a clinician, although I know there is
    23   the story completely, because we were fighting to              23   diversion.
    24   make sure that the products that we manufactured               24         But if you were -- you asked me to compare
    25   were used appropriately, and, to me, that is                   25   the two, that's how I feel. I feel that -- my

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     1   thoughts would be that it would be lower for opioids        1   different reason than the majority of people who are
     2   because they are prescribed under the direction of a        2   taking an opioid.
     3   physician, if they are used appropriately.                  3      Q. Right. But heroin -- is it correct that a
     4      Q. Heroin is an opioid, correct?                         4   heroin is a semisynthetic derivative of an opium
     5      A. Yes. But it's a Schedule I, and it's not              5   alkaloid just the same as oxycodone is a
     6   prescribed. So it's not -- you have to get it on            6   semisynthetic derivative of an opioid alkaloid?
     7   the streets, and it's -- I would think it's not as          7         MR. DAVISON: Objection.
     8   readily available as things that are in pharmacies.         8      A. They both bind to same receptors, and they
     9   That would be my assumption.                                9   both have -- can cause addiction. There's no
    10         I have never come across heroin in my entire         10   question.
    11   life, so I do not travel in those kinds of circles,        11      Q. They both are derived from the same plant?
    12   and maybe it's more readily available, but that            12      A. Yes, the poppy plant.
    13   would be my answer.                                        13      Q. Would you ever take heroin every day for low
    14      Q. So what does it being Schedule I versus              14   back pain?
    15   Schedule II have to do with the rate of -- the risk        15         MR. DAVISON: Objection.
    16   of addiction, potential addiction?                         16      A. No. I'm a law abiding citizen, so I
    17         MR. DAVISON: Objection.                              17   wouldn't take any illicit drugs.
    18      A. Well, it's not about the risk of addiction.          18      Q. But when heroin was a prescription drug, if
    19   You were asking me do I think that the rates of            19   it had been prescribed to you for low pain, you
    20   addiction are higher in one than the other. And I          20   might have taken it then?
    21   say that I would think that something would -- it          21         MR. DAVISON: Objection.
    22   would be higher rates of addiction of an illegal           22      A. That's just conjecture. I -- you know, if
    23   substance than it would be of a legal substance,           23   it was an FDA-approved treatment for pain, and I
    24   because a --                                               24   felt like that my physician and I together felt like
    25      Q. Why?                                                 25   that was the best treatment for me, yes, I would
                                                         Page 167                                                   Page 169
     1      A. -- because a legal substance should be                1 have taken it.
     2   monitored by a physician if it's given                      2         MS. GAFFNEY: Take, like, a five-, 10-minute
     3   appropriately. Now, if it's diverted, then it               3     break?
     4   all -- everything changes, and it becomes a little          4         THE WITNESS: Sure.
     5   bit less clear. But if you're looking at heroin             5         THE VIDEOGRAPHER: Off the record, 2:57 p.m.
     6   versus OxyContin or oxycodone or any of the Schedule        6        (Recess from 2:57 p m. until 3:10 p m.)
     7   II drugs, they -- the goal of those are for                 7         THE VIDEOGRAPHER: On the record, 3:10 p m.
     8   medicinal purposes, which is why they were given            8   BY MS. GAFFNEY:
     9   Schedule IIs. And they are -- have oversight when           9     Q. Okay. Going back to earlier in the day, I
    10   they're prescribed, if they're prescribed                  10   believe you said that Art Morelli was one of the
    11   appropriately and used appropriately, so --                11   people who started CARES Alliance; is that correct?
    12      Q. But is there any difference in terms of the          12     A. Yes.
    13   molecular composition and binding to receptors in          13     Q. And there was one other person working with
    14   the human brain for which you would expect heroin          14   him that started it?
    15   and oxycodone or oxymorphone to have different             15     A. Lisa Saki.
    16   addiction rates?                                           16     Q. That's right. Okay. Did you overlap with
    17      A. Yeah.                                                17   Art Morelli at all at Mallinckrodt?
    18         MR. DAVISON: Objection.                              18     A. No.
    19      A. No. I don't know the statistics for                  19     Q. Okay. And does CARES Alliance still exist
    20   everything on terms of how binding heroin versus how       20   at Mallinckrodt?
    21   binding a drug like hydrocodone was. But, yeah,            21     A. No.
    22   that doesn't matter. It's not about the bind --            22     Q. Okay. Why does it no longer exist?
    23   it's not the binding. I just say how much drug is          23         MR. DAVISON: Objection to form.
    24   out in the -- available. And if you're going to            24     A. It was decided in 2015 -- actually,
    25   take heroin, you are definitely taking it for a            25   really -- yeah, 2015, I would say, it was decided

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     1   that the resources -- we were working -- we had a           1     Q. So can you explain what the turnover in
     2   couple of different things going on. And so we felt         2   staff and loss of internal support was with respect
     3   like it was better that our resources be spent in           3   to CARES Alliance?
     4   the Medsaway pouches which we thought were a great          4         MR. DAVISON: Objection to form.
     5   solution for disposing of medications.                      5     A. The turnover in staff meant from right
     6         We also -- Kevin had been working with the            6   before Gena and I were hired, they -- four people
     7   Alliance for Balanced Pain Management, and so it was        7   left, and they were all on the CARES Alliance, and
     8   decided that the resources would be better spent in         8   so that's the turnover in staff.
     9   that direction than CARES.                                  9     Q. Okay.
    10     Q. Okay. And what was the Alliance for                   10     A. So my manager called me a week before I took
    11   Balanced Pain Management?                                  11   the job and told me she was leaving the company. So
    12     A. So it was an alliance of organizations                12   she was the last person with any historical
    13   coming together to talk about pain management and          13   knowledge of CARES. And so when I came in, that was
    14   other aspects of it, not just opioids --                   14   with the turnover of staff and loss of internal
    15     Q. Okay.                                                 15   support, so we didn't have a team. It was just Gena
    16     A. -- to look at it across the pain continuums           16   and myself.
    17   and make sure that -- that there were other factors        17     Q. Who were the four people who left the CARES
    18   being talked about, such as physical therapy, such         18   Alliance?
    19   as psychological care, all the -- you know,                19     A. So it was Lisa Saki, Leah -- I can't
    20   everything else, all the other components.                 20   remember Leah's last name, and there's two other
    21     Q. Okay.                                                 21   people that left the previous -- so I -- this
    22            (Discussion off the record.)                      22   would -- I would have been -- that would have been
    23         (Mallinckrodt - Jackson Exhibit 19 was               23   April -- March, April of 2014, and they left before.
    24   marked for identification.)                                24     Q. Okay.
    25   BY MS. GAFFNEY:                                            25     A. But Lisa left when I was there, within two

                                                      Page 171                                                         Page 173
     1     A. Okay.                                                  1   weeks. Leah left at, like, Christmastime before I
     2     Q. Okay. So this is an e-mail from 2014, in               2   got there, and then the other two people had left
     3   September. Gena Holthaus, is that --                        3   before then.
     4     A. Uh-huh.                                                4     Q. Okay. What department were they in?
     5     Q. Okay -- has sent you a PowerPoint. It says:            5     A. Medical affairs.
     6   Let me know what you think. The CARES Alliance              6     Q. And how about the loss of internal support,
     7   Redesign Overview.                                          7   what does that refer to?
     8         So on the second slide: Where have we been?           8     A. That's just --
     9   Market landscape in 2010. Prescription drug abuse           9         MR. DAVISON: Objection.
    10   on the rise, increasing societal burden, and also          10     A. -- just means that we didn't have a team.
    11   the launch of Exalgo at the same time.                     11   We also didn't have -- we were under the medical
    12         This is the time frame we were talking about         12   director, but we really -- that wasn't really a
    13   earlier in the day, when CARES Alliance was started        13   place for us because he was -- he had a lot of
    14   at Mallinckrodt, correct?                                  14   groups that were under him. So we didn't really
    15         MR. DAVISON: Objection.                              15   have anybody to throw out ideas with, and so it was
    16     A. Exactly.                                              16   just internal stuff that we were working through as
    17     Q. And then the next slide: Where are we now             17   a team.
    18   in 2014? Prescription drug abuse at epidemic               18     Q. Okay. And then the bullet point,
    19   levels. Stigma with opioid prescribing and opioid          19   conflicting messages from government affairs
    20   use. Classified ER/LA REMS.                                20   advocacy, what were those conflicting messages?
    21         Then and under CARES Alliance: Turnover in           21     A. So that is --
    22   staff and loss of internal support.                        22         MR. DAVISON: Objection.
    23         And this was in September, and you started           23     A. That's really about internal -- the way that
    24   in April 2014?                                             24   they had situated. So I got hired in medical
    25     A. Yes.                                                  25   affairs; however, there was also an advocacy

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     1 component in our government affairs department. And         1   sure -- but the risk factors stay the same because
     2 so that was -- we weren't really working in                 2   many people who have gotten into trouble with
     3 alignment.                                                  3   addiction, many actually, have gotten through acute
     4         But this is when I first got there, and I           4   pain, getting medicated through acute pain. And
     5   think there was -- it just wasn't as smooth as it         5   nobody was monitoring them and watching them.
     6   could be. And so we just wanted to make sure --           6         And so we wanted to make sure that people
     7   which is why I ended up moving over to -- Gena and I      7   understood that the risks are not just with chronic
     8   both moved over to government affairs so that we          8   pain, but also with acute pain.
     9   could be one voice, because it made more sense for        9         In addition, because most times most
    10   the company. So conflicting being who is the             10   people -- the majority of people who take pain
    11   primary contact for this organization, something to      11   medicines for acute pain conditions do not take all
    12   that effect.                                             12   their medications because it's taken PRN, as needed,
    13     Q. Okay. So when you and Gena moved over to            13   people often have medications in their household due
    14   government affairs advocacy, was there still a           14   to acute pain.
    15   medical advocacy group?                                  15         So you might have, like, a prescription of
    16     A. No.                                                 16   hydrocodone because you got your wisdom teeth taken
    17     Q. Okay. So going off of these slides, it              17   out. Well, these drugs sit in your house and could
    18   looks like the new vision for the CARES Alliance is      18   be diverted in a number of ways. So we wanted to
    19   something called the Responsible Pain Care Campaign?     19   make sure that people understood that these drugs
    20     A. Uh-huh.                                             20   need to be disposed of appropriately and not held to
    21     Q. Can you tell me about that?                         21   when you're having pain again, which happens.
    22     A. It was just our idea of moving CARES to the         22         And so we wanted to make sure the public
    23   next level. One thing was, as a company, we were         23   understood the importance of appropriate disposal of
    24   moving into the acute pain area. And so we wanted        24   medications and the risks associated with keeping
    25   to make sure we were addressing issues related to        25   those medications around.

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     1 acute pain, both in appropriate use prescribing and         1     Q. So some similar issues, but broadened to
     2 risk factors with that, and also wanted to highlight        2   acute pain specific --
     3 some of the acetaminophen advocacy in terms of              3     A. Sure.
     4 educating people about having too much -- taking too        4     Q. -- situations?
     5 much acetaminophen, because it's in so many                 5         MR. DAVISON: Objection.
     6 different products we have over the counter.                6     Q. You stated that the risk factors stay the
     7         And so it was a -- it was a -- more of a            7   same because many people who have gotten into
     8   broader based campaign, but it was responsible pain       8   trouble with addiction, many have gotten from acute
     9   care, and it was responsible on the side of the           9   pain.
    10   clinicians, patients, caregivers.                        10     A. Uh-huh.
    11     Q. You mentioned addressing areas related more         11     Q. How did you know that -- do you know that,
    12   to acute pain, rather than chronic pain. Can you         12   or how did you become aware of that?
    13   explain the difference from the medical point of         13     A. From the -- from what I've read and the
    14   view based on your medical knowledge and experience?     14   stories that I've read and especially with the
    15     A. Sure.                                               15   youth, because they don't have chronic pain. It's
    16         MR. DAVISON: Objection.                            16   usually due to a short-acting medication, so --
    17     A. And I wouldn't say it was instead of. It            17     Q. What kind of stories that you've read?
    18   was in addition to --                                    18         MR. DAVISON: Objection.
    19     Q. Okay.                                               19     A. Through the course of my career, in Florida,
    20     A. -- just to clarify. So with acute pain, you         20   when you were talking about Florida, headlines, kids
    21   have people on these medications for short periods       21   getting addicted. I did some work with the
    22   of time due to acute, usually temporary situations.      22   Hillsborough Substance Abuse Coalition. I don't
    23   So it might be a broken leg, might be a cut, might       23   remember any of the names of any of these
    24   be a wisdom tooth taken out.                             24   organizations, but -- and they would share these
    25         So there is -- you know, we want to make           25   stories oftentimes, that people were getting into

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     1   trouble after having acute pain.                             1   a moment ago that it depends on the person. But I'm
     2         Most chronic pain patients are followed by a           2   trying to understand how you know that someone has
     3   chronic pain clinician, and so it's a different --           3   gotten into trouble with addiction with a
     4   acute pain is -- acute pain being ubiquitous,                4   short-term, 30 day or less prescription.
     5   everyone treats it, and anyone could treat it from           5         What would make something be addiction and
     6   dentist to chiropractor to your daily practitioner.          6   not dependence in that scenario, in your
     7     Q. Let's see. When people have these                       7   understanding of it?
     8   medications for acute pain, and maybe they have more         8         MR. DAVISON: Objection.
     9   pills prescribed than they need, but we're still             9      A. In acute pain? It's rare that you would
    10   talking about maybe 30 pills, maybe 60 pills?               10   have physical -- unless you were really taking it
    11     A. Uh-huh.                                                11   around the clock, every day, same amount of pills,
    12         MR. DAVISON: Objection.                               12   same interval. It's really individualized.
    13     A. It depends on the prescription.                        13         You can't -- I can't -- of everybody sitting
    14     Q. Sure.                                                  14   here in this room, I couldn't tell you who, if I
    15     A. It's all over the place.                               15   gave an opioid to, would get a -- have problems with
    16     Q. You said a lot of people are getting into              16   it and who wouldn't. I would have to know your
    17   trouble with addiction from these acute pain                17   background and your history and have you had
    18   prescriptions. So is it possible to get into                18   problems.
    19   trouble with addiction from a prescription of 30            19         So addiction is -- and misuse is just really
    20   pills?                                                      20   individualized. It's very hard to generalize it to
    21         MR. DAVISON: Objection.                               21   any -- any big group of people. That's why it's so
    22     A. It's not that simple. It's not about the               22   difficult to treat.
    23   number of pills. It's not even about the type of            23      Q. Is it possible for someone who doesn't have
    24   pill. It's really about the person, their risks,            24   any of those risk factors to become addicted from
    25   their history, why they start taking pills, what            25   taking opioids as prescribed?

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     1   they're doing with them. Are they taking them                1         MR. DAVISON: Objection to form.
     2   appropriately? Are they stopped taking them for              2      A. I would say it's probably possible, yeah,
     3   pain and all the sudden taking them for the way they         3   probably rare, but I would think it's possible.
     4   make them feel?                                              4      Q. But in terms of developing dependence, you
     5         So there's no simple answer. It's not about            5   said that it's taking it around the clock that
     6   the numbers or even which type of drug. It really            6   really leads to dependence; is that correct?
     7   is so individualized, which is why addiction is so           7      A. Yeah.
     8   hard to treat and has been with us since the                 8         MR. DAVISON: Objection.
     9   beginning of time, because it's just very hard to            9      A. And not everyone has that, but if you're
    10   pinpoint all the risk factors.                              10   taking a medicine continually, an opioid, and have
    11     Q. You had described earlier the difference               11   been consistent with it, and sometimes if you stop
    12   between dependence and addiction and a description          12   it, you might feel jittery and shaky. And you may
    13   of a person's withdrawal symptoms in a news article         13   think you're addicted, but the truth is you just
    14   not necessarily indicating addiction to you.                14   need to slow down the taking of and then be fine.
    15         MS. GONZALEZ: Objection.                              15   You would have no problem at all.
    16         MR. DAVISON: Objection.                               16      Q. In your understanding, it's easy to taper
    17     Q. Is that what you described earlier?                    17   off opioids?
    18         MR. DAVISON: Objection.                               18         MR. DAVISON: Objection.
    19     A. Yes, when that person said he was shaking              19      A. It's all individualized. Some people have a
    20   and --                                                      20   very -- yes. Some people have a very easy time, and
    21     Q. Uh-huh.                                                21   some people, it's much harder.
    22     A. -- that -- it could possibly be clinically             22      Q. Okay. But if you slow down the taking, you
    23   physical -- a reaction to stopping the medications.         23   have no problem at all?
    24     Q. Okay. And then in the context of acute pain            24         MR. DAVISON: Objection.
    25   and these short-term prescriptions, I know you said         25      A. I -- it's all individualized. You're asking

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     1 me for generalizations, and I'm sorry, I can't give          1   they come out, then they are not, obviously, and
     2 them to you.                                                 2   then they go through withdrawal.
     3     Q. How much might you need to slow it down?              3     Q. And that's because the mother was taking
     4         MR. DAVISON: Objection.                              4   opioids while pregnant; is that right?
     5     A. There's recommendations of 25 percent over            5        MR. DAVISON: Objection.
     6   every three days, going down 20 percent. Some              6     A. Yes.
     7   people will do 50 percent. It's up to the clinician        7     Q. Okay. Have you ever treated or been
     8   and the patient, and it really is individualized.          8   involved in treating NAS?
     9         MS. GAFFNEY: Okay. I don't have any more             9     A. No.
    10     questions.                                              10     Q. And does it matter -- do you -- to your
    11         THE WITNESS: Oh, all right.                         11   knowledge, does it matter how much opioids the
    12         MS. GAFFNEY: Thank you.                             12   mother is taking or administering to herself while
    13         MR. DAVISON: We're going to go off the              13   pregnant as it relates to whether the baby will
    14     record.                                                 14   develop NAS?
    15         THE VIDEOGRAPHER: Off the record, 3:28 p m.         15        MR. DAVISON: Objection.
    16        (Recess from 3:28 p m. until 3:31 p.m.)              16     A. I think that's individualized, and I -- so I
    17         THE VIDEOGRAPHER: On the record, 3:31 p.m.          17   don't -- I think it's -- as I -- it's an
    18                CROSS-EXAMINATION                            18   individualized effect in terms of mother and baby.
    19   BY MR. LENISKI:                                           19     Q. During your career, did you ever gain any
    20     Q. Good afternoon, Ms. Jackson.                         20   awareness about the relative NAS levels in
    21     A. Hi.                                                  21   Appalachia?
    22     Q. My name is Joe Leniski. I represent                  22     A. No. NAS was not an -- did not really start
    23   plaintiffs in Tennessee who are district attorneys        23   being an issue until -- I can't even give you the
    24   and babies who were born with NAS. Do you know what       24   year, but it was not when -- while I was in
    25   that is?                                                  25   practice. It was, like in the 2000s, mid-2000s when
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     1     A. Neonatal abstinence syndrome.                         1   I started hearing the first cases. And they were in
     2     Q. Yes.                                                  2   Florida, is where I first heard of it.
     3     A. Uh-huh.                                               3      Q. Okay. And was there a correlation, to your
     4         MR. LENISKI: And before we begin, I've got           4   knowledge, between the rising opioid epidemic and
     5     to state on the record, we've got a standing             5   NAS cases nationwide?
     6     objection we're adopting here. The Tennessee             6      A. Yes.
     7     plaintiffs were not privy to a lot of                    7      Q. In any of your positions at Purdue, Endo, or
     8     correspondence with the parties.                         8   Mallinckrodt, did you have occasion to address the
     9     Q. By the way, this is for your lawyers'                 9   NAS issue as it relates to opioids?
    10   benefit, not so much yours.                               10         MR. DAVISON: Objection.
    11         MR. LENISKI: But we've got a standing               11         MS. GONZALEZ: Objection.
    12     objection to the depositions, but, nonetheless,         12         MS. VANNI: Objection.
    13     in the spirit of cooperating with the MDL, we are       13      A. I didn't address them, but I was -- I was in
    14     here, and we're ready to proceed.                       14   meetings where they were addressed --
    15         MR. DAVISON: We obviously disagree with             15      Q. Okay.
    16     your objection, but the record is clear.                16      A. -- if that makes sense. So I didn't myself
    17         MR. LENISKI: Understood.                            17   speak on it or advocate on any issue. I was
    18   BY MR. LENISKI:                                           18   involved in meetings where that was the discussion
    19     Q. So what is your understanding of what NAS            19   point.
    20   is?                                                       20      Q. And do you recall at which company those
    21     A. Neonatal abstinence syndrome are babies born         21   meetings took place?
    22   who have drug levels in their body that are -- and        22      A. It was probably more Endo, and it was
    23   they are born actually going through withdrawal           23   actually during my consulting time in the 2000s when
    24   because they've been supplied, through their              24   I -- when I would have heard most about it.
    25   bloodstream, a continuous amount of opioid, and then      25      Q. Okay. So just to understand your answer,

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     1 were -- the meetings that you were present at when           1   started in April of 2014; is that correct?
     2 NAS was discussed, were you an Endo employee at that         2     A. Yes, sir.
     3 point?                                                       3     Q. At any point did you report to Kevin Webb?
     4     A. Yeah, I probably was, because it was a                4     A. No.
     5   coalition meeting. And I would attend as the person        5     Q. Okay. At any point in your career at
     6   from -- an -- as a stakeholder. So it was a meeting        6   Mallinckrodt --
     7   of multiple stakeholders on one of them.                   7     A. No.
     8     Q. So that would --                                      8     Q. You never reported to Kevin Webb?
     9     A. Other industry sponsor -- other industry              9     A. No.
    10   personnel were there, other medical liaisons, other       10     Q. When asked questions -- well, do you recall
    11   advocacy people. The public was there. It was open        11   being asked questions about what your
    12   meetings.                                                 12   responsibilities were in that role?
    13     Q. So that would have been sometime during your         13     A. Yes.
    14   employment between 2011 and 2013?                         14     Q. And do you recall giving an answer that at
    15     A. Yeah, I would --                                     15   least one aspect of that role had to do with
    16     Q. Do you recall being at meetings where NAS            16   unrestricted educational grants?
    17   was addressed prior to joining Endo?                      17     A. Yes.
    18     A. I can't remember. It could have been. I              18     Q. Okay. Describe that for me.
    19   can't remember exactly when I -- I don't recall the       19     A. So I worked --
    20   times when they were, but it was an issue in              20         MR. DAVISON: Objection.
    21   Florida.                                                  21     A. I worked with the professional societies,
    22     Q. With respect to your time at Mallinckrodt,           22   along with the patient societies, and if they wanted
    23   do you recall any meetings where you discussed NAS?       23   to do a program on patient education, awareness, or
    24     A. No, none.                                            24   something to do on the advocacy realm -- it would
    25     Q. And do you know why that was or --                   25   never be healthcare-provided education. It would
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     1          MR. DAVISON: Objection.                             1   also be the -- the main audience in my area was
     2      Q. -- do you have a theory as to why that was?          2   predominantly patients' caregivers, the public.
     3          MR. DAVISON: Objection.                             3         But it would be a grant where you would give
     4      A. I think it -- no. And they could have                4   them money for a program. They want to do a program
     5   happened while I was at Mallinckrodt in the very           5   on -- I'm sorry, I'm -- I'm pretty -- blanking out
     6   beginning, too. I mean, NAS became an issue just           6   right now.
     7   like prescription -- like diversion. It became an          7         But let's say you wanted to do a program on
     8   issue in pain management that was discussed almost         8   disposal of issues. You would give that
     9   at every meeting I attended to. So I probably heard        9   organization a grant for whatever they asked for,
    10   it, too, when I was at Mallinckrodt going to local        10   and -- well, based on the program. And then they
    11   meeting -- going to any kind of regional or national      11   would put on the program. We had nothing to say
    12   meetings. It was part of the agenda.                      12   about speakers or content. That would be an
    13          But I didn't pay particular close attention        13   unrestricted education grant.
    14   to it at any point. I knew it was an issue but it         14         CME is -- Certified Medical Education is
    15   wasn't -- I wasn't working in the area of maternal        15   also unrestricted, but that is totally separate,
    16   health or, you know, maternal or fetal health. And        16   done with -- I'm not concerned about that at all.
    17   so we would -- I didn't do anything directly              17   So at that -- there is a distinction between that.
    18   involved with it.                                         18   That's managed by our medical affairs team, and the
    19      Q. Okay. I'm going to ask you some questions.          19   other one is more patient/caregiver education.
    20   I'll try not to duplicate what got asked this             20     Q. Okay. So if I understand your answer, then,
    21   morning. But the -- this morning you were asked           21   CME is for healthcare professionals --
    22   some questions about your time at Mallinckrodt. So        22     A. Yeah.
    23   we'll focus on that time period for now.                  23     Q. -- who need them for accreditation or
    24          In your role as manager for advocacy for           24   certification to maintain credentialing. That's
    25   global medical affairs, which I believe you said          25   separate and apart what you were responsible for --

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     1     A. Absolutely.                                           1   such a grant?
     2     Q. -- at Mallinckrodt, correct?                          2         MR. DAVISON: Objection.
     3     A. Yes, sir.                                             3     A. Not much, like $5,000, maybe $10,000. It
     4     Q. Okay. Who were some of the entities that              4   just depended on -- it really depended on the
     5   you can recall giving unrestricted educational             5   organization, the actual program, how many patients
     6   grants to while at Mallinckrodt?                           6   were going to be or caregivers or, you know, what
     7     A. So we gave it to the US Pain Foundation for           7   the -- what the focus of the organization -- program
     8   some of the programs they did.                             8   was going to be, how long was it going to be, things
     9     Q. And let me ask you a question.                        9   like that.
    10     A. Okay.                                                10     Q. Was there an upper limit on how much money
    11     Q. When you say US Pain Foundation, is that the         11   Mallinckrodt would spend on such a grant?
    12   same thing as American Pain Foundation?                   12     A. We would -- it was not written that there
    13     A. No.                                                  13   was an upper limit.
    14     Q. That's different?                                    14     Q. Were there any guidelines at all about the
    15     A. Yeah, it's different. American Pain                  15   grant -- the bestowing of these unrestricted grants?
    16   Foundation was out of business by the time -- had         16     A. Oh, of course, yes.
    17   folded up by the time I'd gotten to Mallinckrodt.         17         MR. DAVISON: Objection.
    18     Q. Okay. Was the US Pain Foundation -- was              18     A. We had -- we had -- we had guidelines.
    19   that something that was an offshoot of American           19     Q. Was there a budget for the grant?
    20   Pain --                                                   20     A. Yes. But that would be based on what we got
    21     A. No.                                                  21   in our budget that was --
    22     Q. -- Foundation at all?                                22     Q. Who's -- who set that budget?
    23         MR. DAVISON: Objection.                             23     A. So the budget was set by medical affairs
    24     A. They were totally separate. The American             24   when I was with advocacy and global medical affairs,
    25   Chronic Pain Association did programs -- did              25   and then it's set by our government affairs and

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     1   educational programs for VA caregivers and people in       1   advocacy. Our corporate group tells us.
     2   pain, sponsored that. I'm trying to think of what          2     Q. Were you involved in asking for money in the
     3   we did in -- when I was in medical affairs. It's           3   budget to be allocated for that purpose?
     4   been a while. I'm trying to think of the                   4     A. Yes. I would -- I would plan a budget based
     5   organizations.                                             5   on what we -- what kind of programs we might want to
     6           (Discussion off the record.)                       6   do, how much -- you know, what we -- working with
     7     A. So there's -- I can't recall them all. I'm            7   the groups and what we would like to help support.
     8   sorry.                                                     8     Q. And was that true of the entire time that
     9     Q. And how did you select the groups that would          9   you served as manager of advocacy for global medical
    10   receive such grants during your time at Mallinckrodt      10   affairs?
    11   in that position?                                         11     A. Uh-huh.
    12     A. Yeah. So it was done under a charitable              12     Q. Did you continue to be involved with the
    13   grant -- charitable contribution committee. And           13   unrestricted educational grants when you
    14   that was decided by legal, regulatory. Medical sat        14   transitioned to government affairs?
    15   on that. And I would then present any -- if they          15     A. Just for clarity, we call them charitable
    16   had a request from an organization that came in that      16   contributions, and I am involved still in that.
    17   wanted to have a sponsorship from Mallinckrodt, I         17   They're -- they are unrestricted grants, and they
    18   would weigh in on the organization and what they're       18   sometimes support a program within an organization
    19   working on and if we were -- if -- you know, if they      19   or an educational program.
    20   were -- what kind of programs that they did, and          20         But they're considered under the title of
    21   then it was decided by that committee.                    21   charitable contributions because we don't want to
    22     Q. And were these groups that Mallinckrodt had          22   mix them up with the medical education grants.
    23   ongoing relationships with, to your knowledge?            23     Q. Okay.
    24     A. Yes.                                                 24     A. So we call them charitable contributions.
    25     Q. Okay. How much would Mallinckrodt spend on           25     Q. And I'm glad you clarified. I was adopting

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     1   your --                                                    1   sponsored and then -- yeah.
     2      A. Yeah. No, no. We talked about unrestricted           2     Q. Okay. And did that amount go up, or was it
     3   education. Medical does that through their CME             3   more or less the same for 2015?
     4   programs. And then anytime that we sponsor a               4     A. So in 2015, I now moved over to government
     5   program that's educating the public, it is                 5   affairs and advocacy. And we were -- our budget was
     6   unrestricted in the terms of we don't have a say in        6   actually across many -- a few different therapeutic
     7   it. We tell them -- we don't choose speakers. We           7   areas. Now we have -- we're in the hospital space.
     8   don't choose content. We just support the actual           8   We're in -- we start to move into rare disease. So
     9   program.                                                   9   for the pain space, I would say for 2015 it probably
    10      Q. And just so the record is clear, from the           10   stayed the same, and then we started to decline in
    11   time you joined Mallinckrodt in April of 2014             11   2016.
    12   through the present, you've had some                      12         Some of the stuff that we were doing in --
    13   responsibilities with respect to charitable               13   just because of organizations' requests -- it's
    14   contributions?                                            14   really based on what organizations request. We
    15      A. I have.                                             15   have -- we create a budget based on what we think is
    16      Q. Okay. And again, we're talking about the            16   going to be requested and what we would like to see
    17   kind of charitable contributions that would go to         17   done for the year in advocacy in terms of helping to
    18   fund outside groups or --                                 18   support education, maybe corporate memberships,
    19      A. Yes.                                                19   things like that.
    20      Q. -- societies that deal with, for example,           20         And then sometimes it all comes in, and
    21   pain management?                                          21   sometimes the requests get lesser. But 2015 was
    22      A. Yes.                                                22   probably very similar to 2014. And then 2016, I was
    23      Q. And can you recall since 2014 -- well, do           23   no longer doing it. That was Kevin Webb's area.
    24   you recall what the budget was for the charitable         24     Q. Okay. And who is doing the charitable
    25   contributions that you testified about in 2014?           25   contributions before you arrived in April 2014?

                                                        Page 195                                                        Page 197
     1        MR. DAVISON: Objection.                               1         MR. DAVISON: Objection.
     2     A. It depended on the different areas, and so            2     A. So it was always done by the charitable
     3   we -- Mallinckrodt ended up buying different               3   contributions committee, the C -- I'm not sure if
     4   companies, and so we would get budgets from the --         4   that's -- I mean, I know the committee, but it was
     5   you know, that were a continuation of these budgets.       5   run by Tammy -- I can't remember -- think of Tammy's
     6        For our pain -- when we -- when I was in the          6   last name, Weber -- Tammy Webster or Tammy Weber.
     7   pain space -- I want to say -- I don't remember. I         7   But Tammy was working for Brian Elsburn out of --
     8   actually don't remember. It's been -- I haven't            8   Brian Elsburn was a lawyer, and it was out of
     9   done pain advocacy and been in charge of that space        9   our legal department that that committee sat. And
    10   since 2015.                                               10   so they would have members of medical and -- but
    11     Q. Are you able to approximate what                     11   never anybody in marketing or sales sat on that. It
    12   Mallinckrodt spent in 2014 on charitable                  12   was always advocacy or -- it was always legal,
    13   contributions in the pain space?                          13   regulatory -- I'm sorry -- legal, compliance,
    14        MR. DAVISON: Objection.                              14   medical affairs, and advocacy.
    15     A. Maybe for patient advocacy -- oh, gosh. I            15     Q. Okay. And I, on your résumé, noted that you
    16   really hate to do that because I honestly don't           16   provided consulting to certain societies prior to
    17   remember. I don't remember. But it was --                 17   joining Mallinckrodt; is that correct?
    18     Q. Was it more than $100,000?                           18     A. I did.
    19     A. Yes, for -- yes.                                     19     Q. And did any of the societies that -- with
    20     Q. Was it more than a million?                          20   which you performed consulting receive grants from
    21     A. No.                                                  21   Mallinckrodt, charitable contributions, after you
    22     Q. So somewhere between 100,000 and a million?          22   joined the company?
    23     A. Yeah, somewhere in there. I want to say it           23     A. They did.
    24   was probably closer to 500, but that -- I'm               24         MR. DAVISON: Objection.
    25   really -- I can't remember all the things that we         25     Q. Which ones?

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     1     A. It would be the American Society -- the                  1     Q. Do you recall that testimony?
     2   American Academy -- American Academy of Integrated            2     A. I do.
     3   Pain Medicine, AAIPM. They would have. And then --            3     Q. Were those -- when you testified this
     4   American Pain Foundation was gone by then. But                4   morning about that, were you meaning those were the
     5   that's the only organization that -- and that was             5   same team, or are they two different teams that you
     6   just to support the programs that they were doing.            6   were testifying about?
     7   So we were one of many -- or -- many pharmaceutical           7     A. I was testifying that -- there is only one
     8   companies that supported them.                                8   team, one group that I knew of, and I don't exactly
     9     Q. Sure. What was the budget, if you know, for              9   remember their name. I think they were the
    10   2013 for the charitable contributions?                       10   suspicious order monitoring group, but that might be
    11         MR. DAVISON: Objection to form.                        11   just -- but I'm just -- I just remember that
    12     A. That, I don't know. I do not have that                  12   program. I don't remember if that was exactly the
    13   history, but it wasn't -- their budget was never a           13   name of the team -- of the group, but they met
    14   huge budget. They -- CARES Alliance was the -- what          14   regularly.
    15   they did, and they would have -- they would support          15     Q. Okay. And the e-mail we saw where you --
    16   some of the programming that some of the                     16   what was referred to as the diversion group.
    17   organizations in the pain did. And that was the              17     A. Right.
    18   extent of what they -- how they participated, but            18     Q. You don't think that was an official title;
    19   I would -- I would -- it wasn't -- I can't remember.         19   you think that was sort of what -- they looked at
    20   I'm sorry. I just can't remember.                            20   diversion issues?
    21         So when I came in 2014, it was very much in            21     A. Exactly, yeah. That's probably my --
    22   line with where they had been in 2013. I didn't              22         MR. DAVISON: Objection.
    23   raise it or -- it was pretty much a flat budget for          23     A. -- my rendition, my shortening --
    24   the last few years.                                          24     Q. Okay.
    25     Q. Do you have any responsibilities with                   25     A. -- what they were, yes.

                                                       Page 199                                                         Page 201
     1   respect to giving any charitable contributions to             1     Q. Okay. Thank you. That's a helpful
     2   the US Federation of State and Medical Boards,                2   clarification.
     3   USFSMB?                                                       3         You testified this morning, do you recall,
     4     A. Gosh, no.                                                4   that you would occasionally attend monthly meetings
     5         MR. DAVISON: Objection.                                 5   of that group or that team?
     6     Q. Have you ever heard about that?                          6         MR. DAVISON: Objection.
     7     A. I do know them, but they actually wrote                  7     A. Yes.
     8   guidelines for pain management. But they didn't --            8     Q. Okay. And I think you testified also that
     9   I would never have given them money.                          9   you would be there with -- Karen Harper would be at
    10     Q. Why is that?                                            10   those meetings?
    11     A. Because they're not a patient or caregiver              11     A. She would.
    12   organization. They are a state medical board                 12     Q. And Don Lohman?
    13   organization, and so they're not a charitable                13     A. Yes.
    14   501(c)(3). At least I don't think they are. I                14     Q. And who else can you recall attended that
    15   don't even know anything about their -- their                15   meeting on a regular basis?
    16   status.                                                      16     A. Kevin Webb. And that's the only people I
    17         So that would not be a group that would fall           17   actually remember.
    18   on my radar, either. They would be a more medical            18     Q. Okay. What was your role on that team, to
    19   affairs group.                                               19   your knowledge?
    20     Q. Okay. I understand. You also testified                  20     A. To bring information on the -- what we were
    21   this morning about -- you were asked some questions          21   working on with the CARES Alliance, to learn about
    22   about your work with what was called the diversion           22   what they were doing, really just a participatory
    23   group or, alternatively, the suspicious order                23   member. I was just really there observing and also
    24   monitoring team.                                             24   sharing any information that I learned in the field.
    25     A. Yeah.                                                   25     Q. Did you understand when you joined, in April

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     1   of 2014, Mallinckrodt, that you would be serving on          1 we're doing, we're continuing to do, and some of the
     2   that team?                                                   2 programs that were coming up, like the red flags
     3     A. Well, it was part of what I was told, that              3 videos that the industry working group was doing and
     4   you would be invited to, so, yeah.                           4 so --
     5     Q. Prior to 2014, had you had any experience               5    Q. What information did that team review or
     6   with suspicious order monitoring?                            6 discuss?
     7     A. Never.                                                  7         MR. DAVISON: Objection.
     8     Q. Did you receive any training when you joined            8      A. It was really an update on the -- on where
     9   Mallinckrodt on suspicious order monitoring?                 9   the programs were. It wasn't about the detailed
    10         MR. DAVISON: Objection.                               10   reporting. So we didn't -- I wouldn't have known
    11     A. We have a ComplianceWire training that talks           11   what the suspicious monitoring program reports were.
    12   about safety along the manufacturing route and what         12   It was just, hey, we are doing these, and we're
    13   we do, what -- the importance of what is, but it's          13   doing this. You know, we're continuing to work with
    14   not about the suspicious monitoring. So I had not           14   this industry, this industry group. And we're
    15   had any training prior to sitting in on these               15   working on all these different programs, what -- you
    16   meetings.                                                   16   know, what are we doing in medical? How -- what is
    17     Q. Can you tell me what you mean by                       17   CARES working on? What is government affairs
    18   ComplianceWire training that talks about safety             18   working on? To make sure we were always informed of
    19   along the manufacturing route?                              19   the program that's going on.
    20     A. Yeah. I can't remember the name of it. I               20      Q. So did that team review, for example, call
    21   just had it, too. So -- yeah. So they talk about            21   notes from sales reps?
    22   how we ensure safety from a -- from the manufacturer        22         MR. DAVISON: Objection.
    23   site to when we deliver it to whenever it gets              23      A. No. We never got into that. That's what I
    24   delivered and all the pieces that go into that, and         24   said. We never got into that detail. It was very
    25   that we are -- and the responsibility we feel and           25   high level.

                                                          Page 203                                                    Page 205
     1   all the -- all the tactics that we ensure are                1     Q. Okay. And you know what I'm talking
     2   happening to ensure that our product gets from               2   about --
     3   point A to point B without diversion.                        3     A. Yeah.
     4         So that was it, but it's not -- that's not             4     Q. -- when I say call notes, right?
     5   the same as suspicious ordering. It's just two               5     A. Yep.
     6   separate programs, and so --                                 6     Q. And what's your understanding of what call
     7     Q. And when you say safety, you're talking                 7   notes are?
     8   about safety to the product?                                 8     A. Call notes are notes on a call, notes that
     9     A. Yes, to ensure that your product is not                 9   depict the experiences of a rep calling on a
    10   tampered with or --                                         10   physician or an MSL calling on a physician or
    11     Q. Okay. Thank you. So with respect to the                11   healthcare provider.
    12   suspicious order monitoring, what generally did that        12     Q. Okay. Did you review charge-back
    13   team discuss along those lines?                             13   information in those team meetings?
    14         MR. DAVISON: Objection to form.                       14     A. No.
    15     A. It's been many years, and I don't recall all           15        MR. DAVISON: Objection.
    16   of the agendas and topics --                                16     Q. And I think we -- you had some questions
    17     Q. Sure.                                                  17   this morning about charge-back information. That
    18     A. -- but --                                              18   was one aspect of the anti-diversion programs at
    19     Q. And I'm asking general --                              19   Mallinckrodt while you were there, correct?
    20     A. Yeah.                                                  20     A. Yes.
    21     Q. -- recollection.                                       21        MR. DAVISON: Objection.
    22     A. It was basically about the diversion                   22     Q. Okay. Did you have any role at all with
    23   programs.                                                   23   respect to reviewing charge-back data in --
    24         MR. DAVISON: Objection.                               24     A. No.
    25     A. It was talking about what we're -- what                25     Q. -- in any facet of your job?

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     1     A. None.                                                  1     A. I don't recall.
     2     Q. And this team also did not review orders               2     Q. Okay. Do you recall the State of Tennessee
     3   that had been flagged as suspicious?                        3   or Appalachia in general ever coming up in this
     4         MR. DAVISON: Objection.                               4   suspicious order monitoring team?
     5     A. I don't recall. I don't recall. They                   5     A. No.
     6   could -- they -- they -- I don't remember if they           6        MR. DAVISON: Objection.
     7   talked about -- they never talked about any location        7     A. No particular state.
     8   or -- I don't recall any specifics to them. I knew          8     Q. And for what period of time did you -- or
     9   they were putting out the reports, but that wasn't          9   were you assigned to attend those meetings?
    10   discussed in the meeting.                                  10     A. It would have been when I started in April
    11     Q. When you say they were putting out reports,           11   of 2014 until about mid-2015, when -- that's when I
    12   what do you mean?                                          12   changed focus.
    13     A. The -- Don Lohman runs a group, runs --               13     Q. Okay. And during that time that you -- for
    14   through legal would be putting out all of this, and        14   the meetings you did attend -- and your testimony is
    15   we were just given high level information at this          15   you didn't attend every meeting; was that correct?
    16   meeting.                                                   16        MR. DAVISON: Objection.
    17     Q. What was the purpose of that team?                    17     A. I didn't attend every meeting.
    18     A. It was really to --                                   18     Q. Okay.
    19         MR. DAVISON: Objection.                              19     A. I traveled quite a bit.
    20     A. -- to ensure that everybody knew all the              20     Q. About how many meetings do you recall
    21   things that we were working on. They didn't need to        21   attending?
    22   know the details. They just needed to be aware of          22     A. I actually probably only -- I went to about
    23   the programs that were in place, and also, you know,       23   three of them --
    24   exchange of information, so that they could hear           24     Q. Okay.
    25   what we were learning in advocacy. And it was just         25     A. -- in person.
                                                         Page 207                                                      Page 209
     1   that kind of a thing.                                       1     Q. From a general standpoint, did that team
     2     Q. You were asked questions this morning about            2   ever discuss particular populations or geographic
     3   whether this group worked with DEA. Do you recall           3   areas as particularly troublesome for suspicious
     4   that?                                                       4   ordering or diversion?
     5         MR. DAVISON: Objection.                               5        MR. DAVISON: Objection.
     6     A. I don't recall that question, no.                      6     A. I don't recall.
     7     Q. Okay. Well, did this group -- did this                 7     Q. And do you have any recollection what that
     8   team, rather, have communications with the DEA about        8   team discussed a -- the distributors' roles or the
     9   their anti-diversion programs?                              9   wholesalers' roles in flagging or monitoring
    10         MR. DAVISON: Objection.                              10   suspicious orders?
    11     A. I couldn't answer you. I know individuals.            11        MR. DAVISON: Objection.
    12   Stu Kim was one of them that worked with the DEA,          12     A. I don't recall. Sorry.
    13   but I don't -- I don't know the extent of what he          13        MS. VANNI: Objection.
    14   did. I just know he was one of our lawyers that was        14     Q. Did that team, to your knowledge, review
    15   working with --                                            15   what I'll call indirect customers? And by that --
    16     Q. So did you have any individual                        16   do you know what I'm talking about?
    17   responsibilities with respect to identifying or            17        MR. DAVISON: Objection.
    18   flagging or the ultimate resolution of suspicious          18     A. No.
    19   orders?                                                    19     Q. Like pharmacies, did that team review
    20     A. No.                                                   20   pharmacies prescribing or dispensing with respect to
    21     Q. Did this team review public information like          21   suspicious orders?
    22   news reports or along those lines --                       22        MR. LOMAX: Objection to form.
    23     A. I don't recall.                                       23     A. I don't think so. I don't recall.
    24     Q. -- with respect to suspicious orders?                 24     Q. Okay. To your knowledge, was Mallinckrodt
    25         MR. DAVISON: Objection.                              25   obligated to fill an order that it deemed

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     1   suspicious?                                              1   were also concerned about preventing death from
     2        MR. DAVISON: Objection.                             2   overdose from opioid use?
     3     A. I can't answer that. I don't have that kind         3     A. Yes.
     4   of knowledge.                                            4         MR. DAVISON: Objection.
     5     Q. And did you ever gain awareness while you           5     Q. And that there was enhanced awareness and
     6   worked at Mallinckrodt about any particular              6   concern about that, about overdose from opioid use
     7   prescribers or pharmacies in Tennessee that were         7   that increased as the epidemic got worse?
     8   being problematic?                                       8     A. Yes.
     9        MR. LOMAX: Objection.                               9         MR. DAVISON: Objection.
    10     A. No.                                                10     Q. Okay. And again, I'm only going back to
    11     Q. Okay. You were also asked this morning             11   what I remember you saying. But you used the term
    12   about -- questions on a PowerPoint presentation. I      12   "hypervigilance." Do you recall using that term?
    13   think it was Exhibit 2, but there were some slides      13         MR. DAVISON: Objection.
    14   that used the term "epidemic."                          14     A. I don't, but I --
    15     A. Uh-huh.                                            15     Q. Okay. But you agree there was -- as the
    16     Q. Do you recall those questions?                     16   epidemic for opioids got worse, that the reaction by
    17     A. Uh-huh.                                            17   state and federal regulatory bodies became more
    18     Q. And there were questions about the epidemic        18   severe or more drastic to try to address that?
    19   of pain versus the epidemic of prescription drug        19     A. Absolutely.
    20   abuse. Do you recall those questions?                   20         MR. DAVISON: Objection.
    21     A. I do.                                              21     Q. Okay. And I think we looked at an
    22        MR. DAVISON: Objection.                            22   exhibit earlier. It was the SPPAC --
    23     Q. So you were asked some questions about the         23     A. Yes.
    24   epidemic, and one of your answers, you mentioned a      24     Q. -- exhibit. Do you recall that? I think it
    25   phrase that -- well, you mentioned being aware of       25   was Exhibit 12.
                                                     Page 211                                                          Page 213
     1   the phrase "hypervigilance on overdose death." Do        1     A. I do.
     2   you recall using that phrase?                            2     Q. And you were asked some questions about the
     3         MR. DAVISON: Objection.                            3   work by SPPAC --
     4     A. I don't.                                            4     A. Uh-huh.
     5     Q. Okay. Well, in any event, at some point             5     Q. -- trying to -- or efforts to revise rules,
     6   during your career at Mallinckrodt, were you             6   and I think the quote was: Creating a less
     7   aware -- were you aware of there being particular        7   stringent regulatory environment for pain management
     8   sensitivity or particular awareness, heightened          8   clinics.
     9   awareness, as to preventing overdose -- overdose         9     A. Uh-huh.
    10   death as a result of opioid use?                        10     Q. Is that correct?
    11         MR. DAVISON: Objection to form.                   11        MR. DAVISON: Objection.
    12     A. Can you -- I'm not quite sure I'm                  12     A. Uh-huh.
    13   understanding your line of questioning on that.         13     Q. Was -- was the purpose of removing, to your
    14     Q. Well, so was one of the concerns that              14   knowledge, the regulatory burdens to result in more
    15   Mallinckrodt had, like any opioid manufacturer, that    15   opioids being prescribed?
    16   its product is not being used in such a way or          16        MR. DAVISON: Objection.
    17   abused in such a way that results in overdose death?    17     A. No, no. That would never have been the
    18         MR. DAVISON: Objection.                           18   purpose.
    19     A. Well, we were -- of course, that's why we --       19     Q. To the best of your knowledge, can you
    20   the diversion programs were put in place, because       20   recall a single instance where SPPAC lobbied for
    21   there was concern that there was a -- our               21   more restrictions from a regulatory standpoint on
    22   responsibility to figure out ways that we could         22   opioid distrubution?
    23   address those concerns.                                 23     A. I would --
    24     Q. And were you also aware at Mallinckrodt that       24        MR. DAVISON: Objection.
    25   state and federal agencies and regulatory bodies        25     A. To my recognition --

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     1         MR. DAVISON: Recollection.                             1   stringent. It was whether it was going to help them
     2      A. -- recollection. Oh, my gosh. To my -- or              2   accomplish what they were hoping to do.
     3   for -- to my memory, I -- no. There -- they -- this          3     Q. Okay. Well, take a look at Exhibit 12.
     4   group and many other advocates tried to make sure            4     A. Uh-huh, got it.
     5   that the -- legislation and well-meaning legislators         5     Q. And let's look at the bullet under
     6   would often put very restrictive clauses in their            6   Tennessee, which starts on the page ending 642, and
     7   legislation. So their goal was just to make it so            7   go over to summary of what SPPAC was doing in
     8   patients could still get pain treatment and while --         8   Tennessee at that time.
     9   while also understanding that they needed to look at         9     A. Uh-huh.
    10   these risks and considerations. But they wanted --          10     Q. And it said: "Written and direct testimony
    11   they wanted to do it in a balanced way. So they             11   and multiple other communications related to medical
    12   wanted to do it in a way the patients could -- where        12   board rules for pain clinics."
    13   it was balanced with treatment for pain and making          13        Correct?
    14   sure that we're addressing risk and abusion [sic] --        14     A. Yep.
    15   risk of diversion and abuse.                                15     Q. Okay. And this -- they summarize thusly:
    16      Q. So just -- so just to make sure the record            16   "This resulted in substantial revisions to the
    17   is clear, then, my question -- the answer to my             17   rules, creating a less stringent regulatory
    18   question, can you recall a single instance where            18   environment from pain management clinics."
    19   SPPAC lobbied for more regulatory restrictions on           19        Did I read that correctly?
    20   opioid distribution, the answer would be "no"?              20     A. Yep. That's exactly what it says.
    21         MR. DAVISON: Objection.                               21     Q. And my question to you is: Can you recall
    22      A. That's not the answer. The answer is that             22   an instance where SPPAC had lobbied in the state of
    23   it's not whether it's more or less. They just               23   Tennessee for revisions to medical board rules for
    24   wanted the legislation to make clinical sense, to           24   pain clinics that created a more stringent
    25   make -- to -- and also to be in line and not a              25   regulatory environment for pain management clinics?

                                                          Page 215                                                      Page 217
     1   burden to patients or clinicians.                            1      A. I do not know.
     2         So I can't say whether they did it more or             2         MR. DAVISON: Objection.
     3   less. It's not a number thing. It's about how it's           3         MS. VANNI: Objection.
     4   written. And that's the best I can answer that.              4      Q. Is the attempt by the state generally to
     5     Q. Well, can you recall an instance where SPPAC            5   impose enhanced restrictions on -- that aim to curb
     6   lobbied for rules to be revised which created a more         6   opioid abuse, is that inherently a bad thing?
     7   stringent regulatory environment for pain management         7         MR. DAVISON: Objection.
     8   clinics?                                                     8      A. No. Well-meaning legislators create
     9     A. I think you asked me the same question.                 9   legislation that they don't always understand what
    10         MR. DAVISON: Objection.                               10   kind of burden it places on patients and physicians.
    11     A. Well, I can --                                         11   I think their intent is always on behalf of their
    12     Q. A little different.                                    12   constituents and to protect their group. I don't
    13     A. I -- a little different. So I -- no, I                 13   question that.
    14   can't tell you -- I can -- because I -- that wasn't         14         The problem -- but what they then do is put
    15   the goal of what they were doing. They weren't              15   it out, and we, as a clinical community, are able to
    16   looking to increase or decrease the regulatory              16   respond to that to help direct and help them
    17   environment.                                                17   understand the burden they're putting on patients,
    18         They were looking to make sure that it                18   caregivers, and healthcare providers. And so
    19   wasn't an undue burden to patients and caregivers.          19   that -- yeah.
    20   That -- at the end of the day, they certainly -- Bob        20      Q. So do you have an opinion, then, whether
    21   Goldberg, who -- Bob Toolman, I'm sorry, Bob                21   government agencies should attempt to curb opioid
    22   Toolman, who runs that group, did his -- you know,          22   abuse by, for example, restricting the number or the
    23   would say that if it was appropriate, he would have         23   supply of prescription opioids that can be
    24   advocated for it.                                           24   distributed at any given time?
    25         So it wasn't whether it was less or more              25         So, for example, taking it down from a

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     1   90-day supply to a 30-day supply, do you think               1   I think all along the lines, we've -- we've tried to
     2   that's an undue burden that the State tries to               2   address all these issues and -- and address them,
     3   impose?                                                      3   but --
     4         MR. DAVISON: Objection.                                4      Q. At Endo Pharmaceuticals, were you ever
     5      A. I can't answer about any one particular                5   tasked with reviewing or looking at legislation in
     6   facet. Trying to curb prescription drug abuse and            6   the state of Tennessee that attempted to curb opioid
     7   diversion is a multifaceted problem. It is very              7   abuse?
     8   complex. I think anything we can do -- and, you              8         MR. DAVISON: Objection.
     9   know, that we look at it across the entire spectrum,         9      A. I did not cover Tennessee while I was with
    10   looking at all the stakeholders, I think the best we        10   Endo.
    11   can do is try to get everyone to participate and do         11      Q. So the answer is "no"?
    12   what they can to do it.                                     12         MR. DAVISON: There was an objection.
    13         I don't know if one particular -- if                  13      Sorry.
    14   reducing it to 30 -- for some patients on chronic           14      A. So, no. I'm sorry.
    15   medication, maybe that's not the answer. Maybe              15         (Mallinckrodt - Jackson Exhibit 20 was
    16   it -- maybe -- and for others, it might be. I can't         16   marked for identification.)
    17   answer any one piece of legislation.                        17         MR. LENISKI: There's a cover page. It's a
    18         I can tell you that legislators are trying            18      non-Bates stamped number page. So I'm starting
    19   to find ways, manufacturers are working on ways to          19      the exhibit on the actual -- the other page, just
    20   try to thwart this. You know, we're -- doctors are          20      so you know, has got --
    21   looking at risk factors. Patients are being                 21         MR. DAVISON: Oh.
    22   educated. As a community, we're all stakeholders in         22         MR. LENISKI: -- the identifier on it.
    23   this issue. We all need to come to the table and            23         MR. DAVISON: I was just confused what that
    24   work together to create solutions.                          24      was for.
    25         I can't tell you whether one solution is              25         MR. LENISKI: Here.
                                                        Page 219                                                      Page 221
     1   going to be the panacea. I don't know that. No one           1   BY MR. LENISKI:
     2   has been the panacea yet.                                    2     Q. I've handed you what we've identified as
     3     Q. With respect to the -- a restriction that               3   Exhibit 20. My question is if you recognize the
     4   requires that a healthcare provider cannot write             4   document.
     5   more than a 30-day supply --                                 5     A. Okay.
     6     A. Uh-huh.                                                 6     Q. Do you recognize the document?
     7     Q. -- to a patient, the practical effect on the            7     A. I don't, but --
     8   patient will be that the patient has to go back and          8     Q. Okay. Any reason to doubt you received it
     9   see the provider to get the additional prescription          9   while employed at Endo?
    10   beyond the 30 days; is that correct?                        10     A. No. I think it's --
    11         MR. DAVISON: Objection.                               11     Q. Go to the first e-mail in the chain, which
    12     A. Yes.                                                   12   actually starts on the page ending Bates stamp 415.
    13     Q. Okay. And do you believe, by itself, that              13   Do you see the e-mail from Geoffrey Becker --
    14   restriction would be an undue burden?                       14     A. Yeah.
    15         MR. DAVISON: Objection.                               15     Q. -- and to yourself on January 7th, 2013?
    16     A. But that's -- but that's already -- for                16     A. Yes.
    17   Schedule IIs, that is the -- that is the rule. I            17     Q. Who is Geoffrey Becker?
    18   don't know if you know that.                                18     A. Geoffrey Becker was a government affairs
    19     Q. How long has it been the rule?                         19   person for Florida -- for the southeast.
    20     A. Since I've been in practice, that you can              20     Q. Okay. He writes: "Please see the following
    21   only prescribe 30 days, and then they have --               21   proposal that is likely to be considered by the
    22   then -- they can only have one prescription for 30          22   Tennessee legislature in 2013."
    23   days. It was Schedule IIIs that they could call             23        He says: "The first provision is
    24   refills in. And that's -- and hydrocodone was               24   particularly heinous and one that we have seen in
    25   rescheduled to Schedule II, which stopped that. So          25   other states."

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     1        Did I read that correctly?                             1         MS. VANNI: Objection.
     2     A. I see that.                                            2     A. Well, I think you need to finish my e-mail,
     3     Q. And then if you go down to what he's                   3   because I say: "Hopefully there are advocates there
     4   forwarding, under -- see where it starts "The               4   to help ensure balance."
     5   Addison Sharp Prescription Regulatory Act includes"?        5         And once again, I go back to, balance was
     6     A. Yep.                                                   6   the key to make sure patients got -- were able to
     7     Q. So it says: "The Addison Sharp Prescription            7   get access to treatment and also figure out what --
     8   Regulatory Act includes the following regulations           8   what are the -- how to deal with risk of abuse and
     9   regarding pain clinics and the prescribing of               9   diversion appropriately. So I did not --
    10   narcotics."                                                10     Q. Did you share Mr. Becker's opinion that that
    11        The provision -- the first provision says:            11   provision I read from the proposed legislation in
    12   "No more 60 to 90-day prescriptions written. It            12   Tennessee was heinous?
    13   must be reduced to a 14 to 30-day limitation. Of           13     A. No.
    14   course, cancer patients and the terminally ill are         14         MS. VANNI: Object to form.
    15   excluded. The only drugs that will be restricted           15     A. I don't -- no, I don't -- I don't think it's
    16   are opiates."                                              16   heinous, and I can't share -- I -- but --
    17        Did I read that correctly?                            17     Q. Are you aware of others in the company who
    18     A. Uh-huh.                                               18   felt that way?
    19     Q. Okay. Did you have awareness of this issue            19     A. No.
    20   that was happening while you were at Endo?                 20         MS. VANNI: Objection.
    21        MS. VANNI: Object to form.                            21     Q. You also testified earlier and were asked
    22     A. I did then, but I don't recall it now.                22   some questions about opioid abuse in Florida.
    23     Q. Okay. And then you, later on the chain, are           23     A. Uh-huh.
    24   sending this to Lynn Quaranta.                             24     Q. Do you recall that?
    25     A. Uh-huh.                                               25     A. I do.
                                                         Page 223                                                      Page 225
     1     Q. Did I say that correctly?                              1     Q. And you testified that there was an -- there
     2     A. You did.                                               2   was an excessive number of opioids in Florida
     3     Q. Okay. And was she was -- was she the                   3   relative to other states, and that was due largely
     4   district manager over the territory of --                   4   to the dispensing physician factor. Do you recall
     5     A. She was the MSL that covered that.                     5   that?
     6     Q. Oh, I'm sorry. That's right. She was the               6         MR. DAVISON: Objection.
     7   medical science liaison for at least Tennessee,             7     A. Uh-huh.
     8   right?                                                      8     Q. You have to give a verbal answer. I'm
     9     A. Yes. So I was the southeast medical science            9   sorry.
    10   liaison, and Lynn covered Tennessee.                       10     A. Oh, I'm sorry. I said "yes." I'm sorry.
    11     Q. That's right. And you tell her: "Hi, Lynn.            11   Yes.
    12   Wanted to share this e-mail from Geoffrey Becker,          12     Q. And that that may align that -- that factor
    13   GAD, on Tennessee. I've copied Jeffrey to let him          13   may align with the ability to divert it. Do you
    14   know you are the MSL that is covering this state.          14   recall that testimony?
    15   From the looks of the proposed legislation,                15         MR. DAVISON: Objection.
    16   Tennessee is getting tough on pain medicine."              16     A. I recall -- I recall talking about Florida
    17         Did I read that correctly?                           17   and dispensing of physicians, of -- in physicians'
    18     A. You did.                                              18   offices.
    19     Q. Okay. Did you communicate with anyone                 19     Q. Okay. And you were asked some questions,
    20   whether you agreed with Mr. Becker's assessment that       20   and I think you testified as to a general awareness
    21   the provision -- the first provision under that            21   that opioid pills were leaving the State of Florida
    22   proposed legislation was heinous?                          22   and going to other states.
    23         MS. VANNI: Object to form.                           23         MR. DAVISON: Objection.
    24     A. No.                                                   24     A. I --
    25     Q. Do you agree with Mr. Becker?                         25     Q. Do you recall that testimony?

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     1     A. I didn't say that. That was shared with me,            1   with some prescription pill mills and things that
     2   and I said that -- and they asked me how were the           2   were being discovered. So I'm not surprised by it.
     3   ways that it could happen, and I said one was               3     Q. So at no time -- can you recall an instance
     4   through this distribution chain from West Virginia,         4   while you worked at -- or you were working at
     5   and others were patients going over the border, both        5   Mallinckrodt where the I-75 pipeline of moving
     6   back and forth.                                             6   opioids from Florida up through locations along I-75
     7     Q. Okay. So maybe I'm not understanding. Did              7   was ever discussed?
     8   you have awareness, at the time that you had any            8         MR. DAVISON: Objection.
     9   responsibilities with respect to the State of               9     A. No. But I think that's really a result
    10   Florida, of people coming from other states,               10   of -- by the time I got to Mallinckrodt, it was
    11   obtaining opioids and then leaving, going back to          11   2014. And much of that had already been discussed,
    12   their home states?                                         12   discovered, and then curtailed due to the changes --
    13         MR. DAVISON: Objection.                              13   the height -- the vigilance on the pain clinics and
    14     A. Well, nothing more than what was                      14   the change in prescribing and the PDMP and all
    15   happening -- that is the kind of thing that was            15   things put into place. So I'm not surprised we did
    16   happening in all the states. That was happening in         16   not discuss that at Mallinckrodt. It was a
    17   any -- any adjoining state, especially if the state        17   different time.
    18   did not have a PDMP, people were going into those          18     Q. So you don't recall discussing, in that
    19   states to get their prescriptions so they would not        19   suspicious order team or diversion team, the flow of
    20   be monitored.                                              20   individuals coming from out of state down I-75 to
    21     Q. And Florida is one of those states?                   21   obtain opioids in Florida?
    22     A. Well, it has one now, has had one for --              22         MR. DAVISON: Objection.
    23   since 2012 or something like that. It's been a             23     A. No.
    24   while that it's had it, but --                             24     Q. Talk a little bit about your time at Endo.
    25     Q. And you were asked some questions about what          25   Can you recall what you learned, if anything, about

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     1   the MDL lawyer called the Oxy Express. Do you               1   opioid abuse or diversion in the state of Tennessee
     2   recall that?                                                2   while at Endo?
     3     A. Yes.                                                   3         MS. VANNI: Object to form.
     4     Q. Okay. And I think you testified that you               4     A. I -- I don't recall any one particular
     5   recall this being -- involving taking planes from           5   issue, other than when Opana was reformulated, there
     6   West Virginia to Fort Lauderdale?                           6   were some instances -- incidences of a complication
     7     A. It was a video that showed up on YouTube,              7   with bleeding that occurred. And we were looking at
     8   and that was one of the premises, yes, on that              8   that to see if it was related and how it was
     9   video.                                                      9   related, because it was apparently aligned with
    10     Q. Okay. Have you ever heard of the I-75                 10   abuse of the redesigned -- the drug that was
    11   pipeline?                                                  11   designed to be -- but I never -- that would have
    12     A. I have not.                                           12   been -- I want to say that would have -- that was
    13        MS. GONZALEZ: Objection.                              13   late, and then we were let go in the end of
    14     Q. Do you know where I-75 is?                            14   February.
    15     A. I know I-75 well. I live here. I'm local.             15         So it was never resolved or I never went
    16     Q. And that's the interstate that goes from              16   down -- all I know, I remember offering to go talk
    17   basically Florida clear through Tennessee all the          17   to people to find out if there is more information.
    18   way up into Michigan, right?                               18   But our government affairs and medical team was
    19     A. Yes.                                                  19   handling that aside from me. So I didn't -- and so
    20     Q. And did you ever have awareness of I-75               20   that's the extent of what I remember, and I don't
    21   being used as a conduit taking opioids out of              21   know any more than that.
    22   Florida into states where I-75 runs?                       22     Q. Okay. You said incidences of a complication
    23        MR. DAVISON: Objection.                               23   with bleeding --
    24     A. I actually had not heard that, but being in           24     A. Uh-huh.
    25   Tampa and St. Pete area, I know that's had a problem       25     Q. -- that occurred. And that was associated

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     1   with the reformulated?                                      1   like I said, I do recall that there were people --
     2     A. Well, that's what they were saying might               2   that that was an issue on people who were abusing
     3   be -- it was all subjective, and it was just reports        3   the newly formed -- formulated --
     4   that we got as a medical -- in the medical science          4     Q. And was it your recollection that it was due
     5   liaison. But that's the most -- I can't tell you            5   to intravenous --
     6   any more because I don't -- it's been many years,           6     A. Yes.
     7   and I don't recall, and I don't even know what the          7     Q. -- use of the new formulation?
     8   resolution was on that.                                     8     A. Yes.
     9     Q. Okay. Do you recall there being an entity              9     Q. What role, if any, did you have with respect
    10   which I will call, at Endo, the risk management            10   to addressing that issue?
    11   team?                                                      11     A. I did -- I --
    12     A. I'm sure there was, but I don't recall them.          12         MS. VANNI: Object to form.
    13     Q. Do you recall ever being part of the risk             13     A. At the time, I wouldn't -- I offered to go
    14   management team?                                           14   down there if we needed to educate, if it -- it just
    15     A. If I was, it would have been on a                     15   surfaced. And I'm not even sure when it was, but I
    16   case-by-case basis, you know, due to where -- an           16   know that it had surfaced. I offered to go down to
    17   issue or -- but I wasn't -- I don't recall being a         17   help out in any way I could. But it was being
    18   regular on the risk management team. But once              18   managed by our risk -- our risk management team, our
    19   again, this is many years ago, and I honestly don't        19   medical affairs team, people much higher.
    20   recall much.                                               20         MS. VANNI: Sorry, I just want to interject.
    21     Q. Well, you were -- you were medical science            21     I objected. It wasn't recorded.
    22   liaison --                                                 22     Q. To your knowledge, did -- was there any
    23     A. I was.                                                23   medical science liaison that was assigned
    24     Q. -- at Endo. And you said that you were all            24   specifically to deal with that issue or to manage
    25   let go in February of 2013?                                25   that issue in some way?

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     1     A. We were as a whole team.                               1     A. I --
     2     Q. Were there any medical science liaisons that           2         MS. VANNI: Object to form.
     3   stayed at Endo?                                             3     A. -- don't know. I didn't cover Tennessee.
     4     A. Yes. Our boss did, Vin Tormo.                          4   I'm -- you know, I -- because my passion is
     5     Q. Did -- was Vin your boss the entire time you           5   advocacy, I was -- I was willing to go and help
     6   were at Endo?                                               6   whenever I could.
     7     A. He was.                                                7         MR. DAVISON: Counsel, we've been going
     8     Q. Do you recall having discussions with                  8     about an hour now. Time for a --
     9   Mr. Tormo about assisting with a Tennessee-specific         9         MR. LENISKI: Yeah, let's take a break.
    10   issue with what I'll call TTP?                             10         THE VIDEOGRAPHER: Off the record, 4:25 p.m.
    11     A. That's what I'm talking about.                        11        (Recess from 4:25 p m. until 4:37 p m.)
    12     Q. Okay.                                                 12         THE VIDEOGRAPHER: On the record, 4:37 p m.
    13     A. Yes. That's exactly the issue I'm talking             13         (Mallinckrodt - Jackson Exhibit 21 was
    14   about.                                                     14   marked for identification.)
    15     Q. Okay. And TTP --                                      15   BY MR. LENISKI:
    16     A. I didn't -- I wasn't sure I was going to get          16     Q. Ms. Jackson, I've handed you a document
    17   the initials right, so I didn't want to say it.            17   which we've identified as Exhibit 21 to your
    18     Q. That's understandable. And I'll try to                18   deposition. Do you have it in front of you?
    19   tease this out: Thrombotic thrombocytopenic                19     A. I do.
    20   purpura?                                                   20     Q. Would you take a look at the document and
    21     A. Purpura, yeah.                                        21   see if you recognize it?
    22     Q. Did I do that right?                                  22     A. I don't recognize it.
    23     A. You did a good job.                                   23     Q. Okay. Did you hold any special title at
    24     Q. I've said it enough times.                            24   Endo, to your knowledge, other than medical science
    25     A. And I have minimal knowledge of it. Just              25   liaison?

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     1     A. I did not.                                          1   header, "Abuse and Diversion."
     2         MS. VANNI: Object to the form.                     2         Do you see that?
     3     Q. Were part of your responsibilities to be            3     A. Yes.
     4   the lead for public health abuse, misuse, and REMS?      4     Q. And there is the topic, "urine drug
     5         MS. VANNI: Object to the form.                     5   screens," correct?
     6     A. It could have been. I don't -- I don't              6     A. Yes.
     7   recall. We would often have certain areas we             7     Q. I think you testified a little about that
     8   focused on. I just don't recall.                         8   earlier. Was that something that Endo recommended
     9     Q. Okay. So Exhibit 21, this is an e-mail from         9   be used in order to suggest to healthcare providers
    10   Daniel Still. Who is that?                              10   that -- as a -- as a tool for reducing abuse and
    11     A. He was a colleague MSL.                            11   diversion?
    12     Q. And did he -- was he -- did he hold a              12     A. That was one of many --
    13   special title or role at Endo, to your knowledge?       13         MR. DAVISON: Objection.
    14     A. No. He just --                                     14     A. -- tools that we would discuss and share as
    15         MS. VANNI: Objection.                             15   being one -- we didn't recommend any -- any one
    16     A. -- covered the Tennessee -- I mean, I'm            16   particular tool. We just educated on the tools that
    17   sorry, covered the Texas region.                        17   were available to do -- to do that.
    18     Q. Okay. This e-mail, Mr. Still is writing to         18     Q. And was the point of training the sales
    19   all of the MSLs that you worked with at Endo,           19   team, as Mr. Still suggests, so that they could pass
    20   correct?                                                20   along that knowledge to healthcare providers?
    21     A. Yes.                                               21     A. Absolutely not.
    22     Q. And in the first paragraph, he writes:             22         MR. DAVISON: Objection.
    23   "Team. Thank you for your participation today           23     A. It was purely to educate the sales, so they
    24   during our calls. As promised, below is a summary       24   could expand their scientific knowledge. Everything
    25   of our sales training project and some specific         25   that they gave to their -- to their physicians that

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     1   ideas for scientific educational topics for your use     1   they called on had to be approved through a PRC, a
     2   in discussions with your RDs and DMs."                   2   product -- I don't know -- I can't remember the
     3         Did I read that correctly?                         3   name. But it would have gone through review.
     4     A. Yeah, you read that correctly.                      4         So we would share scientific knowledge, but
     5     Q. By RDs, you know, they mean regional                5   they could only share what they were given
     6   directors, and by DMs, district managers?                6   permission to share based on the approved documents
     7     A. I believe that was so.                              7   within Endo or within Mallinckrodt, anywhere.
     8     Q. Okay. It goes on to say: "Project                   8     Q. Okay. And do you know what Mr. Still meant
     9   overview: Our MSL team is working with sales             9   by "risk management tools and rating scales" in that
    10   training in an effort to develop training modules in    10   second line?
    11   several scientific topic areas that will help the       11         MS. VANNI: Object to form.
    12   field sales team to improve their                       12     A. Yeah. I would -- I don't know exactly which
    13   proficiency/confidence level and to help them           13   ones he was thinking about, but I would think that
    14   achieve their business goals with their customers."     14   there is all sorts of risk management evaluations
    15         Did I read that correctly?                        15   you can do. I can't think of any of the names right
    16     A. Yes.                                               16   now, but there is a variety of them.
    17     Q. Okay. And then he goes on in the e-mail, am        17         And then rating scales are pain rating
    18   I correct, to suggest -- he states: "A list of          18   scales or risk rating scales, so there's many
    19   potential education topics for the sales team."         19   different kinds of rating scales.
    20         Correct?                                          20     Q. Okay. And then we see "risk evaluation and
    21     A. Yes.                                               21   mitigation strategy," correct?
    22         MS. VANNI: Object to form.                        22     A. Yes.
    23     Q. Is that a "yes"?                                   23     Q. And was the point of training the sales
    24     A. Yes. I said "yes."                                 24   team, from the MSL's perspective, so that -- at
    25     Q. Look over at the second page. There is a           25   least as it pertains to abuse and diversion topics

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     1   here, to help the sales team to potentially identify        1     Q. Okay. This document makes reference to a
     2   potential signs of abuse and diversion as it                2   "Pain MSL/External Affairs Outreach Spreadsheet"
     3   pertains to their healthcare providers?                     3   that was distributed in September of 2012. Do you
     4     A. That would not --                                      4   see that at the top of the first page?
     5         MS. VANNI: Object to form.                            5     A. Uh-huh.
     6     A. -- be their role. That would not be what               6         MS. VANNI: Object to the form.
     7   their area of expertise would be, and that would be         7     Q. If you look at the exhibit, does that
     8   not something we would do then. But if we -- we             8   exhibit look familiar to you?
     9   wanted them to be aware of what was being shared in         9     A. Vaguely.
    10   the -- what was happening in the pain management           10     Q. Okay. Looking at this exhibit, this
    11   arena, in the environment.                                 11   spreadsheet, does it refresh your recollection as to
    12         I can't remember if any of the information           12   what it is or what information it contains?
    13   we -- that they had to give out included any of            13     A. I was going to ask you if you had the legend
    14   that. But I think -- I didn't -- you know, the goal        14   for the dots, because I don't know what the dots'
    15   would be to make sure that the -- that the sales           15   colors mean, but -- yeah. It looks like it's a
    16   reps were -- were aware of trends and things that          16   listing of -- I don't recall what this is. This
    17   were going on, especially in terms of these tools          17   looks like it's a list of organizations.
    18   that might be used, that they might see as they're         18     Q. Well, the title of the document is "Medical
    19   in a clinic.                                               19   Science Organizational Outreach - Pain." And then
    20     Q. When you said that would not be their role,           20   the first category -- first column, rather,
    21   would not be what their area of expertise would be,        21   identifies whether the particular organization
    22   what do you mean by that?                                  22   that's discussed is a national or state
    23     A. Well, they're not there to screen for abuse           23   organization.
    24   and diversion and to -- that's -- their role is to         24         Do you see that?
    25   educate the clinician and -- with the approved             25         MS. VANNI: Object to the form.
                                                        Page 239                                                        Page 241
     1   materials.                                                  1     A. I'm sorry?
     2         And so I -- you know, unless that was a               2     Q. Look at the very first --
     3   material -- unless Endo developed the material for          3     A. Yeah, yeah.
     4   the representatives to use in the field, and that           4     Q. -- very first entry, first line. It says
     5   would have a separate training with it, this was,           5   "national," and then it says "American Academy of
     6   from what I understand -- and once again, this is           6   Pain Management."
     7   limited knowledge because of memory. This would             7         Do you see that?
     8   have been just general information for them to know         8     A. I do.
     9   so that when they see things in the clinic, they            9     Q. And then your name is listed as the Endo
    10   might understand where that tool was being used.           10   contact, along with Linda Kitlinski, for that --
    11     Q. Okay.                                                 11     A. It is.
    12         (Mallinckrodt - Jackson Exhibit 22 was               12     Q. -- group; is that correct?
    13   marked for identification.)                                13     A. It is.
    14   BY MR. LENISKI:                                            14     Q. Okay. So what was your role with respect to
    15     Q. Done with that one. There's no staple on              15   the -- as the Endo contact for the American Academy
    16   this one. Sorry about that.                                16   of Pain Management?
    17     A. That's okay.                                          17     A. I would be the --
    18     Q. I've handed you a document we've identified           18         MS. VANNI: Object to form.
    19   as Exhibit 22 to your deposition. Take a moment to         19     A. I would be the contact. I would meet with
    20   review it. I'm going to ask you some questions when        20   their leadership. I would attend the meetings. And
    21   you're finished.                                           21   then that was it.
    22     A. Okay.                                                 22     Q. Had you worked previously with the American
    23     Q. Okay. Do you recognize the document?                  23   Academy of Pain Management as a consultant prior to
    24     A. No. I mean -- no. My memory doesn't go                24   joining Endo?
    25   back that far.                                             25     A. I did.

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     1     Q. How long had you worked with that entity?            1     A. No.
     2     A. Approximately a year, I think it was about a         2         MS. VANNI: Object to form.
     3   year that I actually worked with them. I never took       3     Q. Do you know, in fact, if Endo did give money
     4   a salary from them. It was all on a volunteer             4   to those groups?
     5   basis. I did not make that clear earlier, but I           5         MS. VANNI: Object to form.
     6   wanted it to be clear. I never took a salary. I           6     A. Well, they would have supported their annual
     7   did it all as a volunteer.                                7   meeting, so they would have done it through CME.
     8     Q. And what kind of work were you doing with            8   And then sometimes there was -- and then marketing
     9   the American Academy of Pain Management?                  9   would have done it through a booth and that -- but
    10     A. They were the group that had the                    10   that's the extent. There were no special
    11   accreditation with pain clinics to make sure that        11   projects with any of them.
    12   they were integrated, and so I did work with them to     12     Q. And how do you know that?
    13   look at their accreditation across --                    13     A. That I did. So I don't know if there was
    14     Q. And then next line down, you see AAPM and           14   anything, but to my knowledge there was nothing.
    15   then SPPAN?                                              15   But that's the general support for any professional
    16     A. Right. So this was a group that we had a --         16   organization.
    17   I had a -- there was a previous e-mail. It's a           17     Q. Okay. All right. You were also listed on
    18   state policy group that is now at this -- as -- is       18   the second page as a contact, along with Linda
    19   actually a function out of AAPM, even though they        19   Kitlinski, with the US Drug Enforcement
    20   started as a coalition of three organizations.           20   Administration, correct?
    21     Q. Okay. You're listed as a contact for that           21     A. I'm looking for that.
    22   group, correct?                                          22         MS. VANNI: Counsel, can you say where
    23     A. I am.                                               23     you're referring to?
    24     Q. And you had worked with them previous to            24         MR. LENISKI: Second page, it's the one on
    25   joining Endo?                                            25     the back of the first page. Halfway down, it

                                                     Page 243                                                        Page 245
     1     A. Same organization, so I worked with them in          1     says US "Drug Enforcement Administration."
     2   the same way, yeah.                                       2         MS. VANNI: Thank you.
     3     Q. Okay. And then two lines down, there is the          3         MR. LENISKI: Did you find it?
     4   American Association of Pain Management Nursing?          4         MS. VANNI: Yes.
     5     A. Yes.                                                 5   BY MR. LENISKI:
     6     Q. You are listed as the contact?                       6     Q. Did you find that, Ms. Jackson?
     7     A. I am.                                                7     A. I did, yeah.
     8     Q. Is that a group you'd worked with prior to           8     Q. Okay. And you're listed as a contact for
     9   joining Endo?                                             9   Endo, correct?
    10     A. Not --                                              10     A. Yeah. But this was only on -- this was just
    11        MS. VANNI: Object to form.                          11   about being part of their take-back day, and I'm
    12     A. -- not a lot, but I'm a nurse, so that was a        12   not -- I don't even recall going to any meetings.
    13   natural fit for me.                                      13   But I know I was working on Linda on take -- on one
    14     Q. Okay. Similar to Mallinckrodt, did Endo             14   of their take-back day projects, which was a --
    15   provide unrestricted educational grants to pain          15   where you bring your drugs to a central area, your
    16   societies and other groups?                              16   drugs that you've been storing at home, so they're
    17        MS. VANNI: Object to form.                          17   out of your house and -- anyway, that's the extent
    18        MR. DAVISON: Objection to form.                     18   of that.
    19     A. We did, but I had nothing to do -- Endo had         19     Q. What was Ms. Kitlinski's role?
    20   nothing to do with it.                                   20     A. She was -- gosh, Linda was in charge of
    21     Q. So, for example, these groups listed here,          21   our -- she worked with the REMS, you know, because
    22   the American Academy of Pain Management, the AAPM,       22   we did a lot of work on REMS. That's when it was
    23   and the American Association of Pain Management          23   starting -- we developed REMS for Schedule -- for
    24   Nursing, you had no involvement in any grant moneys      24   chronic, long-acting opioids. And she was also -- I
    25   going from Endo to those groups?                         25   think she was also education -- in charge of -- I'm

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     1 sorry, I don't recall all of her titles. She had                   1            INSTRUCTIONS TO WITNESS
     2 been with the company for a long time.                             2
     3     Q. Did you have any responsibilities with                      3
     4 respect to Endo's REMS program?                                    4         Please read your deposition over carefully
     5     A. None.                                                       5   and make any necessary corrections. You should
     6         MR. LENISKI: All right. I don't have any                   6   state the reason in the appropriate space on the
     7     further questions at this time.                                7   errata sheet for any corrections that are made.
     8         THE WITNESS: Thank you.                                    8
     9         MR. DAVISON: Let's go off the record.                      9        After doing so, please sign the errata sheet
    10         THE VIDEOGRAPHER: Off the record, 4:51 p.m.               10   and date it. It will be attached to your
    11        (Recess from 4:51 p m. until 4:56 p m.)                    11   deposition.
    12         THE VIDEOGRAPHER: On the record, 4:56 p m.                12
    13         MR. DAVISON: The defendants have no                       13        It is imperative that you return the
    14     redirect. Thanks.                                             14   original errata sheet to the deposing attorney
    15         THE VIDEOGRAPHER: Off the record, 4:56 p.m.               15   within thirty (30) days of receipt of the deposition
    16         (Whereupon, the deposition concluded at                   16   transcript by you. If you fail to do so, the
    17   4:56 p m.)                                                      17   deposition transcript may be deemed to be accurate
    18                                                                   18   and may be used in court.
    19                                                                   19
    20                                                                   20
    21                                                                   21
    22                                                                   22
    23                                                                   23
    24                                                                   24
    25                                                                   25

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     1             CERTIFICATE                                            1             ------
     2        I, SUSAN D. WASILEWSKI, Registered                          2             ERRATA
     3 Professional Reporter, Certified Realtime Reporter                 3             ------
     4 and Certified Realtime Captioner, do hereby certify                4 PAGE LINE CHANGE
     5 that, pursuant to notice, the deposition of CATHY                  5 ____ ____ _________________________________________
     6 JACKSON was duly taken on Monday, January 7, 2019,                 6   REASON: _____________________________________________
     7 at 9:27 a.m. before me.                                            7 ____ ____ _________________________________________
     8        The said CATHY JACKSON was duly sworn by me                 8   REASON: _____________________________________________
     9 according to law to tell the truth, the whole truth                9 ____ ____ _________________________________________
    10 and nothing but the truth and thereupon did testify               10   REASON: _____________________________________________
    11 as set forth in the above transcript of testimony.                11 ____ ____ _________________________________________
    12 The testimony was taken down stenographically by me.              12   REASON: _____________________________________________
    13 I do further certify that the above deposition is                 13 ____ ____ _________________________________________
    14 full, complete, and a true record of all the                      14   REASON: _____________________________________________
    15 testimony given by the said witness, and that a                   15 ____ ____ _________________________________________
    16 review of the transcript was requested.                           16   REASON: _____________________________________________
    17                                                                   17 ____ ____ _________________________________________
    18 ______________________________________________________            18   REASON: _____________________________________________
    19 Susan D. Wasilewski, RPR, CRR, CCP                                19 ____ ____ _________________________________________
    20 (The foregoing certification of this transcript does              20   REASON: _____________________________________________
    21 not apply to any reproduction of the same by any                  21 ____ ____ _________________________________________
    22 means, unless under the direct control and/or                     22   REASON: _____________________________________________
    23 supervision of the certifying reporter.)                          23 ____ ____ _________________________________________
    24                                                                   24   REASON: _____________________________________________
    25                                                                   25


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     1          ACKNOWLEDGMENT OF DEPONENT
     2
     3       I, ______________________________, do hereby
     4 acknowledge that I have read the foregoing pages, 1
     5 through 250, and that the same is a correct
     6 transcription of the answers given by me to the
     7 questions therein propounded, except for the
     8 corrections or changes in form or substance, if any,
     9 noted in the attached Errata Sheet.
    10
    11
    12 ________________________________              ________________
    13 CATHERINE JACKSON                                 DATE
    14
    15
    16
    17
    18 Subscribed and sworn to before me this
    19 ____ day of ______________, 20___.
    20 My Commission expires: _________________
    21
    22 ________________________________________
         Notary Public
    23
    24
    25

                                                              Page 251
     1               LAWYER'S NOTES
     2 PAGE LINE
     3 _____ _____ _____________________________________
     4 _____ _____ _____________________________________
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